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Counsel for the Official Committee of Unsecured Creditors

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 In re:
                                                         Chapter 11
 HIGHLAND CAPITAL MANAGEMENT,
 L.P., i                                                 Case No. 19-34054-sgj 11
                  Debtor.

 OFFICIAL COMMITTEE OF UNSECURED
 CREDITORS,

                            Plaintiff,                   Adversary Case No. 20-03195

           v.

 CLO HOLDCO, LTD.

                            Defendant.

                             APPENDIX IN SUPPORT OF
                        MOTION FOR PRELIMINARY INJUNCTION



   The Debtor's last four digits of its taxpayer identification number are (6725). The headquarters and service
   address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.

APPENDIX IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION                                               Page 1
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                   EXHIBIT 1
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                            PURCHASE AND SALE AGREEMENT

        PURCHASE AND SALE AGREEMENT (this "Agreement"), dated as of December 28,
2016 (the "Effective Date"), between Highland Capital Management, L.P., a Delaware limited
partnership ("HCMLP"), and The Get Good Nonexempt Trust, a trust established under the laws
of the State of Texas ("Get Good). Each of HCMLP and Get Good are sometimes referred to
herein individually as a "Party", and together as the "Parties".

                                           RECITALS

       WHEREAS, Get Good is the payee pursuant to that ce1tain Promissory Note, dated October
31, 2016, issued by Dugaboy in the principal amount of $23,817,639.58, a copy of which is
attached hereto as Exhibit A (the "Note");

        WHEREAS, as of the Effective Date, there is $23,817,639.58 of principal and $104,079.82
of accrued and unpaid interest outstanding under the Note;

       WHEREAS , reference is hereby made to (i) the Limited Partnership Agreement of
Highland Capital Loan Fund, L.P. ("Highland Loan Fund"), dated March 28, 2013, and (ii) the
Confidential Private Placement Memorandum for Series A Interests in Highland Capital Loan
Fund, L.P., dated March 2013 (together, the "Highland Loan Fund Governing Documents");

      WHEREAS, HCMLP owns certain Series A Interests (as defined in the Highland Loan
Fund Governing Documents) of Highland Loan Fund;

       WHEREAS, HCMLP owns certain call options (the "AA Options") of American Airlines
Group, Inc., a Delaware corporation ("AA");

       WHEREAS, reference is hereby made to (i) the Joint Plan of Distribution of the Crusader
Funds adopted by Highland Crusader Offshore Partners, L.P., Highland Crusader Fund, L.P. (the
"Domestic Crusader Fund"), Highland Crusader Fund, Ltd. and Highland Crusader Fund II, Ltd.
(the "Offshore Crusader Fund"), and (ii) the Scheme of Arrangement between the Offshore
Crusader Fund and its Scheme Creditors (as defined therein) ((i) and (ii), collectively, as amended
from time to time, the "Crusader Scheme and Plan");

       WHEREAS , HCMLP, directly and indirectly through its wholly-owned subsidiary, Eames,
Ltd. ("Eames"), owns (i) certain participating shares of the Domestic Crusader Fund (the
"Domestic Crusader Interests"), and (ii) certain participating shares of the Offshore Crusader Fund
(the "Offshore Crusader Interests"); and

       WHEREAS, the Parties desire to enter into a series of purchases, sales, transfers and
assignments, in each case, on the terms and subject to the conditions set forth herein.

                                         AGREEMENT

      NOW THEREFORE, in consideration of the premises and the mutual covenants and the
agreements herein set forth, the Parties hereby agree as follows:




                                                                                          APP 001
                                                                                                 DOC 00231365
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          Section 1. Definitions. As used in this Agreement, the following terms have the meanings
stated:

        "Encumbrances" means any liens, pledges, interests, charges, options, encumbrances and
other restrictions (other than restrictions on transfer under applicable securities laws , and other
than restrictions under the Highland Loan Fund Governing Agreements, as applicable)

        "Governmental Authority" means any government, governmental agency, authority, court
or other tribunal.

        "Knowledge" means, with respect to (i) an individual, the actual knowledge of such
individual, after reasonable inquiry, and (ii) a person that is not an individual, the actual knowledge
of the executive officers and the members of the board of directors (or similar governing body) of
such Person, in each case, after reasonable inquiry.

      "Law" means any law, statute, ordinance, code, regulation, rule, or other requirement of
any Governmental Authority.

          Section 2. Purchases and Sales.

       (a)      Purchase and Sale of the Get Good Transferred Assets. Get Good hereby
irrevocably sells, transfers and assigns to HCMLP a 97.6835% interest in the Note (the "Get Good
Transferred Assets"), and HCMLP hereby purchases and accepts the Get Good Transferred Assets.

          (b)      Purchase and Sale of the HCMLP Transferred Assets. HCMLP hereby (i)
irrevocably sells, transfers and assigns to Get Good all of HCMLP's right, title and interest in and
to the Series A Interests of Highland Loan Fund set forth on Exhibit B attached hereto, (ii) hereby
sells, transfers and assigns to Get Good all of HCMLP's right, title and interest in and to the AA
Options set forth on Exhibit C, and (iii) hereby irrevocably grants, sells, transfers and assigns to
Get Good (A) a participation interest (the "Participation Interest") in certain Offshore Crusader
Interests and certain Onshore Crusader Interests, and (B) a tracking interest (the "Tracking
Interest"), in certain Onshore Crusader Interests (the "Underlying Crusader Interests"), in each
case, as more particularly described and subject to the terms set forth in Exhibit D attached hereto
((i), (ii) and (iii), collectively, the "HCMLP Transferred Assets), and Get Good hereby purchases
and accepts the HCMLP Transferred Assets.

       Section 3. Representations and Warranties of Get Good. Get Good hereby represents and
warrants to HCMLP as of the Effective Date, as follows:

        (a)     Power. Get Good is duly organized, validly existing and in good standing under
the laws of the jurisdiction of its organization. Get Good has the necessary power and authority
to execute and deliver this Agreement, to perform its obligations hereunder and to consummate
the transactions contemplated hereby.

       (b)   Binding Effect. This Agreement has been duly authorized, executed and delivered
by Get Good and is a legal, valid and binding obligation of Get Good enforceable against it in
                                                  2



                                                                                              APP 002
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accordance with its terms, except as such enforceability may be limited by bankruptcy, insolvency,
reorganization, moratorium or other similar laws relating to or affecting the rights and remedies of
creditors or by general equitable principles.

        (c)    Non-Contravention. The execution and delivery of this Agreement and the
performance by Get Good of its obligations hereunder will not (i) violate or breach any provision
of Get Good's organizational documents, (ii) subject to the accuracy ofHCMLP's representations
and warranties set forth herein, violate or breach any Law applicable to Get Good, (iii) breach or
result in default of any judgment, injunction, decree or determination of any Governmental
Authority applicable to Get Good, or (iv) breach, or result in a default under, any material contract
or material agreement to which Get Good is a party or by which Get Good or any of its properties
may be bound.

         (d)    Consents. No authorization, consent, order or approval of, notice to or registration
or filing with, or any other action by, any governmental authority or other person or entity is
required or advisable in connection with (i) the due execution and delivery by Get Good of this
Agreement, (ii) the performance by Get Good of its obligations under this Agreement or (iii) the
sale, transfer and delivery of the Get Good Transferred Assets to HCMLP.

        (e)   Title. Get Good is the sole record, legal and beneficial owner of the Get Good
Transferred Assets and has good and valid title to the Get Good Transferred Assets, free and clear
of all Encumbrances. From and after the Effective Date, good and valid title to the Get Good
Transferred Assets, free and clear of all Encumbrances, will be transferred to HCMLP.

        (f)     Sophistication. Get Good: (i) is a sophisticated entity with respect to the purchase
of the HCMLP Transferred Assets; (ii) is able to bear the economic risk associated with the
purchase of the HCMLP Transferred Assets; (iii) has adequate information concerning the
business and financial condition of Highland Loan Fund, AA, the Domestic Crusader Fund and
the Offshore Crusader Fund to make an informed decision regarding the purchase of the HCMLP
Transferred Assets; (iv) has such knowledge and experience, and has made investments of a similar
nature, so as to be aware of the risks and uncertainties inherent in the purchase of investments of
the type contemplated in this Agreement; (v) has received, reviewed and understands each of the
documents listed and disclosures made by HCMLP on Schedule I attached hereto, and has had an
adequate opportunity to ask questions to the Company with respect thereto and (vi) has
independent! y and without reliance on HCMLP, and based on such infonnation as Get Good has
deemed appropriate, made its own analysis and decision to enter into this Agreement.

        (g)    No Brokers. Get Good has not engaged or employed any finder, broker, agent or
other intermediary in connection with the transactions described herein. There are no fees,
commissions or compensation required to be paid by HCMLP to any person engaged or retained
by, through or on behalf of Get Good in connection with the consummation of the transactions
described herein, and if any such fees, commissions, or compensation is required in connection
with the consummation of the transactions described herein, Get Good shall remain solely
responsible.



                                                 3



                                                                                            APP 003
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       Section 4. Representations and Warranties of Purchaser. HCMLP represents and warrants
to Get Good, as of the Effective Date, as follows:

        (a)    Power. HCMLP is duly organized, validly existing and in good standing under the
laws of the jurisdiction of its organization. HCMLP has the necessary power and authority to
execute and deliver this Agreement, to perfonn its obligations hereunder and to consummate the
transactions contemplated hereby.

        (b)     Binding Effect. This Agreement has been duly authorized, executed and delivered
by HCMLP and is a legal, valid and binding obligation of HCMLP enforceable against it in
accordance with its terms, except as such enforceability may be limited by bankruptcy, insolvency,
reorganization, moratorium or other similar laws relating to or affecting the rights and remedies of
creditors or by general equitable principles.

        (c)    Non-Contravention. The execution and delivery of this Agreement and the
performance by HCMLP of its obligations hereunder will not (i) violate or breach any provision
ofHCMLP's organizational documents, (ii) subject to the accuracy of Get Good's representations
and warranties set forth herein, violate or breach any Law applicable to HCMLP, (iii) breach, or
result in a default of, any judgment, injunction, decree or determination of any Governmental
Authority applicable to HCMLP, or (iv) breach, or result in a default under, any material contract
or material agreement to which HCMLP is a party or by which HCMLP or any of its properties
may be bound.

        (d)     Consents. No authorization, consent, order or approval of, notice to or registration
or filing with, or any other action by, any Governmental Authority or other person or entity is
required or advisable in connection with (i) the due execution and delivery by HCMLP of this
Agreement, (ii) the performance by HCMLP of its obligations under this Agreement or (iii) the
purchase of the Get Good Transferred Assets by HCMLP.

       (e)      Title. HCMLP is the sole record, legal and beneficial owner of the HCMLP
Transferred Assets, the Participating Shares (as defined on Exhibit E attached hereto) and the
Tracking Shares (as defined on Exhibit E attached hereto), and has good and valid title to the
HCMLP Transferred Assets, the Participating Shares and the Tracking Shares, in each case, free
and clear of all Encumbrances, except as set forth on Schedule I attached hereto. From and after
the Effective Date, good and valid title to the HCMLP Transferred Assets, free and clear of all
Encumbrances, will be transferred to Get Good.

       (e)     Sophistication. HCMLP: (i) is a sophisticated entity with respect to the purchase
of the Get Good Transferred Assets; (ii) is able to bear the economic risk associated with the
purchase of the Get Good Transferred Assets; (iii) has adequate information concerning the
business and financial condition of Dugaboy to make an informed decision regarding the purchase
of the Get Good Transferred Assets; (iv) has such knowledge and experience, and has made
investments of a similar nature, so as to be aware of the risks and uncertainties inherent in the
purchase of investments of the type contemplated in this Agreement; and (v) has independently



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and without reliance on Get Good, and based on such information as HCMLP has deemed
appropriate, made its own analysis and decision to enter into this Agreement.

        (f)    No Brokers. HCMLP has not engaged or employed any finder, broker, agent or
other intermediary in connection with the transactions described herein. There are no fees,
commissions or compensation required to be paid by Get Good to any person engaged or retained
by, through or on behalf of HCMLP in connection with the consummation of the transactions
described herein, and if any such fees, commissions, or compensation is required in connection
with the consummation of the transactions described herein, HCMLP shall remain solely
responsible.

       Section 5. Miscellaneous.

        (a)    Fees and Expenses. All costs and expenses incurred in connection with this
Agreement and the consummation of the transactions contemplated herein will be paid by the Party
incurring such expense.

        (b)    Entire Agreement, Counterparts; Amendments. This Agreement constitutes the
entire agreement of the Parties and supersedes all prior written or oral and all contemporaneous
oral agreements, understandings and negotiations with respect to the subject matter hereof. This
Agreement may be executed in one or more counterparts, each of which will be deemed an original,
but all of which taken together will constitute one and the same instrument. Transmission by
facsimile or other fom1 of electronic transmission of an executed counterpart of this Agreement
will be deemed to constitute due and sufficient delivery of such counterpart. This Agreement may
not be amended or modified except in writing by all of the Parties hereto and no condition herein
(express or implied) may be waived except in writing by the Party whom the condition was meant
to benefit.

        (c)     Survival; Successors and Assigns. All representations, warranties, covenants and
other provisions made by the Parties will survive the execution, delivery, and performance of this
Agreement. This Agreement will inure to the benefit of and be binding upon the Parties and their
respective successors and no other person will have any right or obligation hereunder. Each Party
is expressly permitted to assign or transfer any or all of its rights or obligations hereunder without
the consent of the other Party.

       (d)    Severability. The invalidity or unenforceability of any tem1 or provision of this
Agreement will not affect the validity or enforceability of any other term or provision hereof. If
any term or provision of this Agreement is for any reason determined to be invalid or
unenforceable, there will be deemed to be made such changes (and only such changes) as are
necessary to make it valid and enforceable.

        (e)     Governing Law. This Agreement will be governed by, and construed in accordance
with, the laws of the State of Texas (without reference to any conflicts oflaw provision) applicable
to agreements made in and to be performed entirely within such state.




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         (f)    Arbitration. In the event there is an unresolved legal dispute between the parties
and/or any of their respective officers, directors, partners, employees, agents, affiliates or other
representatives that involves legal rights or remedies arising from this Agreement, the parties agree
to submit their dispute to binding arbitration under the authority of the Federal Arbitration Act;
provided, however, that either party or such applicable affiliate thereof may pursue a temporary
restraining order and/or preliminary injunctive relief in connection with any confidentiality
covenants or agreements binding on the other party, with related expedited discovery for the
parties, in a court of law, and, thereafter, require arbitration of all issues of final relief. The
arbitration will be conducted by the American Arbitration Association, or another, mutually
agreeable arbitration service. A panel of three arbitrators will preside over the arbitration and will
together deliberate, decided and issue the final award. The arbitrators shall be duly licensed to
practice law in the State of Texas. The arbitrators shall be required to state in a written opinion all
facts and conclusions of law relied upon to support any decision rendered. The arbitrators will not
have the authority to render a decision that contains an outcome detem1inative error of state or
federal law, or to fashion a cause of action or remedy not otherwise provided for under applicable
state or federal law. Any dispute over whether the arbitrators have failed to comply with the
foregoing will be resolved by summary judgment in a court of law. In all other respects, the
arbitration process will be conducted in accordance with the American Arbitration Association's
dispute resolution rules or other mutually agreeable, arbitration service rules. The party initiating
arbitration shall pay all arbitration costs and arbitrator's fees, subject to a final arbitration award
on who should bear costs and fees. All proceedings shall be conducted in Dallas, Texas, or another
mutually agreeable site. Each party shall bear its own attorneys' fees, costs and expenses,
including any costs of experts, witnesses and/or travel, subject to a final arbitration award on who
should bear costs and fees. The duty to arbitrate described above shall survive the termination of
this Agreement. Except as otherwise provided above, the parties hereby waive trial in a court of
law or by jury. All other rights, remedies, statutes of limitation and defenses applicable to claims
asserted in a court of law will apply in the arbitration.

       (g)     Further Assurances. Each Party agrees to (i) execute and deliver, or to cause to be
executed and delivered, all such agreements, documents and instruments and (ii) take or cause to
be taken all such actions as the other Party may reasonably request to effectuate the intent and
purposes, and to carry out the terms, of this Agreement.

         (h)     Equitable Remedy. Each Party acknowledges that a breach or threatened breach
by such Party of any of its obligations under this Agreement would give rise to irreparable harm
to the other Party for which monetary damages may not be an adequate remedy and hereby agrees
that in the event of a breach or a threatened breach by such Party of any such obligations, the other
Party shall, in addition to any and all other rights and remedies that may be available to it in respect
of such breach, be entitled to equitable relief, including a temporary restraining order, an
injunction, specific performance and any other relief that may be available from a court of
competent jurisdiction (without any requirement to post bond).



                                          [Signatures on next page]


                                                   6



                                                                                               APP 006
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        IN WITNESS WHEREOF, the Parties have executed and delivered this Agreement as of
the date first written above.

                                                 GET GOOD:




                                                 HIGHLAND CAPITAL MANAGEMENT,
                                                 L.P.

                                                 By: Strand Advisors, Inc., its General
                                                 Partner


                                                 By: _ _ _ _ __ _ __ _ _ _ __
                                                 Name: James Dondero
                                                 Title: President




                       SIGNATURE PAGE TO PURCHASE AND SALE AGREEMENT



                                                                                          APP 007
                                                                                              DOC 00231365
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         IN WITNESS WHEREOF, the Parties have executed and delivered this Agreement as of
 the date first written above.

                                                 GET GOOD:

                                                 THE GET GOOD NONEXEMPT TRUST


                                                 By:--------------
                                                 Name: Grant James Scott
                                                 Title: Trustee


                                                 HCMLP:

                                                 HIGHLAND CAPITAL MANAGEMENT,
                                                 L.P.

                                                 By: Strand Advisors, Inc , its General
                                                 Partner


                                                 By.   -   --1--   -L-- - - - - - - - --
                                                 Name: James Dondero
                                                 Title: President




                       SIGNATURE PAGE TO PURCHASE AND SALE AGREEMENT


                                                                                      APP 008
                                                                                           DOC 00231365
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                                         SCHEDULE I

                                     AdditionaJ Disclosures

 Documents Received, Reviewed and Understood by Purchaser

 Joint Plan of Distribution of the Crusader Funds adopted by Highland Crusader Offshore
 Partners, L.P., Highland Crusader Fund, L.P., Highland Crusader Fund, Ltd., and Highland
 Crusader Fund II, Ltd. (the "Crusader Funds").

 Scheme of Arrangement between Highland Crusader Fund II, Ltd. and its Scheme Creditors (as
 defined therein).

 The audited financial statements for the year ended December 31, 2015 for each of the Crusader
 Funds.

 Additional Disclosures

 The Crusader Funds are currently in liquidation and are subject to the Crusader Scheme and the
 Plan. On August 4, 2016, HCMLP was removed as the investment manager of the Crusader
 Funds, and neither HCMLP nor any of its affiliates controls the Crusader Funds.

 Prior to the Effective Date, HCMLP granted, sold, transferred and assigned a participation in
 87.14% of the Underlying Crusader Interests.

 Recently, HCMLP became aware of a Notice of Computational Adjustment issued to Offshore
 Crusader Fund which calculates additional tax of$52,705,089. It is not clear, what, if any impact,
 this could have upon investors in the Crusader Funds. Irrespective of whether the additional tax
 is correct or has any legal basis, assuming such a tax is owed by the Offshore Crusader Fund
 may result in the Crusader Master Fund having to sell assets in the future to pay such tax which
 could negatively impact all the investors in the Crusader Funds. Further, if such tax is not paid
 the IRS could impose liens or levies upon any U.S . assets owned by the Offshore Crusader Fund
 and potentially the Crusader Master Fund as well.




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                                   EXHIBIT A

                                    The Note

                                    (Attached.)




                                                                            APP 010
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                                     PROMISSORY NOTE

$23,817,639.58                                                                    October 31, 2016

        THIS PROMISSORY NOTE (this "Note") is in substitution for and replacement of that
certain promissory note dated December 7, 2012 in the original face amount of $23,595,920.00,
from James D. Dondero, in his capacity as Trustee of The Dugaboy Investment Trust, as Maker,
and The Get Good Trust, as Payee (collectively, the "Prior Note"), together with accrued
interest on the Prior Note.

         FOR VALUE RECEIVED, THE DUGABOY INVESTMENT TRUST ("Maker")
promises to pay to the order of THE GET GOOD NONEXEMPT TRUST ("Payee"), in legal
and lawful tender of the United States of America, the principal sum of TWENTY-THREE
MILLION EIGHT HUNDRED SEVENTEEN THOUSAND SIX HUNDRED THIRTY-NINE
DOLLARS AND FIFTY-EIGHT CENTS ($23 ,817,639.58), together with interest, on the terms
set forth below. All sums hereunder are payable to Payee at 300 Crescent Court, Suite 700,
Dallas, Texas 75201 , or such other address as Payee may specify to Maker in writing from time
to time.

        1.      Interest Rate. The unpaid principal balance of this Note from time to time
outstanding shall bear interest at a fair market rate as determined by Waterview Advisors as of
October 31 , 2016, which the parties in good faith have estimated to be two and seventy-five
hundredths percent (2.75%) per annum from the date hereof until Maturity Date (hereinafter
defined), compounded annually on the anniversary of the date of this Note. If the fair market
rate of interest as finally determined by Waterview Advisors is more or less than the parties
originally estimated, the parties agree that the interest rate on this Note shall be adjusted up or
down to reflect the appraised fair market rate. Interest shall be calculated at a daily rate equal to
11365th (1/366 in a leap year) of the rate per annum, shall be charged and collected on the actual
number of days elapsed, and shall be payable annually.

       2.      Payment of Principal and Interest. The principal and any accrued interest on this
Note shall be due and payable on October 30, 2036 (the "Maturity Date").

         3.      Prepayment Allowed: Renegotiation Discretionary. Maker may prepay in whole
 or in part the unpaid principal or accrued interest of this Note. Any payments on this Note shall
 be applied first to unpaid accrued interest hereon, and then to unpaid principal hereof.

        4.      Acceleration Upon Default. Failure to pay this Note or any installment hereunder
 as it becomes due shall, at the election of the holder hereof, without notice, demand,
 presentment, notice of intent to accelerate, notice of acceleration, or any other notice of any kind
 which are hereby waived, mature the principal of this Note and all interest then accrued, if any,
 and the same shall at once become due and payable and subject to those remedies of the holder
 hereof. No failure or delay on the part of Payee in exercising any right power or privilege
 hereunder shall operate as a waiver thereof.

         5.      Waiver. Maker hereby waives grace, demand, presentment for payment, notice of
 nonpayment, protest, notice of protest, notice of intent to accelerate, notice of acceleration and
 all other notices of any kind hereunder.




                                                                                           APP 011
                                                                                                  DOC 00231365
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         6.       Attorneys' Fees. If this Note is not paid at maturity (whether by acceleration or
  otherwise) and is placed in the hands of an attorney for collection, or if it is collected through a
  bankruptcy court or any other court after maturity, the Maker shall pay, in addition to all other
  amounts owing hereunder, all actual expenses of collection, all court costs and reasonable
  attorneys' fees and expenses incurred by the holder hereof.

          7.      Limitation on Agreements. All agreements between Maker and Payee, whether
  now existing or hereafter arising, are hereby limited so that in no event shall the amount paid, or
  agreed to be paid to Payee for the use, forbearanc-e, or detention of money or for the payment or
  performance of any covenant or obligation contained herein or in any other document
  evidencing securing or pertaining to this Note, exceed the maximum interest rate allowed by
  law. The terms and provisions of this paragraph shall control and supersede every other
  provision of all agreements between Payee and Maker in conflict herewith.

          8.     Governing Law. This Note and the rights and obligations of the parties hereunder
  shall be governed by the laws of the United States of America and by the laws of the State of
  Texas, and is performable in Dallas County Texas.

                                                MAKER:




                                                                                           APP 012
                                                                                                 DOC 00231365
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                                       EXHIBIT B

                      The Series A Interests of Highland Loan Fund


$2,032,183.24 (based on 11/30/16 NAV) Series A Interests of Highland Capital Loan Fund, L.P.
(as defined in the Limited Partnership Agreement of Highland Capital Loan Fund, L.P, dated
March 28, 2013, as amended from time to time).




                                                                                    APP 013
                                                                                          DOC 00231365
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                                   EXHIBIT C

                                 The AA Options




                                                                                        APP 014
                                                                                            DOC 00231365
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                                                                     EXHIBITD

                                                  The Participation Interest and the Tracking Interest

        The following sets forth the terms and conditions with respect to (i) a participation interest (the "Participation Interest") granted
by Highland Capital Management, L.P. "HCMLP") in certain participating shares of Highland Crusader Fund, L.P. (the "Onshore
Crusader Fund") and Highland Crusader Fund II, Ltd. (the "Offshore Crusader Fund", and such participating shares collectively, the
"Participating Shares"), and (ii) a tracking interest (the "Tracking Interest") in certain participating shares of the Onshore Crusader Fund
(the "Tracking Shares").

Participation and Tracking Interest

Crusader Participation Interests
                                                                                                     11 30 16 :KA\"        Amount        Total ·..-\Y
Account Kame                Legal Owner                            Feeder Fund Investment            per statement       Participated    Participated
HC\ILP comp                 Highland Capital ).[anagement, LP      Crusader Fund II. Ltd.          $    3,185,7_8.54         100.00°0 $     3,185, 28.54
HC\lLP prior                Highland Capital ).Ianagemen LP        Crusader Fund II. Led.               1, I "8,673.19       I00.00°~       1,158,673.19
Eames, Ltd.                 Eames, Ltd.                            Crusader Fund, LP                    6,581 ,643 .01       100.OO~o       6,581 ,643.01
HC11LP (1 )                 Highland Capital 1lanagement, LP       Crusader Fund, l.P                     396,467.54           L .86°0          ·o,968.60
HC11LP (_)                  Highland Capital ).lanagement, LP      Crusader Fund, LP                    1,30 883.16            L .86°0        16 ,494 .51
Totals                                                                                             $ 12,6_5,39" .44                    s 11144 50 .85
Tracking interests
                                                                                                     113016 ·_.1,Y        Tracking          Total Tracked
Account Kame                Legal Owner                            Feeder Fund Investment            per statement        Amount               Interest
HC\ILP (1)                  Highland Capital ).lanagemen LP        Crusader Fund, LP                      396,46 .54         8 .14° 0             345,498.94
HC\ILP(_)                   Highland Capital 11anagement, LP       Crusader Fund, LP                    1.30-,883.16         8 .14°0            1, 13" ,388.65
Totals                                                                                             $    1,699,3"0. 0                          l 480,88 .59

Total of Crusader Participations and Tracked InterestS                                                                                  s    12 625 395.44


        Evidence of Participations and the Tracking Interest. HCMLP shall maintain records of all payments received from or owed by
the holder of the Participation Interest and the Tracking Interest and all payments made or owed by HCMLP to the holder of the
Participation Interest and the Tracking Interest.




                                                                                                                                                      APP 015
                                                                                                                                                                 DOC 00231365
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        Payments by and to HCMLP with respect to the Participation Interest and the Tracking Interest. Subject to any applicable tax
withholding, HCMLP shall promptly pay to the holder of the Participation Interest an amount equal to such holder's share of each
amount received and applied by HCMLP (or Eames, Ltd., a wholly-owned subsidiary of HCMLP, if applicable) in payment of
distributions, Plan Claims (as defined in the Joint Plan of Distribution of the Crusader Funds adopted by Highland Crusader Offshore
Partners, L.P., the Onshore Crusader Fund, Highland Crusader Fund, Ltd. and the Offshore Crusader Fund, and the Scheme of
Arrangement between the Offshore Crusader Fund and its Scheme Creditors, as applicable) and proceeds of any sale, assignment or
other disposition of any interest, in each case, with respect to or in the Participating Shares (such holder's share of such amounts,
collectively, the "Participation Proceeds"). Pending such payment of Participation Proceeds by HCMLP to the holder of the Participation
Interest, HCMLP will hold the Participation Proceeds in trust for the benefit of such holder and will not commingle such amounts with
other property of HCMLP. Subject to any applicable tax withholding, HCMLP shall promptly pay to the holder of the Tracking Interest
an amount equal to each amount received and applied by HCMLP in payment of distributions, Plan Claims and proceeds of any sale,
assignment or other disposition of any interest, in each case, with respect to or in the Underlying Shares. Notwithstanding anything
herein to the contrary, except for the right to receive amounts specified in this paragraph, no holder shall have, by reason of the
Paiticipation Interest or the Tracking Interest, any rights with respect to the Participating Shares or the Tracking Shares.

        Nonrecourse Participation Interest and Tracking Interest. The Interest and the Tracking Interest are held by the holder thereof
without recourse to HCMLP (except in respect of the HCMLP's express obligations as set forth herein) and for such holder's own account
and risk. HCMLP makes no representation or warranty as to, and shall have no responsibility for the value, legality, genuineness, validity,
sufficiency or enforceability of the Participating Interest, the Tracking Interest or any of the rights attaching to them; any representation or
warranty made by, or the accuracy, completeness, correctness or sufficiency of any infonnation (or the validity, completeness or adequate
disclosure of assumptions underlying any estimates, forecasts or projections contained in such information) provided (directly or indirectly
through HCMLP) by any person; the performance or observance by any person (at any time, whether prior to or after the date hereof) of the
financial condition of the Onshore Crusader Fund or the Offshore Crusader Fund; or (except as otherwise expressly provided herein) any
other matter relating to any person, the Participating Interest or the Tracking Interest.

        Standard of Care. Notwithstanding anything contained herein to the contrary, HCMLP shall administer the Participation Interest
and the Tracking Interest and enforce its rights, with respect to the Participating Shares and the Tracking Shares in the same manner as if it
had not granted the Participation Interest or the Tracking Interest but owned the Participating Shares the Tracking Shares solely for its own
account with no obligation to make or receive payments in respect of the Participation Interest or the Tracking Interest.

         Assignment. Each holder of the Participation Interest or the Tracking Interest is expressly permitted to assign or transfer any or
all of its rights with respect thereto without the consent of HCMLP.




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                                                                                                                                        APP 016
                                                                                                                                                 DOC 00231365
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                   EXHIBIT 2
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Note Payable to Get Good NE#2                                    12/31/2012

Original Principa l      J   $15,482,680.00!Shares of Nexbank 387 ,067
Maturity                         12/07/2022
Initial Rate                         0.24%

                                  Beg.          Principal       Interest          Interest        Principal       Ending         Accrued
   Period                       Balance         Advance         Payment           Accrual         Payment         Balance        Interest
12/07/2012                   $15,482 ,680.00                                             $0.00          $0.00 $15,482,680.00            $0.00
12/31 /2012            24    $15,482,680.00                                         $2,443 .29          $0.00 $15,482 ,680.00      $2,443.29
01/31/2013             31    $15,482,680.00                                         $3,155.92                 $15,482 ,680.00      $5 ,599.22
02/28/2013             28    $15,482,680.00                                         $2,850.51                 $15,482 ,680.00      $8,449 .73
03/31/2013             31    $15,482,680.00                                         $3,155.92                 $15,482,680 .00    $11,605.65
04/30/2013             30    $15,482,680.00                                         $3,054.12                 $15,482 ,680 .00   $14,659.76
05/31/2013             31    $15,482,680.00                                         $3,155.92                 $15.482,680 .00    $17 ,815.69
06/30/2013             30    $15,482,680.00                                         $3,054 .12                $15,482,680-.00    $20,869.80
07/31/2013             31    $15,482 ,680.00                                        $3 ,155.92                $15 ,482,680.00     $24 ,025.73
08/31/2013             31    $15,482,680.00                                         $3,155 .92                $15,482 ,680 .00   $27,181 .65
09/30/2013             30    $15,482,680.00                                         $3 ,054 .12               $15,482,680 .00    $30,235.77
10/31/2013             31    $15,482,680.00                                         $3 ,155.92                $15.482 ,680 .00    $33,391.69
11/30/20 13            30    $15,482,680 .00                                        $3 ,054.12                $15,482 ,680.00    $36,445.80
12/07/2013              7    $15,519,1 25.80                                          $714.30                 $15,519,840.11            $0.00
12/31/2013             24    $15.519,840.11                                         $2,449.16          $0.00 $15 ,519 ,840.11      $2,449.16
01/31/2014             31    $15,519,840.11                                         $3,163.50                 $15,519,840.11       $5,612 .65
02/28/2014             28    $15,519,840.11                                         $2 ,857 .35               $15,519,840 .11      $8,470.01
03/31/2014             31    $15,519,840.11                                         $3,163.50                 $15,519,840.11      $11,633.50
04/30/2014             30    $15,519,840.11                                         $3,061.45                 $15,519,840.11      $14,694.95
05/31/2 014            31    $15,519,840 .11                                        $3,163.50                 $15,519,840.11      $17,858.45
06/30/2 014            30    $15,519,840.11                                         $3 ,061.45                $15 ,519,840.11     $20,919.89
07/31/2014             31    $15,519,840 .11                                        $3,163.50                 $15,519,840.11      $24,083.39
08/3 1/2014            31    $15,519,840.11                                         $3,163.50                 $15,519,840 .11     $27,246.89
09/30/2014             30    $15,519,840.11                                         $3,061.45                 $15,519,840.11      $30,308.33
10/31 /2014            31    $15,519,840 .11                                        $3,163 .50                $15,519,840.11      $33,471.83
11/30/2014             30    $15,519,840.11                                         $3 ,061.45                $15,519 ,840.11     $36,533.28
12/07/2014              7    $15,556,373.39                                           $716 .02                $15,557,089.41            $0.00
12/31/2014             24    $15,557,089.41                                         $2,455 .04         $0 .00 $15,557,089.41       $2,455.04
01 /31/2015            31    $15,557,089.41                                         $3,171 .09                $15,557 ,08g.41      $5,626 .13
02/28/2015             28    $15,557,089 .41                                        $2,864.21                 $15,557,089.41       $8,490.33
03/31 /2015            31    $15,557,089.41                                         $3 ,171.09                $15,557,089.41      $11,661.42
04/30/2015             30    $15,557,089 .41                                        $3,068.80                 $15 ,557,089.41     $14 ,730.22
05/31/2015             31    $15,557,089.41                                         $3,171.09                 $15,557,089.41      $17 ,901.31
06/30/2015             30    $15,557,089.41                                         $3,068.80                 $15,557 ,089.41     $20,970.10
07/31/2015             31    $15,557,089.41                                         $3 ,171 .09               $15 ,557,089.41     $24,1 41 .19
08/3 1/2 015           31    $15,557,089 .41                                        $3,171 .09                $15,557 ,089.41     $27,312.28
09/3 0/2015            30    $15,557 ,089 .41                                       $3,068 .80                $15 ,557,089.41     $30,381.08
10/31/2015             31    $15,557,089.41                                         $3,171 .09                $15 ,557,089.41     $33,552 .17
11/30/2015             30    $15,557,089.41                                         $3,068.80                 $15 ,557 ,089.41    $36,620 .96
12/07/2015              7    $15,593,710.37                                           $717.74                 $15 ,594,428.11           $0.00
12/31/2015             24    $15,594,428 .11                                        $2,460.93          $0.00 $15,594,428 .11       $2,460 .93
01/31/2016             31    $15,594,428 .11                                        $3,178.70                 $15,594,428.11       $5 ,639 .63
02/29/2016             29    $15,594,428.1 1                                        $2 ,973.62                $15,594,428.11       $8 ,613.25
03/31/2016             31    $15,594,428 .11                                        $3,178.70                 $15,594,428.11      $11 ,791.95
04/30/2016             30    $15,594,428 .1 1                                       $3,076.16                 $15 ,594,428.11     $14,868.11
05/31/2016             31    $15,594 ,428 .11                                       $3,178.70                 $15,594,428.11      $18,046 .81
06/30/2016             30    $15,594,428 .11                                        $3,076.16                 $15 ,594,428.11     $21,122.97
07/31/2016             31    $15,594,428 .11                                        $3 ,178.70                $15,594,428.11      $24,301 .67
08/31 /2 016           31    $15,594,428.11                                         $3,178.70                 $15,594,428.11      $27,480.37
09/30/2 016            30    $15,594,428.11                                         $3,076.16                 $15,594,428.1 1     $30,556 .53
10/3 1/2016            31    $15,594,428 .11                                        $3 ,178.70                $15,594,428 .11     $33,735.23
 11 /30/2016           30    $15,594,4 28.11                                        $3,076 .16                $15 ,594,428 .11    $36,811.40
12/07/2016               7   $15,631.,239,50                                          $719.47 .             . $15,63.1,958.97           $0.00
12/31/2016             24    $15,631,958.97                                         $2,466.85          $0.00 $15,631,958.97        $2 ,466.85




                                                       $0.00             $0 .00   $151,745.82                   $15,482,680.00     $8,449.73




                                                                                                                                                 APP 017
                                                                                                                                            CONTROL 0000068249
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Note Payable to Get Good NE#1                                   12/07/2012

Original Principal         $8 ,11 3,240.00!Shares of Nexbank 387 ,067
Maturity                       12/07/2022
Initial Rate                        0.24%

                                Beg.           Principal       Interest         Interest        Principal         Ending           Accrued
  Period                     Balance           Advance         Payment          Accrual         Pavment           Balance          Interest
12/07/2012                 $8,113,240.00                                               $0 .00         $0.00    $8 .113,240.00            SO .OD
12/31/2012            24   SB ,113,240.00                                         $1,280.34           $0 .00   $8 ,113 ,240.00      $1 ,280 .34
01/31/2013            31   $8 ,113,240.00                                         $1,653 .77                   $8,113,240.00        $2,934.10
02/28/2013            28   $8,113,240.00                                          $1,493.73                    $8,113,240.00        $4,427 .83
03/31/2013            31   $8,113,240.00                                          $1,653.77                    $8 ,113 ,240.00      $6,081.60
04/30/2013            30   $8,113,240.00                                          $1,600.42                    $8,113 ,240.00       $7,682.02
05/31/2013            31   $8 ,1 13,240.00                                        $1,653 .77                   $8 ,113,240.00       $9,335 .78
06/30/2013            30   $8 ,11 3,240.00                                        $1 ,600.42                   $8 ,113,240.00      $10,936 .20
07/31/2013            31   $8 ,113 ,240.00                                        $1 ,653.77                   $8 ,113 ,240.00     $12 ,589.97
08/31/2013            31   $8,113,240 .00                                         $1 ,653 .77                  $8,113,240.00        $14,243 .74
09/30/2013            30   $8,113,240.00                                          $1 ,600.42                   $8 ,113 ,240.00      $15 ,844.16
10/31/2013            31   $8,113,240.00                                          $1 ,653.77                   $8,113,240.00       $17,497 .92
11/30/2013            30   $8,113,240.00                                          $1,600.42                    $8,113,240.00       $19,098.34
12/07/2013             7   $8 ,132,338.34                                           $314 .31                   $8 ,132,712.66            $0.00
12/31/2013            24   $8,132,712.66                                          $1 ,283.41          $0.00    $8 ,132 ,712 .66     $1 ,283.41
01/31/2014            31   $8,132 ,712.66                                         $1,657.74                    $8,132 ,712 .66      $2,941.15
02/28/2014            28   $8,132,712.66                                          $1,497 .31                   $8,132,7 12.66        $4,438.46
03/31/2014            31   $8,132,712.66                                          $1,657 .74                   $8,132,712.66         $6 096 .19
04/30/2014            30   $8,132,712.66                                          $1 ,604.26                   $8 ,132 ,712.66       $7,700.45
05/31/2014            31   $8,132,712.66                                          $1 ,657 .74                  $8 ,132,712.66        $9,358 .19
06/30/2014            30   $8,132,712.66                                          $1 ,604.26                   $8 ,1 32,712.66      $10,962.45
07/31/2014            31   $8 ,1 32 ,712 .66                                      $1 ,657 .74                  $8 ,132,712.66       $12 ,620.19
08/31/2014            31   $8,132,712.66                                          $1 ,657 .74                  $8 ,132 ,712.66      $14,277.92
09/30/2014            30   $8,132,712.66                                          $1,604.26                    $8,132 ,712 .66      $15,882.19
10/31/2014            31   $8,132,712.66                                          $1 ,657.74                   $8 ,132,712.66       $17,539.92
11/30/2014            30   $8,132,712 .66                                         $1 ,604 .26                  $8,132,712.66        $19,144.18
12/07/2014             7   $8,151,856.84                                             $375.21                   $8 ,152,232.05             $0.00
12/31/2014            24   $8 ,1 52,232 .05                                       $1 ,286.49          $0.00    $8 ,152 ,232 .05      $1 ,286.49
01/31/2015            31   $8,152,232.05                                          $1,661.72                    $8 ,152 ,232.05       $2 ,948.20
02/28/2015            28   $8,152,232.05                                          $1,500 .90                   $8,152,232.05         S4,449.11
03/31/2015            31   $8,152 ,232.05                                         $1,661 .72                   $8 ,152 ,232 .05      $6,110 .82
04/30/2015            30   $8,152,232.05                                          $1,608.11                    $8,152 ,232 .05       $7,718.94
05/31/2015            31   $8,152,232.05                                          $1,661.72                    $8 ,152,232.05        $9,380.65
06/30/2015            30   $8,152,232 .05                                         $1 ,608.11                   $8 ,152,232.05       $10,988 .76
07/31/2015            31   $8,152,232 .05                                         $1,661.72                    $8 ,152,232.05       $12,650.48
08/31/2015            31   $8,152 ,232.05                                         $1 ,661.72                   $8 ,152 ,232.05      $14 ,312 .19
09/30/2015            30   $8,152,232.05                                          $1 ,608.11                   $8,152 ,232.05       $15,920.30
10/31/2015            31   $8,152,232.05                                          $1,661 .72                   $8,152 ,232.05       $17,582.02
11/30/2015            30   $8,152,232.05                                          $1,608.11                    $8 ,152 ,232.05      $19,190.13
12/07/2015             7   $8,171;422.18                                           . $376.11                   $8, 17.1. 798.29          $0:00
12/31/2015            24   $8,171 ,798 .29                                        $1 ,289.58          $0.00    $8 ,171 ,798.29       $1,289 .58
01/31/2016            31   $8,171,798 .29                                         $1 ,665 .70                  $8,171,798.29         $2 ,955 .28
02/29/2016            29   $8,171,798.29                                          $1 ,558 .24                  $8 ,171 ,798.29       $4,513.52
03/31/2016            31   $8,171,798.29                                          $1 ,665 .70                  $8 ,171,798.29        $6,179.22
04/30/2016            30   $8,171 ,798.29                                         $1 ,611 .97                  $8 ,171 ,7 98.29      $7,791 .19
05/31/2016            31   $8,171,798.29                                          $1,665.70                    $8,171,798.29         $9 ,456 .90
06/30/2016            30   $8,171,798.29                                          $1 ,611.97                   $8 ,17 1,798.29      $11,068.87
07/31/2016            31   $8 ,171 ,798.29                                        $1,665.70                    $8,171 ,798 .29      $12 ,734.57
08/31/2016            31   $8,171,798.29                                          $1,665 .70                   $8 ,1 71 ,798.29     $14 ,400.28
09/3012016            30   $8,171,798.29                                          $1 ,611.97                   $8,171 ,798.29       $16,012.25
 10/31/2016           31   $8,171,798.29                                          $1 ,665 .70                  $8,171 ,798 .29      $17,677.95
 11/30/2016           30   $8,171 ,798.29                                         $1 ,611.97                   $8,171 ,798.29       $19,289.92
 1210712016            7   $8; 191,088.21                                           $377.0.1                   $8, 191 ,465.22 ·          $0;00
 12/31/2016           24   $8,191,465.22                                          $1 ,292 .68         $0 .00   $8,191,465.22         $1,292 .68




                                                      $0.00             $0.00    $79,517.90                    $8,113,240.00         $4,427.83




                                                                                                                                                   APP 018
                                                                                                                                              CONTROL 0000068250
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                   EXHIBIT 3
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                                        PROMISSORY NOTE


$23,595,920                                                                            December 7, 2012


          FOR V ;\LUE RECEIVED. Tl IL DUiA IV )Y INV l:STtv1ENl T IUSL a l)clawarc trust
             hereby unconditionally promises to pay rn the order of T l 11•: GFT COOD TRlJS 1. a
("' ;\,faker")
Tt:x<1s trust c ·J>ayee .. ), in legal and lawful tender ol' lhe l.;nited Stales of .America. the princ ipal
sum ol' TWENTY TH REL \1!1 .LION , Fl VF l ll.: l\DRED NINETY FIV I'. ll JOUS/\ND. NINE
HLNDRED TWENTY and 00/l 00 Dollars ($23.:'i95.92Q QQ). together \Vith intcrcsl. on the terms
                                                               0

set ronh below (the "Note"). All sums hereunder me payable to Payee at 300 Crescent Court.
Suite 700. Dallas. Texas or such other address as Payee may speeil'y to Maker in w riting from
till\c to time .

This Nole is entered into in cnnncction with: (i) that certain transaction. dated on or about the
date htrenL between the Payee and the Maker pursuant to which the Payee sold and assigned its
economic interest in 589.898 shares of Ncxl3ank Capital. Inc., a Delaware corporation (suc h
entily together with its successors, "IV('/ " and such shares, the "SJh'cified NC'/ Shores") to the
Maker: and (ii) that certain Voting Trust Agreement, dated on our about the date Lhereof.
pursuant lo which the Payee transferred lhe voting righ ts in such shares to the Trustee as delined
ib,.:rein . This l\otc constitutes the consideration paid by th e Maker in exchant\e for receipt of the
economic interests of the Specilied NCJ Shares.

        I.      Interest Rate. The unpaid principal ba lance of this Note from time to time
outstanding shall bear interest at the sho rt-term Applicable Federal Rate as promulgated by the
U.S. Internal Revenue Services from time to time during the term ol' this No te until Maturity
Date (hereinafter defined). compounded annually on the annive rsary of thL· date of this Note
[merest shall bl: calculated at a daily rate equal to !/.1 65th ( 1/:,66 in a leap year) oJ' rhe rate per
annum . shal l be charged and co llected 011 the actual number or days elapsed . and shall be payable
011 the matmity of this Note.


       2.      Pavmcnt of J~j1_1~iJmL and Interest.    Any interest due and owing and the
outstanding principal amount of this Note shall be dut: and payable on December 7, 2022 (lhe
··Maturity Date").

           :; ,   Prepavmcnt Allowed: Renegotiation Discretionary. l'v1aker may prepay at any
 timt.:: and from time lo time. in whole or in part. the unpaid principal of. togethe r with any unpaid
 interest on, this Note. /\ny payments on this Note shal l be applied first 10 any unpaid interest
 hereon. and then to unpaid principal hereof.

         4.      1~cekrnU.<Jn Cpon Defa ult. Failure to pay this Note lll' any installment hereunder
 as it becomes due shall. al the elect ion of the ho lder hereof. without no ti ce. demand.
 presentment. notice of intent to accderale. no tice ot acceleration. or any other notice of any kind
 ,vhieh are hereby \.vaivccl . mature the principa l or this Note and all interest then accrued , if any.
 and the same shall at once become due and payable and subject to those remedies or the holder
 hc.Tcuf. No failure or de lay on the part of Payee in exercising any right, power or privilege
 hereu nder shall operate as a waiver thereof.




                                                                                                       APP 019
                                                                                                    CONTROL_0000068251
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        5.      \Vaivcr. l\1akcr hereby ,vaives grace, demand. presen tment for payment, notice of
nnn1x1y111cnt. protest, notice of pro1est. notice or intent to accelerate, notice 01· acceleration and
all other notices of any kind hereunder.

       6.      Attornevs' Fees. If tbis Note is not paid at maturity (whether hy acceleration or
otherwise) and is placed in the hands of an atlorney for collecti on, or if i( is collected through a
bankruptcy rnurt or any other court after maturity. the Maker shall pay, in addition to al l other
amoums crn·ing hereunder. all actual expenses of collection , all court costs and reasonable
atmrneys· fees and expenses incurred by the holder hereo f.

        7.        Limitation on /\grcerncn ts. All agreements bet\vccn Maker and Payee, whether
now existing or hereafter arising. are hereby limi ted so that in no event shall the amount paid. or
agreed to be paid to Payee for the use. forbearance, or dcte111ion or mon ey or for the payment or
perfo rmance or uny covenant or ob ligation contained herein or in ,my uthcr doc ument
evidencing. securing t ir pertaining to this \lotc, exceed the max imum interest rate allowed by
l,t\\·. The terms and provision s    ur  thi s paragrnph shal l contwl and supersede every other
provi sion ol' all agn:ements between Puyec und Maker in conflict hcrc v>' ith.

         8.      (ioverninu: Lnw. This Note and the righLs and ob ligations of the parties hereunder
shall be governed by the laws oC the United Statc:s of Arncrica and by the laws of" the Stale of
Tc;,;as, and is performable in Dallas County, Texas.


                                                  MAKER:

                                                  THE    lr Ci";\f~(;Y ,1NVISrl\;1 L"lT T RUST
                                            _,,           :l           if   .....
                                                           .           I            (
                                                  By: ____ -~•'-',(. _, _...!:_-- ~ J --- - ;r) _ _ __
                                                  Name :"')amcs D. Dondero. not in' his individual
                                                  capacity. but sole ly as Family Trustee




                                                     2



                                                                                                         APP 020
                                                                                                   CONTROL_0000068251
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                   EXHIBIT 4
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                                       Commonwealth Trust Company

                                                "an independent Trust Company"



                                                   November 15, 2010

   Mr. James D. Dondero, Co-Trustee
   13455 Noel Road, Suite 800
   Dallas, TX 75240

           Re:       The Dugaboy Investment Trust

   Dear Mr. Dondero:

          We are pleased to be considered to serve as Trustee of the above-referenced Trust (the
   "Trust"). Our goal is to build long-lasting relationships by providing high quality, efficient, and
   responsive services. We submit for your review this letter and the attached Pricing Trust
   Services document, which in the absence of a contrary provision in the Trust document, will
   govern our compensation and reimbursement for expenses in connection with the Trust.

           Based upon information that has been provided to us:

                 •   The Trust is a Dynasty Trust
                 •   The Trust will be funded with or hold the attached list of assets

            1.       Fees and Expenses.

                   a.     Types o(Fees. We charge the following types of fees: a one-time set-up
   fee, an annual fee, and in certain cases, additional fees. For details about what services each type
   of fee covers, please refer to the attached Pricing Trust Services document. We propose the
   following one-time set-up fee and first year's annual fee in connection with the Trust:

                 •   One-time set-up fee           $       2,500.00
                 •   First year's annual fee       $       5,500.00

   However, these fees may change if the above inf01mation about the type of trust or funding of
   the ·Trust is inaccurate. Typically, the annual fee for the second year will be the same as the
   annual fee for the first year, though significant changes (such as in the assets of the Trust or our
   duties) may result in an adjustment.

                  b.      Expenses. We may charge for expenses reasonably incurred in performing
   our duties as Trustee of the Trust.



29 Bancroft Mills Road, 2nd Floor                                                            Fax: (302) 658-7219
Wilmington, DE 19806
Phone: (302) 658-7214                                                                            APP 021
                                                                                          E-mail: ctc@comtrst.com
                                                                                         Internet: www.comtrst.com
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 Mr. James D. Dondero
 November 15, 2010
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                C.     Timing ofPayment.

                   i. The one-time set-up fee and the first year's annual fee are due before
 we execute any document accepting the position of Trustee of the Trust. With regard to The
 Dugaboy Investment Trust we have waived the requirement that we be paid before executing the
 Trust documentation and expect payment in full after the Decanting Memorandum has been fully
 executed and the assets of The Dugaboy Trust have been decanted to the The Dugaboy
 Investment Trust.

                   ii. The annual fee for each subsequent year will be billed on or around the
 anniversary date of our accepting the position of Trustee of the Trust.

                   iii. Any expenses or additional fees may be billed from time to time or
 included with the bill for the annual fee.

               d.     Removal . or Resignation. While it is unusual for us to resign or be
 removed as Trustee, we reserve the right to charge for our time and expenses in connection with
 that process.

               e.      Source of Payment. Absent an indication to the contrary from you,
 subsequent years' annual fees and any expenses or additional fees will be paid from the Trust.
 Payment of our fees and/or expenses may have gift and generation-skipping transfer tax
 consequences unless payment is made with assets of the Trust. You should consult your advisor
 prior to making any payment of our fees and/or expenses (including our set-up fee and first
 year's annual fee) other than with assets of the Trust. We prefer that there be a bank or
 brokerage account in the name of the Trust to facilitate payments.

        2.      Commonwealth Trust Company Personnel.

          There will be many individuals working together at Commonwealth Trust Company
 ("CTC") on the administration of the Trust. I am the attorney assigned to the Trust. _The CTC
 Trust Administrator assigned to the Trust is Kristen M. Powers, who is likely to be your primary
 point of contact as she handles the day-to-day aspects of the administration of the Trust, such as
 information requests and distribution requests. Tax and accounting professionals are also on
 staff to assist in the administration of the Trust.

       All of these individuals can be reached by telephone at (302) 658-7214, by fax at (302)
 658-7219, or by e-mail. We use the following convention for the e-mail address of each CTC
 employee (with no spaces in the e-mail address): [first initial of first name, full last
 name]@comtrst.com. For example, my e-mail address is hflanagan@comtrst.com.

         Please sign at the bottom of the copy of this letter, signifying that you have read and
 understand the terms of this letter and the attached Pricing Trust Services document, and then
 kindly return it to us. We will be happy to respond to any questions you have with respect to any
 of the foregoing.



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 November 15, 2010
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          We hope that we will have the opportunity to serve as Trustee of the Trust for many
 years.




                                            Hea her M. Flanagan,
                                            Trust Counsel

 Attachment


 I have read and understand the terms of this letter and the Pricing Trust Services document
 attached therewith.



 Mr. James D. Dondero

 Date:
         -----------




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          ****Dugaboy Assets and Liabilities as 09/30/2010

          Du,gaboy Assets
          Cash                                                                                                     1,658.36
          Short Term Investments                                                                                     683.68
          Note Receivable- 4201 Locust LP                    Note                                              2,779,588.82
          Accrued Interest Recelvable-4201 Locust LP         Note                                                213,124.09
          Investment In 4201 Locust LP                       DE Partnership                                       30,350.00
          Dugaboy Management LLC                             DELLC                                               447,055.18   3,472,460.13

          Dugal:lo_y_ Liabilities
          Note Payable- Dondero (prlnclpal}                                                                   3,272,891.53
          Accrued lnterst payable - Dondero                                                                      48,576.31
          Note Payable- Get Good (prlnclpal)                                                                     20,203.84
          Accrued lnterst payable - Get Good                                                               _ _ _ _6_0_6_.6_7_ 3,342,278.35
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             COMMONWEALTH TRUST COMPANY
                       An Independent Delaware Trust Company
               "Turning the Delaware Advantage into Your Advantage Since 1931"
                                 29 Bancroft Mills Road 2nd Floor
                                      Wilmington, DE 19806
                             Phone (302) 658-7214 Fax (302) 658-7219
                              www .comtrst.corn ctc@comtrst.com

                                PRICING TRUST SERVICES

 Unlike large bank trust departments, Commonwealth Trust Company provides individual service
 that reflects the unique requirements of each trust we administer. We consider this personalized
 approach when quoting fees for a new trust. We can estimate our set-up fee and annual fee after
 we have received information such as what assets will be transferred to the trust, the number of
 beneficiaries, the terms of the trust and frequency of distributions. Once our legal department
 has had the opportunity to review the trust and the particular circumstances of the trust
 arrangement, we will set a firm fee. Particular services are covered in these fees and additional
 fees will be charged for services outside our standard services.

                                     ANNUAL FEES
 Below are our minimum fees for some of the most common trust arrangements:

               TRUST TYPE                           TRUST ASSETS                MINIMUM
                                                                               ANNUAL FEE
 Insurance Trusts                                         NIA                    $ 2,000

 Business Trusts                                          NIA                      $ 2,500

 Asset Protection Trusts                              $ 1,500,000                  $ 5,500
                                                      $ 5,000,000                  $ 7,500
                                                      $ 10,000,000                 $ 12,500
                                                      $ 25,000,000                 $25,500
 All Other Trusts                                     $ 1,000,000                  $ 4,000
                                                      $ 5,000,000                  $ 6,500
                                                      $ 10,000,000                 $ 11,500
                                                      $25,000,000                  $22,500
 All Unfunded Trusts including APTs                        $0                        $500

 Our annual fee includes the following services:
    • Review of one LLC Agreement, LP Agreement, or corporate governing document
    • Opening of one bank or brokerage account
    • One annual distribution (whether mandatory or discretionary)
    • Review and execution of one promissory note
    • Up to three payments of the Trust's expenses
    • Crummey notices sent annually or any other required annual notice to beneficiaries
    • Maintaining the books and records of the trust
    • An annual accounting
    • The acquisition of one life insurance policy and the payment of an annual premium for
        insurance trusts.

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             COMMONWEALTH TRUST COMPANY
                        An Independent Delaware Trust Company
               "Turning the Delaware Advantage into Your Advantage Since 1931"
                                  29 Bancroft Mills Road 2nd Floor
                                       Wilmington, DE 19806
                              Phone (302) 658-7214 Fax (302) 658-7219
                               www .comtrst.com ctc@comtrst.com

                                          SETUP FEE

 There is a one-time set-up fee for each trust between $1,500-$2,000 (APTs $1,750-$2,500). Our
 standard set-up fee includes the following:
     • Review of the existing trust document or draft document for new trusts
     • Communications with the grantor's attorney regarding the trust and CTC's requirements
     • Review of the revised trust or any documents relating to the reformation of a trust
     • Execution of the finalized trust or an acceptance to serve as trustee
     • Patriot Act checks for the grantor(s) and any co-trustee
     • If the trust will be decanted, preparation and negotiation of any release agreement
     • For asset protection trusts, a solvency review
     • Assistance with transfer of assets and or opening of associated accounts.

 The set-up fee will increase in relation to additional work associated with each individual trust.
 For example, additional fees will be due if several reviews of the trust documents are necessary
 or if there are other issues causing a significant amount of time and review including, but not
 limited to, trust reformation or decanting.

                                      ADDITIONAL FEES
 Below are examples of additional minimum fees for services. Additional fees are charged based
 on time.
                                                                             Minimum
     • Review of corporate organizational documents for each entity             $500
     • Opening additional bank or brokerage account                             $250
     • Additional distributions                                                 $300
     • Each additional set up for Crummey notices                               $250
     • Acquisition of additional life insurance policy                          $300
     • Additional payment of premiums                                           $300
     • 1035 Exchange                                                            $500
     • Preparation and filing of fiduciary income tax returns                   $500
     • Transmitting information to prepare and review
        fiduciary income tax returns not prepared by CTC                        $500
     • Federal income tax elections (i.e. QSST, ESBT)                           $750
     • Change of Investment Advisor or Investment Manager                       $500

 Although we do not charge a tennination fee, we do charge for time in terminating or
 transferring a trust and the annual fee will be prorated. The general pricing outlined above is
 reviewed annually by the President. The fee for each trust is analyzed on a yearly basis. · CTC
 generally increases fees every two years in increments of $250-$500. Otherwise, annual fees
 remain stable from year to year, only increasing due to changed administrative duties or
 significant changes in assets under administration.
 6/29/2010

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                                TRUST AGREEMENT



                                      Between



                              DANA SCOTT BREAULT,
                                     Settlor




                                           and



                           JAMES D. DONDERO and
                       COMMONWEAL TH TRUST COMPANY,
                                  Trustees



                        THE DUGABOY INVESTMENT TRUST



                                   WINSTEAD PC
                                  DALLAS, TEXAS




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                                         THE DUGABOY INVESTMENT TRUST

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                            THE DUGABOY INVESTMENT TRUST


November AGREEMENT OF TRUST made and entered into at Dallas, Texas,                  15th_ day of
                                                                                this _
 XXXXXX
  October, 2010, by and between DANA SCOTT BREAULT, as Settlor,                  and JAMES D.
 DONDERO, and COMMONWEALTH TRUST COMPANY, as Trustees.

                                           ARTICLE I

                                         DEFINITIONS

         The following terms, as used in this Trust Agreement, have the meanings set forth below,
 unless another meaning is clearly indicated by context or circumstances:

        1.1    Settlor. "Settlor" means DANA SCOTT BREAULT.

        1.2    Jim. "Jim" means JAMES D. DONDERO.

         1.3    Trustees. The initial Trustee of each trust created hereunder is JAMES D.
 DONDERO. "Trustee" means any person or entity serving as Trustee, whether original or
 successor and whether one or more in number.                 "Administrative Trustee" means
 COMMONWEALTH TRUST COMPANY in its capacity as Administrative Trustee, and any
 successor Administrative Trustee appointed in accordance with Section 5.2(c). "Independent
 Trustee" means GRANT JAMES SCOTT, III, (upon his acceptance as set forth in
 Section 5.2(b)) in his capacity as Trustee, and any successor Independent Trustee appointed in
 accordance with Section 5.2(b). "Family Trustee" means JAMES D. DONDERO in his capacity
 as Trustee, and any successor Family Trustee appointed in accordance with Section 5.2(a). The
 rights, powers, duties, and obligations, of the Family Trustee, Independent Trustee and
 Administrative Trustee are to be exercised and allocated pursuant to Section 6.2 of this Trust
 Agreement.

       1.4    Children. "Children" means REESE AVRY DONDERO, JAMESON DRUE
 DONDERO, and any other child born to or adopted by Jim after the date of this Trust
 Agreement. "Child" means one of the Children.

        1.5    Descendants. "Descendants" means the legitimate children of the person
 designated and the legitimate lineal descendants of such children, and includes any person
 adopted before attaining age fifteen (15) and the adopted person's legitimate lineal descendants.
 A posthumous child shall be considered as living at the death of his parent.

        1.6    Code. "Code" means the Internal Revenue Code of 1986, as amended, and
 corresponding provisions of future federal tax law.

        1. 7    Per Stirpes. "Per Stirpes," when used with respect to a distribution of property
 among a class of beneficiaries, shall mean by representation; that is, the Descendants of a
 deceased ancestor take the share such ancestor would have received had he or she been living,
 and the issue of a living ascendant would not take in competition with such ascendant. The per


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 stirpital allocation shall commence with the most semor generation that has a living
 representative.

                                             ARTICLE II

                                             FUNDING

          Settlor has transferred to the Trustee, without consideration, One Thousand and No/100
 Dollars ($1,000.00) which shall be administered and distributed in accordance with the terms of
 this Trust Agreement. Settlor and others may transfer to the Trustee properties acceptable to
 them, to be added to the trust estate. The Trustee shall administer the initial trust estate pursuant
 to the terms of Section 3.1.

                                            ARTICLE III

                        DISTRIBUTION OF PRINCIPAL AND INCOME

         3 .1   Trust for Jim. The trust for the benefit of Jim shall be administered and
 distributed upon the following terms:

                (a)    Distributions to Jim. The Family Trustee may distribute to Jim so much of
        the net income and principal of the trust as the Family Trustee deems necessary to
        provide for Jim's maintenance, support and health. Undistributed income shall be
        accumulated and added to principal. In exercising its discretion, the Family Trustee shall
        take into account the following factors:

                        (i)    Jim is the primary beneficiary of the trust.

                        (ii)  The Family Trustee shall take into consideration in determining
                Jim's needs any other income or resources known upon reasonable inquiry by the
                Family Trustee to be available to Jim for these purposes.

                      (iii) Settlor's intention to assist or enable Jim to obtain and furnish a
                home commensurate with his standard of living.

                       (iv)    Settlor's intention to assist or enable Jim to obtain capital to enter a
                business or profession.

                        (v)    Any federal, state or local income taxes imposed on Jim as a result
                of the income and/or gains from the trust

                 (b)    Distributions by Independent Trustee. The Independent Trustee may, in
        its sole and absolute discretion, distribute to Jim so much of the income and principal of
        the trust as the Independent Trustee shall deem appropriate or advisable. It is Settlor's
        intention to give the Independent Trustee the broadest discretion possible in determining
        the amount and timing of distributions of income and principal hereunder and Settlor
        recognizes that the Independent Trustee may, in the exercise of its discretion, determine


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       to distribute the entire trust estate to Jim or to make no distributions to Jim during Jim's
       disability or for so long as Jim shall have a judgment outstanding, or for so long as any
       distribution might be lost to Jim's creditors. It is also Settler's intention and desire for the
       Independent Trustee to consider any federal, state or local income taxes imposed on Jim
       as a result of the income and/or gains from the trust in determining the amount of
       distributions to be made to Jim under this subsection (b).

               (c)      Inter Vivos Special Power of Appointment. During Jim's lifetime, he shall
       have  a  special  power to appoint any part or all of the trust estate to any individual or
       entity, except that no appointment shall be made to Jim, his creditors, his estate, or the
       creditors of his estate. Valid appointments may be in such amounts and proportions and
       upon such terms and conditions as Jim shall determine and evidence by written
       instrument delivered to the Trustee which specifically refers to this power of appointment
       and expresses the intention to exercise it; provided that such power of appointment shall
       not extend to any life insurance policies insuring Jim's life that constitute a part of the
       trust estate; and provided further that Jim shall not have a power to appoint by deed to or
       for the benefit of Jim or any individual or entity if such appointment has the effect of
       satisfying Jim's contractual or legal obligations. Any exercise of this power of
       appointment must be made in an executed and acknowledged written instrument
       delivered to the Trustee which to be effective must refer specifically to the power granted
       under this Section 3 .1 (c).

               (d)     Independent Trustee's Power to Grant Testamentary General Power of
       Appointment. Except as otherwise provided herein, the Independent Trustee, by signed
       acknowledged instrument delivered to Jim, may grant Jim a testamentary general power
       of appointment (as defined in Sections 2041 of the Code) over part or all of the trust
       estate, provided, however, that such power of appointment shall only be effective in an
       amount up to but not in excess of the amount, if any, above which any further addition to
       the amount subject to the power of appointment would increase the Net Death Taxes (as
       hereinafter defined) by an amount equal to or greater than the decrease in the
       generation-skipping transfer tax that would result from such further addition. Unless
       Jim's will provides otherwise by express reference to this Trust Agreement and the above
       power of appointment, the increase in the Net Death Taxes resulting from such power
       shall be paid from that amount of the principal of the trust estate over which the power is
       exercisable. As used in this section, the term "Net Death Taxes" shall mean the aggregate
       death taxes (including, without limitation, Federal, state, local and other estate taxes and
       inheritance taxes but exclusive of interest and penalties), after taking into account all
       applicable credits, payable with respect to Jim's estate.

                       (i)    If Jim has one or more other general powers of appointment
               exercisable and  measured substantially as provided in subsection (d) above, the
               amount that Jim may appoint under subsection (d) shall be reduced
               proportionally, based on the net fair market values of the principal of the trusts
               with respect to which such powers are exercisable as of the date of Jim's death, so
               that the aggregate of the amount so appointable under this Trust Agreement and
               the amount or amounts so appointable pursuant to such other power or powers


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              together shall be no greater than the amount otherwise appointable under
              subsection (d) above.

                      (ii)    The scope and terms of the power shall be defined in the
              instrument. Before such a power is exercised by Jim and the exercise becomes
              effective, the Independent Trustee may, in a similar manner, revoke or alter the
              power which was granted. This power shall not apply if the trust has an inclusion
              ratio of zero for generation-skipping transfer tax purposes. Jim shall not have a
              general power of appointment over any part of the trust estate unless such power
              is specifically granted to Jim by the Independent Trustee pursuant to this
              subsection.

               (e)    Termination. If not earlier terminated by distribution of the entire trust
       estate under the foregoing provisions, the trust shall terminate upon Jim's death. Upon
       termination of the trust, the Trustee shall distribute the balance of the trust estate as
       follows:

                      (i)     Pursuant to General Testamentary Power of Appointment. This
              paragraph (i) shall apply if, but only if, the Independent Trustee grants Jim a
              general testamentary power of appointment pursuant to subsection (d) above and
              the Independent Trustee has not revoked the grant of that general power prior to
              the date of Jim's death. In that event, if Jim validly exercises such general
              testamentary power of appointment, the Trustee shall distribute so much of the
              trust estate then remaining as is validly appointed by Jim pursuant to such power
              in accordance with the terms of such appointment.

                      (ii)    Special Testamentary Power of Appointment. This paragraph (ii)
              shall apply to so much of the trust estate then remaining as is not distributed
              pursuant to paragraph (i) above. The Trustee shall distribute the trust estate to
              such one or more individuals and entities, in such amounts and proportions and
              upon such terms and conditions, as Jim appoints by will or codicil which
              specifically refers to this power of appointment and expresses the intention to
              exercise it. However, Jim may not appoint to Jim, Jim's estate, Jim's creditors, or
              creditors of Jim's estate.             ·

                      (iii)   Alternative Disposition. The rema1mng and unappointed trust
              estate shall be held in trust or distributed as follows:

                             (1)    If one or more of Jim's Descendants are then living, the
                     Trustee shall divide the trust estate into separate equal shares, one for each
                     then living Child and one for the then living Descendants, collectively, of
                     each deceased Child with one or more Descendants then living. The
                     Trustee shall administer a share for each Child in a separate trust for the
                     primary benefit of the Child and for the Child's Descendants pursuant to
                     Section 3.2 hereof. The Trustee shall administer a share for the
                     Descendants of each deceased Child pursuant to Section 3.3 hereof.


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                               (2)    If none of Jim's Descendants is then living, the trust estate
                       shall be administered or distributed in accordance with Section 3.4 hereof.

        3.2     Trust for Child. All property directed to be administered in a separate trust for a
 Child under this Section 3.2 shall be administered and distributed for the Child's benefit upon the
 following terms:

                (a)     Distributions to Child. The Trustee may distribute to the Child so much of
        the net income and principal of the trust as the Trustee deems necessary to provide for the
        Child's reasonable maintenance, support, health and education. In exercising its
        discretion, the Trustee shall take into account the following factors:

                       (i)     The Child's standard ofliving at the creation of the trust.

                       (ii)    The Child is the primary beneficiary of the trust.

                        (iii)   The Trustee shall take into consideration, in determining the
                Child's needs, any other income or resources known upon reasonable inquiry by it
                to be available to the Child for these purposes.

                       (iv)     Settlor's intention to enable or assist each Child to pursue
                vocational, college, graduate, and/or professional education as long as in the
                Trustee's judgment it is pursued to the Child's advantage and to receive an
                excellent earlier education.

                       (v)     Settlor's intention that the trust distributions not serve as a
                disincentive the Child's motivation to provide for her own needs in life.
                            to

                (b)     Distributions to Child's Descendants. The Trustee may distribute to the
        Child's Descendants so much of the net income and principal of the trust as the Trustee,
        in its discretion, deems necessary to provide for their reasonable maintenance, support,
        health and education. In exercising its discretion, the Trustee shall take into account the
        following factors:

                       (i)     The primary purpose of the trust.

                       (ii)    The respective needs of each Descendant.

                       (iii)    The Trustee shall take into consideration, in determining a
                Descendant's needs, any other income or resources known upon reasonable
                inquiry by it to be available to the Descendant for these purposes.

                       (iv)     Settlor's intention to enable or assist each Descendant to pursue
                vocational, college, graduate, and/or professional education as long as in the
                Trustee's judgment it is pursued to the Descendant's advantage and to receive an
                excellent earlier education.



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                       (v)    Settlor's intention that the trust distributions not serve as a
              disincentive to a Descendant's motivation to provide for his or her own needs in
              life, and Settlor's instruction to the Trustee to terminate or lessen distributions to a
              Descendant if that objective, in the judgment of the Trustee, would thereby be
              served.

       Distributions hereunder need not be equal among the Descendants, and the Trustee may
       make distributions to one or more Descendants to the exclusion of others. Distributions
       shall be charged against the trust estate as a whole, and not against the distributive share
       of any Descendant upon termination of the trust.

               (c)     Inter Vivos Special Power of Appointment. The Child, acting in the
       Child's individual capacity, shall have a special power to appoint the income and
       principal of the trust to or for the benefit of one or more members of the limited class
       consisting of the Descendants of the Children, in such amounts and proportions and upon
       such terms and conditions, as the Child shall direct; provided that the Child shall not have
       a power to appoint by deed to or for the benefit of any individual if such appointment has
       the effect of satisfying a contractual obligation or legal support obligation of the Child.
       This power of appointment may be exercised subject to such terms and conditions as the
       Child shall direct, including an appointment in further trust, but no trust created by the
       exercise of such power may extend beyond the maximum term allowable with respect to
       any trust created under this Trust Agreement. Any exercise of this power of appointment
       must be made in an executed and acknowledged written instrument delivered to the
       Trustee which to be effective must refer specifically to the power granted under this
       Section 3.2(c).

               (d)     Termination. If not earlier terminated by distribution of the entire trust
       estate under the foregoing provisions, the trust shall terminate upon the death of the
       Child. Upon termination, the Trustee shall distribute the trust estate then remaining, or
       any part thereof, to such one or more members of the limited class consisting of Jim's
       Descendants, in such amounts and proportions and upon such terms and conditions, as
       the Child shall appoint by will or codicil which specifically refers to this power of
       appointment and expresses the intention to exercise it. However, the Child may not
       appoint to the Child, the Child's creditors, estate, or creditors of the Child's estate. The
       trust property not appointed by the Child in accordance with this special power of
       appointment shall be administered by the Trustees for the Child's then living Descendants
       pursuant to Section 3.3 hereof. If there are no Descendants of the Child then living, the
       Trustee shall distribute the remaining trust estate to Jim's then living Descendants,
       Per Stirpes. If any property is distributable to a person for whose benefit a trust which
       was established under this Trust Agreement is then being administered, the property shall
       be added to that trust and administered according to its terms. Ifno Descendant of Jim is
       then living, the Trustee shall administer or distribute the remaining trust estate pursuant
       to Section 3 .4 hereof.

        3.3    Trusts for Descendants. The Trustee shall divide property which is to be
 administered under this Section 3.3 for the Descendants of a deceased Child, among such


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 Descendants, Per Stirpes. The Trustee shall administer each share created for a Descendant of a
 deceased Child (the "Beneficiary") in a separate trust for the Beneficiary's benefit upon the
 following terms:

                (a)     Distributions. The Trustee shall distribute to the Beneficiary so much of
        the net income and principal of the trust as the Trustee deems necessary for the
        Beneficiary's reasonable maintenance, support, health and education. In exercising its
        discretion, the Trustee shall take into account the following factors:

                      (i)     The Beneficiary's standard ofliving at the creation of the trust.

                      (ii)    The Beneficiary is the primary beneficiary of the trust.

                       (iii)   The Trustee shall take into consideration, • in determining the
               Beneficiary's needs, any other income or resources known upon reasonable
               inquiry by it to be available to the Beneficiary for these purposes.

                      (iv)     Settlor's intention to enable or assist each Beneficiary to pursue
               vocational, college, graduate, and/or professional education as long as in the
               Trustee's judgment it is pursued to the Beneficiary's advantage and to receive an
               excellent earlier education.

                      (v)      Settlor's intention that the trust distributions not serve as a
               disincentive to the Beneficiary's motivation to provide for his or her own needs in
               life.

               (b) ·    Distributions to Beneficiary's Descendants. The Trustee may distribute to
        the Beneficiary's Descendants so much of the net income and principal of the trust as the
        Trustee, in its discretion, deems necessary to provide for their reasonable maintenance,
        support, health and education. In exercising its discretion, the Trustee shall take into
        account the following factors:

                      (i)     The primary purpose of the trust.

                      (ii)    The respective needs of each Descendant.

                       (iii)   The Trustee shall take into consideration, in determining a
               Descendant's needs, any other income or resources known upon reasonable
               inquiry by it to be available to the Descendant for these purposes.

                      (iv)     Settlor's intention to enable or assist each Descendant to pursue
               vocational, college, graduate, and/or professional education as long as in the
               Trustee's judgment it is pursued to the Descendant's advantage and to receive an
               excellent earlier education.

                      (v)     Settlor's intention that the trust distributions not serve as a
               disincentive to a Descendant's motivation to provide for his or her own needs in


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               life, and Settler's instruction to the Trustee to terminate or lessen distributions to a
               Descendant if that objective, in the judgment of the Trustee, would thereby be
               served.

       Distributions hereunder need not be equal among the Descendants, and the Trustee may
       make distributions to one or more Descendants to the exclusion of others. Distributions
       shall be charged against the trust estate as a whole, and not against the distributive share
       of any Descendant upon termination of the trust.

               (c)     Inter Vivos Special Power of Appointment. The Beneficiary, acting in the
       Beneficiary's  individual capacity, shall have a special power to appoint the income and
       principal of the trust to or for the benefit of one or more members of the limited class
       consisting of Jim's Descendants in such amounts and proportions and upon such terms
       and conditions, as the Beneficiary shall direct; provided that the Beneficiary shall not
       have a power to appoint by deed to or for the benefit of any individual if such
       appointment has the effect of satisfying a contractual obligation or legal support
       obligation of the Beneficiary. Furthermore, the Beneficiary may not appoint to the
       Beneficiary, the Beneficiary's creditors, estate or creditors of the Beneficiary's estate.
       This power of appointment may be exercised subject to such terms and conditions as the
       Beneficiary shall direct, including an appointment in further trust, but no trust created by
       the exercise of such power may extend beyond the maximum term allowable with respect
       to any trust created under this Trust Agreement. Any exercise of this power of
       appointment must be made in an executed and acknowledged written instrument
       delivered to the Trustee which to be effective must refer specifically to the power granted
       under this Section 3.3(c).

               (d)     Termination. If not earlier terminated by distribution of the entire trust
       estate under the foregoing provisions, the trust shall terminate at the death of the
       Beneficiary. Upon termination, and except as otherwise provided pursuant to Section 3.5
       hereof, the Trustee shall distribute the trust estate then remaining, or any part thereof to
       such one or more members of the limited class consisting of Jim's Descendants, in such
       amounts and proportions and upon such terms and conditions, as the Beneficiary shall
       appoint by will or codicil which specifically refers to this power of appointment and
       expresses the intention to exercise it. However, the Beneficiary may not appoint to the
       Beneficiary, the Beneficiary's creditors, estate or creditors of the Beneficiary's estate. The
       trust property not effectively appointed by the Beneficiary in accordance with this special
       power of appointment or pursuant to Section 3.5 hereof shall be distributed, Per Stirpes,
       to: the Beneficiary's Descendants living at the termination of the trust; or if there are no
       such Descendants then living, to the then living Descendants of the Child who was the
       parent of the Beneficiary; or if there are no such Descendants then living, to Jim's then
       living Descendants. If any property is distributable under this subsection to a Child, such
       property shall be added to the Child's Trust and administered pursuant to the terms of
       Section 3 .2. If any property is distributable under this subsection to a Descendant of Jim
       (other than a Child), such property shall be administered in trust for such Descendant's
       benefit pursuant to the terms of this Section 3 .3. If no Descendant of Jim is then living,



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       the Trustee shall administer or distribute the remaining trust estate pursuant to Section 3.4
       hereof.

        3.4      Contingent Distribution. If Jim and Jim's Descendants are all are deceased and no
other disposition of the trust estate is called for in this Trust Agreement, the trust estate then
remaining shall be distributed to those persons other than creditors and Settler who, under the
laws of Texas in force at that time, would have taken the personal property of Jim had he died
intestate, a single person without Descendants, domiciled in the State of Texas, the moment after
the event causing the distribution hereunder, the shares and proportions of taking to be
determined by Texas laws.

       3.5     General Power of Appointment for Certain Beneficiaries.

                (a)     Except as provided in subsection (c) below, any provision of this Trust
        Agreement to the contrary notwithstanding, at the death of any individual ("such
        beneficiary") at whose death the generation-skipping transfer tax would, but for the
        provisions of this section, be applicable with respect to any trust created under this Trust
        Agreement, the Trustees shall pay out of the principal of such trust such amount as such
        beneficiary, by express provision referring to this Trust Agreement and this power of
        appointment in his or her will, appoints, to or among such beneficiary's creditors, up to
        but not in excess of the amount, if any, above which any further addition to the amount
        subject to the power of appointment would increase the Net Death Taxes (as hereinafter
       ·defined) by an amount equal to or greater than the decrease in the generation-skipping
        transfer tax that would result from such further addition. Unless such beneficiary's will
        otherwise provides by express reference to this Trust Agreement and the above power of
        appointment, the increase in the Net Death Taxes resulting from such power shall be paid
        from that amount of the principal of such trust over which such power is exercisable.
        The foregoing provisions of this section shall be effective only if the Trustees make a
        determination that the generation-skipping transfer tax would not be applicable with
        respect to the amount of such trust over which such power is exercisable. As used in this
        section, the term "Net Death Taxes" shall mean "the aggregate death taxes (including,
        without limitation, federal, state, local and other estate taxes and inheritance taxes but
        exclusive of interest and penalties), after taking into account all applicable credits,
        payable with respect to the estate of such beneficiary."

               (b)    If under the will of any individual or individuals and/or any other trust
       instrument or instruments, such beneficiary has one or more other general powers of
       appointment exercisable and measured substantially as provided in subsection (a) above,
       the amount such beneficiary may appoint under subsection (a) shall be reduced
       proportionally, based on the net fair market values of the principal of the trusts with
       respect to which such powers are exercisable as of the date of death of such beneficiary,
       so that the aggregate of the amount so appointable under this Trust Agreement and the
       amount or amounts so appointable pursuant to such other power or powers together shall
       be no greater than the amount otherwise appointable under subsection (a) above.




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              (c)     The provisions of this section shall not apply to the trust administered for
       Jim under  Section 3 .1.

        3.6     Postponement of Distribution. Upon termination of any trust established
hereunder, if any property is distributable to a beneficiary who is then under age twenty-five
(25), or who, because of age, physical or mental weakness, or for any other reason is, in the sole
discretion of the Trustee, unable to manage the property, the Trustee shall retain such property in
a separate trust for the benefit of that beneficiary, until he or she attains age twenty-five (25) and
in the sole discretion of the Trustee becomes able to manage the property. At that time, the
remaining trust property shall be distributed to the beneficiary and the separate trust shall
terminate. During the term of the trust, the Trustee shall distribute to the beneficiary so much of
the net income and principal as the Trustee deems necessary to provide for the beneficiary's
health, support, maintenance and education. If the beneficiary dies before the termination of the
trust, the then remaining trust estate shall be distributed to the beneficiary's estate.


                                           ARTICLE IV

                          PROVISIONS AFFECTING DISTRIBUTION

         4.1    Withdrawal Right. Jim shall have the right, following a contribution to Jim's
trust, to make a withdrawal in accordance with the provisions of this section unless the transferor
indicates otherwise when-fuaking the transfer. A separate withdrawal right shall attach to each
separate contribution of properties to Jim's trust. If a transferor is married at the time of
contribution to the Trustee, then solely for purposes of the withdrawal rights granted in this
Section 4.1, unless the transferor notifies the Trustee in writing to the contrary, such contribution
shall be treated as two separate contributions having been made one-half (1/2) by the transferor
and one-half (1/2) by the transferor's spouse, regardless of whether the property contributed is
community property and regardless of whether they elect to treat such contribution as having
been made one-half by each of them for Federal gift tax purposes. Any person making a
contribution to Jim's trust may give the Trustee written instructions that no withdrawal right is to
be granted, or that alternative withdrawal rights are to be granted with respect to the contribution
being made.

              (a)    Amount That May Be Withdrawn. When a contribution is made, Jim may
       withdraw the lesser of the following amounts:

                       (i)     the maximum present interest exclusion amount permitted, under
               Section 2503(b) of the Code, or any similar succeeding statute (such amount
               being $12,000 at the date of execution of this Trust Agreement), less the
               cumulative value of all previous known gifts to or for the benefit of Jim by the
               same transferor during the same calendar year which would qualify for the present
               interest exclusion; or

                      (ii)  the remainder determined by subtracting Jim's cumulative rights of
               withdrawal with respect to any other gifts from any transferor that are either


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               currently outstanding or that have previously lapsed (but not including the present
               right of withdrawal) during the same calendar year from the greater of (1) Five
               Thousand Dollars ($5,000), or (2) Five Percent (5%) of the total value of Jim's
               trust determined as of the date the current withdrawal power is to lapse (such
               value may be estimated by the Trustee), or (3) any greater withdrawal power, the
               lapse of which would not constitute a release of such power under Sections
               2041(b)(2) and 2514(e) of the Code or any similar subsequent statute; or

                       (iii)   the value of the contribution that is subject to the withdrawal right.

                (b)     Withdrawal Period and Notice. Unless directed to the contrary by the
        transferor, the Trustee shall promptly provide Jim with written notice of the date of the
        contribution, the name of the transferor, the value of the properties contributed, and the
        value of Jim's withdrawal right. Withdrawals may be made at any time for a period of
        thirty (30) days following Jim's receipt of the notice of the existence of the withdrawal
        right. During any period that Jim lacks legal capacity, Jim's guardian or other legal
        representative, other than Settlor, may exercise Jim's withdrawal right on Jim's behalf. If
        Jim does not exercise the withdrawal right before the expiration of that period, the
        unexercised right shall lapse. For purposes of this section, the term "contribution" means
        any cash or other property which is transferred to the Trustee as part of the trust estate.
        The value of any contribution to the trust estate shall be its value for federal gift tax
        purposes.

                (c)    Payment of Withdrawal Amount. If Jim exercises his withdrawal right,
        payment of the amount due shall be made in cash immediately upon receipt by the
        Trustee of a demand in writing from Jim or his guardian or other legal representative,
        other than Settlor. Upon the exercise of a withdrawal right, payment shall be made, first,
        from any gifts made to Jim's trust prior to the exercise of such withdrawal right, but
        during the same calendar year in which the withdrawal right is exercised, and shall be
        charged against the trust. Should such gift or gifts not consist of sufficient cash to satisfy
        the exercised withdrawal right, the Trustee shall use other liquid assets of Jim's trust for
        such purpose. Should Jim's trust not contain sufficient liquid assets to satisfy an
        exercised withdrawal right when made, the Trustee shall borrow funds in order to satisfy
        the demand and shall, if necessary, pledge trust property to secure the loan.

                (d)     Distributions During Withdrawal Period. If any contribution is made
        subject to a withdrawal right, the Trustee shall not make any distributions under any other
        provision of the Trust Agreement which would prevent the Trustee from being able to
        satisfy fully any unexpired right of withdrawal.

                (e)    Lapse of Withdrawal Right. In the event Jim allows a withdrawal right
        granted under this Section 4.1 to lapse with respect to a contribution, or any portion
        thereof, the Trustee is authorized to characterize such lapse as a "release" for purposes of
    1   Section 678(a) of the Code.




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         4.2     Restriction Upon Alienation. No beneficiary may anticipate, by assignment or
 otherwise, his beneficial interest in the principal or income of the trust estate; nor may any
 beneficiary sell, transfer, encumber, or in any way charge his interest in trust income or principal
 prior to actually receiving it. Neither the income nor the principal of any trust established
 hereunder shall be subject to any execution, garnishment, attachment, bankruptcy, claims for
 alimony or support, other legal proceeding of any character, legal sequestration, levy or sale, or
 in any other event or manner be applicable or subject, voluntarily or involuntarily, to the
 payment of a beneficiary's debts. The Trustee shall make distributions to or for each beneficiary
 according to the terms hereof, notwithstanding any purported sale, assignment, hypothecation,
 transfer, attachment, or judicial process. The provisions of this section shall not limit or detract
 from any power of appointment or withdrawal right granted to any beneficiary herein.

         4.3    Distributions Constitute Separate Property. Settlor intends to make a gift to each
 beneficiary hereunder of only that portion of the income and principal of each trust that is in fact
 distributed to such beneficiary. Inasmuch as the amounts actually distributed to a beneficiary
 hereunder constitute the gift Settlor contemplated making, such distributions, whether they be
 income or principal, shall constitute the separate property of such beneficiary and not the
 community property of such beneficiary. Furthermore, it is Settlor's intention that no beneficiary
 shall have any interest in any undistributed income or principal until the distribution of such
 income or principal and, accordingly, such undistributed income and principal shall not be
 deemed the community property of any such beneficiary and that beneficiary's spouse.

         4.4    Method of Payment. The Trustee, in its discretion, may make distributions to any
 beneficiary, including a beneficiary who is under a physical, mental, or legal disability (minority
 or other), in any one or more of the following ways: directly to the beneficiary without the
 intervention of any legal guardian or other legal representative; as expenditures in the
 beneficiary's behalf; to the guardian, committee, conservator, or other similar official acting for
 the beneficiary; to a custodian for the beneficiary under a Uniform Transfers to Minors Act or
 Uniform Gifts to Minors Act; to a relative of the beneficiary or to any suitable person with whom
 the beneficiary resides or who has care or custody of the beneficiary; and in all ways provided by
 law for gifts or other transfers to or for minors or other persons under disability. In each case,
 receipt by the beneficiary or other person to whom payment is made or a distribution entrusted
 shall be a complete discharge of the Trustee with respect thereto. The Trustee may act upon such
 evidence as it deems appropriate and reliable in determining a beneficiary's ability to manage
 property and identifying a proper recipient of trust funds hereunder.

         4.5     Evidence of Need. In exercising its discretion under this Trust Agreement, the
 Trustee shall be entitled to rely upon the written certification of a beneficiary or of another as to
 the nature and extent of a beneficiary's needs, and the adequacy of the beneficiary's resources
 apart from the trust to meet those needs. The Trustee may, but shall not be required to, make
 inquiry into the accuracy of the information it receives

        4.6     Termination of Small Trust. Notwithstanding any provision of this Trust
 Agreement to the contrary, the Trustee may at any time terminate any trust when in its judgment
 the trust is so small that it would be inadvisable or uneconomical to continue the trust
 administration. In the event of termination, the Trustee shall distribute the trust to the income


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 beneficiaries of the trust determined at the time of distribution in the proportions to which they
 are entitled to receive income. If at that time rights to income are not fixed by the terms of the
 trust, distribution shall be made to the persons to whom the Trustee may then distribute income,
 in proportions determined in the Trustee's discretion, exercised consistently with the trust's
 purposes. Distribution of trust funds in the manner herein provided shall relieve the Trustee of
 any further responsibility with respect to such funds. This section shall not apply to a Trustee
 with respect to any trust of which such Trustee is a beneficiary, or if Trustee has duty to support
 the beneficiary or to any Trustee who may be removed and replaced by a beneficiary of the trust
 unless the successor trustee must be a corporate fiduciary or someone who is not related or
 subordinate to the beneficiary within the meaning of Section 672(c) of the Code. The provisions
 of this section shall not limit or detract from any withdrawal right granted to any beneficiary
 herein.

         4.7     Generation-Skipping Transfer Taxes and Payment. It is Settler's intent that the
 trusts created hereunder   be exempt from Generation-Skipping Transfer Taxes. If, however, the
 Trustee considers any distribution or termination of an interest or power in a trust to be a taxable
 distribution (a "Distribution") or a taxable termination (a "Termination"), or a direct skip (a
 "Direct Skip") for generation-skipping transfer tax purposes, the Trustee may exercise the
 following authorities with respect to any such Distribution, Termination or Direct Skip. In the
 case of a Distribution, the Trustee may increase the amount to be distributed by an amount
 estimated to be sufficient to permit the beneficiary receiving such Distribution to pay the
 estimated generation-skipping tax attributable to such Distribution. Generally, the Trustee would
 not be expected to augment any partial terminating distribution in order to pay
 generation-skipping transfer taxes attributable to such partial terminating distribution from a
 trust. In the case of a Termination or Direct Skip, the Trustee shall pay the generation-skipping
 transfer tax attributable to such Termination or Direct Skip, and may postpone final termination
 of any trust or the complete funding of any Direct Skip, and may withhold all or any portion of
 the trust property, until the Trustee is satisfied it no longer has any liability to pay any
 generation-skipping transfer tax with reference to the Termination or Direct Skip. If a
 generation-skipping transfer tax is imposed in part by reason of property held in trust under a
 Settlor's will or codicil, and in part by reason of other property, the Trustee shall pay only the
 portion of such tax that is fairly attributable to the Distribution, Termination, or Direct Skip
 hereunder, taking into consideration deductions, exemptions, credits and other factors which the
 Trustee deems appropriate. The Trustee may, but need not make any equitable adjustments
 among beneficiaries of a trust as a consequence of additional distributions or generation-skipping
 transfer tax payments made with respect to Distributions or Terminations or Direct Skips.

                                            ARTICLEV

                                          THE TRUSTEE

         5.1    Resignation of Trustee. The Trustee may resign as to any one or more of the
 trusts created hereunder by giving written notice to Settlor, if living; otherwise to the current
 income beneficiary of the trust.




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        5.2   Appointment and Succession of Trustees.

              (a)    Generally.

                      (i)     Family Trustee. Jim is the initial Family Trustee of all trusts
              created hereunder. If Jim ceases to act as Family Trustee, or if any successor
              Family Trustee fails or ceases to act, Jim may appoint a successor Family Trustee
              within thirty (30) days of a vacancy arising. If Jim is deceased or if Jim otherwise
              fails to appoint a successor, GRANT JAMES SCOTT, III is appointed as
              successor Family Trustee. If GRANT JAMES SCOTT, III fails or ceases to act as
              Family Trustee, or if any other Family Trustee fails or ceases to act, and a
              successor is not appointed by Jim as provided above, JOHN WILLIAM HONIS is
              appointed as successor Family Trustee. If JOHN WILLIAM HONIS fails or
              ceases to act as Family Trustee, and a successor is not appointed by Jim as
              provided above, the Family Trustee last serving shall appoint a successor Family
              Trustee. If a successor Family Trustee is not appointed within sixty (60) days of a
              vacancy arising, the successor Family Trustee shall be appointed pursuant to the
              provisions of subsection (b) hereof.

                       (ii)   Independent Trustee. GRANT JAMES SCOTT, III is appointed as
              the initial Independent Trustee and shall begin serving as such upon delivery of a
              written acknowledged instrument to the Family Trustee wherein GRANT JAMES
              SCOTT, III accepts the trust and the position of Independent Trustee. If GRANT
              JAMES SCOTT, III, fails or ceases to act, or if any other Independent Trustee
              fails or ceases to act, Jim may appoint a successor within thirty days (30) of the
              vacancy arising; provided that Jim shall not serve as Independent Trustee and a
              successor Independent Trustee appointed by Jim may not be related or
              subordinate to Jim within the meaning of Section 672(c) of the Code. If a
              successor is not so appointed, JOHN WILLIAM HONIS is appointed Independent
              Trustee. If JOHN WILLIAM HONIS fails or ceases to act as Independent
              Trustee, and a successor is not appointed by Jim as provided above, the
              Independent Trustee last serving may appoint the successor Independent Trustee.
              If a successor Independent Trustee is not so appointed within sixty (60) days of a
              vacancy arising, a successor Independent Trustee shall be appointed pursuant to
              the provisions of subsection (b) hereof.

                     (iii)   Administrative     Trustee.       COMMONWEALTH TRUST
              COMPANY is the initial Administrative Trustee. If COMMONWEALTH
              TRUST COMPANY fails or ceases to serve, Jim may appoint a successor
              Administrative Trustee within thirty days (30) of the vacancy arising. If a
              successor is not so appointed, the Family Trustee may appoint a successor
              Administrative Trustee within sixty (60) days of the vacancy arising. If a
              successor is not so appointed, a successor shall be appointed in the same manner
              as provided for the Family Trustee under subsection (a) above. The selection of
              the Administrative Trustee can have a substantial impact on the situs of the trust,
              which should be considered in appointing a successor Administrative Trustee.


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             Notwithstanding any other provision in the Trust Agreement to the contrary, no
             Administrative Trustee may be appointed under this paragraph if the appointment
             of such Administrative Trustee would change the situs of the trust to a jurisdiction
             that has a rule against perpetuities or similar rule which limits the period during
             which property can be held in trust

                     The Administrative Trustee shall act in a fiduciary capacity but shall not be a
             Trustee or co-Trustee except to the extent and for the limited purposes described in
             Section 6.2. Accordingly, no reference in this Trust Agreement to the "Trustee" or
             "co-Trustee" shall include, or be deemed to refer to, the Administrative Trustee.
             Notwithstanding the foregoing, the same individual or bank or trust company may
             serve simultaneously as both a Trustee or co-Trustee and as Administrative Trustee
             for any trust created hereunder. The initial Administrative Trustee and each
             successor may resign at any time and may be removed at any time by the Family
             Trustee.

                     For services rendered as Administrative Trustee under this Agreement,
              any Administrative Trustee shall be entitled to reasonable compensation for his,
              her or its services, as well as be entitled to reimburseme nt for all expenses
              reasonably incurred in performing his, her or its duties hereunder. Any
              Administrative Trustee may receive (or retain) payment in accordance with its
              schedule or rates as published from time to time and as in effect at the time such
              compensation becomes payable, unless otherwise agreed in writing with the
              Family Trustee.

                     No termination fee shall be charged upon removal or resignation of an
              Administrative Trustee. However, such Administrative Trustee shall be entitled
              to reasonable compensation for time and materials for additional services over
              and above Administrative Trustee's normal duties in transferring trust assets and
              administration of the trust to the new Administrative Trustee.

               (b)    Successor Trustee. If a named or appointed successor Trustee fails or
       ceases to serve and no other successor is named or appointed pursuant to subsection (a)
       hereof, a majority in number of the beneficiaries to whom the Trustee is to or may
       distribute income at that time may appoint the successor Trustee, and each shall have a
       reasonable time in which to act. If a successor Trustee is not so appointed, any
       beneficiary of a trust may secure the appointment of a successor Trustee by a court of
       competent jurisdiction at the expense of the trust estate.

               (c)     Manner of Appointment; Permissible Trustees. Appointment, other than
       by a court, shall be by a signed, acknowledged instrument delivered to the appointed
       Trustee. An appointment may be made before a vacancy arises, to become effective in
       the event of the vacancy with the last such instrument to control. The successor Trustee
       appointed by Jim or a Trustee may be one or more persons and/or entities; provided that
       neither Settlor nor Jim shall serve as Independent Trustee and a successor Independent
       Trustee appointed by Jim may not be related or subordinate to Jim within the meaning of


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        Section 672(c) of the Code. Any other successor Trustee shall be a trust company or a
        bank in the United States having trust powers with not less than Fifty Million Dollars
        unimpaired capital and surplus. A successor Trustee shall have a reasonable time after a
        vacancy occurs in which to accept the office by signed, acknowledged instrument
        delivered to those making the appointment, if living, or to the then current beneficiaries
        to whom the Trustees are to or may make distributions.

         5.3    Removal of Trustee. Jim shall have the power to remove the Trustee of any trust
 created hereunder, without cause. If Jim is deceased or if Jim is incapacitated within the
 meaning of Section 5.11 hereof, the primary beneficiary (or, if more than one, a majority of the
 primary beneficiaries) of a trust may remove any Trustee without cause. Removal shall be
 effected by delivering to the Trustee a signed acknowledged instrument which is effective thirty
 (30) days from its receipt (unless a shorter period is agreed to by the Trustee).

         5 .4   Succession of Corporate Trustee. If any corporate Trustee before or after
 qualification changes its name, becomes consolidated or merged with another corporation, or
 otherwise reorganizes, any resulting corporation which succeeds to the fiduciary business of such
 corporate Trustee shall become a Trustee hereunder in lieu of such corporate Trustee.

        5.5      Trustee's Fees. Jim and Jim's Descendants shall not receive a fee for serving as
 Trustee. Any other Trustee shall be entitled to reasonable fees commensurate with its duties and
 responsibilities, taking into account the value and nature of the trust estate and the time and work
 involved. The Trustee shall be reimbursed for reasonable costs and expenses incurred in
 connection with its fiduciary duties hereunder.

        5.6     Bond. The Trustee shall not be required to furnish bond or other security.

        5.7     Liability of Trustee.

                (a)    Generally. A Trustee other than a corporate trustee shall only be liable for
        willful misconduct or gross negligence, and shall not be liable for breach of fiduciary
        duty by virtue of mistake or error in judgment.

                (b)     Administrative Trustee. Every act ·done, power exercised or obligation
        assumed by the Administrative Trustee pursuant to the provisions of this Agreement shall
        be held to be done, exercised or assumed, as the case may be, by the Administrative
        Trustee acting in a fiduciary capacity and not otherwise, and every person, firm,
        corporation or other entity contracting or otherwise dealing with the Administrative
        Trustee shall look only to the funds and property of the trust fund for payment under such
        contract or payment of any money that may become due or payable under any obligation
        arising under this Agreement, in whole or in part, and the Administrative Trustee shall
        not be individually liable therefor even though the Administrative Trustee did not exempt
        himself, herself or itself from individual liability when entering into any contract,
        obligation or transaction in connection with or growing out of the trust fund.

               The decision of the Administrative Trustee hereunder with respect to the exercise
        or nonexercise by such Administrative Trustee of any power hereunder, or the time or


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       manner of the exercise thereof, made in good faith, shall fully protect such
       Administrative Trustee and shall be final, conclusive and binding upon all persons
       interested in the Trust or the income therefrom. To the extent permitted under applicable
       law, the Administrative Trustee acting hereunder shall not be responsible for any error of
       judgment or mistake of fact or law, absent bad faith or willful misconduct.

               The Administrative Trustee shall be liable hereunder only for the Administrative
       Trustee's bad faith or willful misconduct proved by clear and convincing evidence in the
       court then having primary jurisdiction over the trust. The Administrative Trustee shall
       not be personally liable for making any delegation that is authorized under this
       Agreement, nor for any action taken without the Administrative Trustee's express
       agreement, nor for any failure to act absent willful misconduct. The Administrative
       Trustee shall not be liable for relying absolutely on (i) any apparently valid documents
       and certifications including, but not limited to, tax reports and other tax information
       provided to the Administrative Trustee by any entity in which the trust fund holds an
       ownership interest; and (ii) the opinions of counsel or any accountant to any trust.

              Prior to the death of Settlor, the Administrative Trustee shall be under no duty to
       inform any person having a beneficial interest in any trust created hereunder of the
       existence of any such trust or the nature and extent of that person's beneficial interest in,
       or rights with respect to, any such trust. Following the death of Settlor, the
       Administrative Trustee shall be under no duty to inform any person, other than the
       primary beneficiary of each trust hereunder, having a beneficial interest in any trust
       created hereunder of the existence of such.trust or the nature and extent of that person's
       beneficial interest in, or rights with respect to, any such trust.

               While not required, the same procedure used to settle the Administrative Trustee's
       accounts may also be employed to obtain the conclusive consent by the beneficiaries to
       the Administrative Trustee's specific conduct of any other particular matter. The
       Administrative Trustee and each former Administrative Trustee shall be indemnified and
       held harmless by each trust created hereunder against any threatened, pending or
       completed action, claim, demand, suit or proceeding, whether civil, criminal,
       administrative or investigative, falling within the exculpatory provisions of this Section
       or to which the Administrative Trustee is made a party, or threatened to be made a party,
       by reason of serving as Administrative Trustee if the Administrative Trustee acted in
       good faith, subject to the limitations set forth above. Such indemnification shall include
       expenses, including attorneys' fees, judgments, fines and amounts paid in settlement
       actually incurred by the Administrative Trustee in connection with such action, claim,
       demand, suit or proceeding. The cost of indemnification shall be apportioned against the
       various trusts created hereunder as the Administrative Trustee reasonably considers
       appropriate, taking into account the nature of the claims involved.

              The Administrative Trustee shall not have any fiduciary responsibility to observe,
       monitor or evaluate the actions of any Trustee or other fiduciary and shall not be liable to
       any party for the failure to seek to attempt to prevent a breach of trust, or failure to
       remedy a breach of trust, or in a recurring situation to request instructions from a court


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        having jurisdiction over the trust. In no event shall any Administrative Trustee hereunder
        be liable for any matter with respect to which he, she or it is not authorized to participate
        hereunder (including the duty to review or monitor trust investments).

                Any Successor Administrative Trustee shall be deemed vested with all the duties,
        rights, titles and powers, whether discretionary or otherwise, as if originally named as
        Administrative Trustee. No Successor Administrative Trustee shall be personally liable
        for any act or failure to act of any predecessor Administrative Trustee or any other
        Trustee. The Successor Administrative Trustee may accept the account rendered and the
        property delivered by the predecessor Administrative Trustee as a full and complete
        discharge to the predecessor Administrative Trustee, without incurring any liability for so
        doing.

        5.8    Predecessor Fiduciary. No successor Trustee shall be obligated or required to
inquire into the acts, omissions, or accounts of any prior trustee or to bring any action against
any prior trustee to compel redress of any breach of trust or for any other reason. In no event
shall a successor Trustee be liable for any act or omission of any prior Trustee. A successor
Trustee may accept the account rendered and the property received from a prior Trustee as a full
and complete discharge to the prior Trustee without incurring any liability for doing so. A
successor Trustee shall have all of the powers and discretions conferred in the governing
instrument upon the original trustee.

        5.9      Periodic Accounting. The Trustee may from time to time render an informal
 account, statement or report of its administration of each separate trust hereunder to each
 beneficiary who during the period covered by the account was entitled absolutely to a current
 payment of income or principal from the trust, or, if there is no such beneficiary, to such
 beneficiaries who are entitled absolutely or in the discretion of the Trustee to a payment of
 income or principal from the trust. If any beneficiary or legal representative or parent of a
 beneficiary who is not of full age or legal capacity to whom any such account is rendered shall
 not, within ninety (90) days after the mailing of such statement, have notified the Trustee in
 writing of its disapproval of the same, such statement shall be deemed to be approved

        No Administrative Trustee shall be required to file or render periodic accounts in or to
 any court other than for good cause shown. No Administrative Trustee shall be required to give
 any bond.

         Within 90 days following the close of each calendar year, if information is available, and
 if not within 30 days after it is delivered to the Administrative Trustee, and within 90 days after
 the removal or resignation of the Administrative Trustee, the Administrative Trustee may deliver
 an accounting to each primary beneficiary. The accounting shall be a written accounting of the
 trusts hereunder during such year or during the period from the close of the last preceding year to
 the date of such removal or resignation and shall set forth all investments, receipts, distributions,
 expenses and other transactions of each such trust and show all cash, securities, and other
 property held as a part of each such trust at the end of such year or as of the date of such removal
 or resignation, as the case may be. The accountings referred to in this Section shall be deemed to
 be an account stated, accepted and approved by all of the beneficiaries of each trust for which an


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accounting is rendered, and the Administrative Trustee shall be relieved and discharged, as if
such accounting had been settled and allowed by a final judgment or decree of a court of
competent jurisdiction, unless protested by written notice to the Administrative Trustee, within
60 days of mailing thereof, by the person designated to receive such accounting. The
Administrative Trustee shall have the right, at the expense of the trust, to apply at any time to a
court of competent jurisdiction for judicial settlement of any account of the Administrative
Trustee whether or not previously settled as herein provided or for the determination of any
question of construction or for instructions. In any such action or proceeding it shall be
necessary to join as parties solely the Administrative Trustee and the Settlor (although the
Administrative Trustee may also join such other parties as it may deem appropriate), and any
judgment or decree entered therein shall be conclusive and binding on all persons at any time
interested in the trust.

         5.10 Beneficiary under Disability. A parent, custodian, or guardian of any beneficiary
 who is under the disability of minority or, in the Trustee's opinion, any other legal, physical, or
 mental disability, may, in carrying out the provisions of this Trust Agreement, act and receive
 notice in the beneficiary's stead, and sign any instrument for the beneficiary.

         5.11 Incapacity of Individual Trustee. In the event a Trustee other than a corporate
 Trustee becomes unable to discharge his duties as Trustee hereunder by reason of accident,
 physical or mental illness or deterioration, or other cause, and does not resign, then upon
 certification by two medical doctors affirming that each has examined the Trustee and that each
 has concluded, based on such examination, that he is unable to discharge his duties hereunder,
 the Trustee shall cease to serve, as ifhe had resigned, effective the date of the certification.

                                           ARTICLE VI

                                   TRUST ADMINISTRATION

        6.1     General Powers. Subject to any limitation stated elsewhere in this Trust
 Agreement, and the division of powers contained in Section 6.2, the Trustee shall have, in
 addition to all powers granted to trustees by the common law and by Delaware statutes, as
 amended from time to time, the following powers with respect to each trust established
 hereunder:

               (a)    Retain Property. To retain any property received from any source,
        including any corporate Trustee's securities, regardless of lack of diversification, risk, or
        nonproductivity.

                (b)     Invest. To invest the trust estate in any kind of property, including
        common trust funds administered by a corporate Trustee or by others, without being
        limited by any statute or any rule of law dealing with the character, risk, productivity,
        diversification of, or otherwise concerning, investments by trustees.

                (c)     Sell. By public offering or private negotiation, to sell, exchange, assign,
        transfer, or otherwise dispose of all or any real or personal trust property and give options



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       for these purposes, for such price and on such terms, with such covenants of warranty and
       such security for deferred payment as the Trustee deems proper. To partition between the
       trust and any other owner, as the Trustee deems proper, any property in which the trust
       owns an undivided interest.

              (d)      Lease. To lease trust property for terms within or extending beyond the
       term of the trust, for any purpose.

               (e)    Real Estate. To operate, maintain, repair, rehabilitate, alter, erect,
       improve, or remove any improvements on real estate; to subdivide real estate; to grant
       easements, give consents, and enter into contracts relating to real estate or its use; and to
       release or dedicate any interest in real estate.

              (f)    Borrow. To borrow money for any purpose either from the banking
       department of any corporate Trustee or from others; to encumber or hypothecate trust
       property by mortgage, deed of trust, or otherwise; and to maintain, renew, or extend any
       indebtedness upon such terms as the Trustee deems appropriate.

              (g)     Loans. To lend money to any person or entity, including, but not limited
       to, a beneficiary hereunder, but not including a Settlor or a Trustee (other than a
       beneficiary serving as Trustee) hereunder, or a spouse of theirs, upon such terms and with
       such security as the Trustee deems advisable.

              (h)     Conserve Estate. To take any action to conserve the trust estate.

                (i)     Litigation. To commence or defend at the expense of the trust such
       litigation  with respect to the trust estate as the Trustee deems advisable.

               G)     Claims. To collect, pay, contest, compromise, settle, renew, or abandon
       any claims or demands of or against the trust estate without court authority on whatever
       terms the Trustee deems advisable.

               (k)      Abandon Property. To abandon any property or interest in property
       belonging to the trust when, in the Trustee's discretion, such abandonment is in the best
       interest of the trust and its beneficiaries.

                (1)     Documents.      To execute contracts, notes, conveyances, and other
       instruments containing covenants, representations, or warranties binding upon and
       creating a charge against the trust estate or containing provisions excluding personal
       liability, or any other written instrument of any character appropriate to any of the powers
       or duties conferred upon the Trustee.

               (m)     Agents. To employ attorneys, auditors, investment advisors, depositaries,
       and agents with or without discretionary powers, to employ a bank with trust powers as
       agent for the purpose of performing any ministerial duties incident to the administration,
       and to pay all expenses and fees so incurred.



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               (n)    Securities.    To engage in all actions necessary to the effective
       administration of securities including, but not limited to, the authority to: vote securities
       in person or by proxy; engage in a voting trust or voting agreement; and consent to or
       participate in mergers, consolidations, sales of assets, recapitalizations, reorganizations,
       dissolutions, or other alterations of corporate structure affecting securities held in the
       trust.

             (o)      Nominee. To hold securities and other property in bearer form or in the
       name of a trustee or nominee with or without disclosure of any fiduciary relationship.

                (p)     Additional Property. To receive additional property from any source and
       add it to the trust estate.

               (q)    Insurance. To carry insurance of such kinds and in such amounts as the
       Trustee deems advisable, except for insurance on the life of a Settler, the Trustee, or a
       spouse of theirs. The Trustee shall not apply trust property to the payment of premiums
       on an insurance policy on the life of Settler, the Trustee, or a spouse of theirs.

              (r)     Business Powers.

                      (i)     In General. To engage in any lawful business including, but not
              limited to, the power to continue at the risk of the trust estate the operation of any
              business which may become a part of the trust estate, and to sell, liquidate, or
              otherwise terminate any business interest, including, but not limited to, the
              fulfillment of any agreement for the disposition of any such business interest.

                     (ii)    Closely Held Businesses. This trust may be funded with, or
              subsequently purchase or otherwise acquire, securities or other financial interests
              in one or more closely held businesses (each of which is hereinafter referred to as
              the "business").

                               (1)    Exoneration from Liability. It is realized that the business
                      may not be the type of investment in which fiduciaries would normally
                      invest estate or trust funds. Nonetheless, the Trustees shall incur no
                      liability for any loss which may be sustained by reason of the retention,
                      operation or sale of the business or the exercise of any power conferred
                      upon the Trustees with respect to the business.

                              (2)     Management Powers. The Family Trustee shall have the
                      exclusive duty to deal with and manage the business. In addition to any
                      power granted by law or elsewhere in this document, the Family Trustee
                      shall have the following powers:

                                      (A)    To retain and continue the business or any interest
                              therein for such time as the Family Trustee considers advisable;




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                                     (B)    To operate or participate in the operation of the
                             business in the form of a corporation, limited liability company,
                             partnership or proprietorship;

                                     (C)     To direct, control, supervise, manage, operate or
                             participate in the operation of the business; to serve as an officer
                             and director of the business; and to receive from the business
                             compensation for his services in addition to his compensation as a
                             Family Trustee;

                                    (D)    To delegate all or any part of his power to
                             supervise, manage or operate the business to such persons as he
                             may select, including any director, officer or employee of the
                             business;

                                    (E)   To engage, compensate and discharge such
                             managers, employees, agents, attorneys, accountants, consultants
                             or other representatives as he considers advisable, including
                             anyone who may be a beneficiary or fiduciary of this Trust;

                                     (F)     To invest or employ in the business, or to use as
                             collateral for loans to the business, such other estate or trust funds
                             as he considers advisable;

                                     (G)     To sell, liquidate or otherwise dispose of all or any
                             part of the business at such time or times, for such prices and upon
                             such terms and conditions as he considers advisable, and to sell the
                             business to anyone who is a beneficiary or a fiduciary of this
                             Trust; and

                             (3)    Exclusion from Powers. Neither Commonwealth Trust
                      Company nor any successor Administrative Trustee shall have any power,
                      duty and/or responsibility in connection with the operation, control,
                      supervision, management and participation of the business.

               (s)     Income and Principal. To determine, in accordance with the provisions of
       Delaware law, what constitutes income and principal of the trust estate, the manner in
       which expenses and other charges shall be allocated between these accounts, and whether
       or not to establish reserves for depreciation or depletion, and to add undistributed income
       to principal.

              (t)     Tax Elections. To exercise any tax option or election permitted by law as
       the Trustee determines, in its sole discretion, even though the effect is to treat
       beneficiaries hereunder differently, or to favor some at the expense of others. The
       Trustee may, but need not, make such compensating adjustments among beneficiaries
       with respect thereof as it deems appropriate considering the nature of the tax election and
       the amounts involved.

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               (u)     Reliance. To rely upon any notice, certificate, affidavit, or other
       document or evidence believed by the Trustee to be genuine and accurate, in making any
       payment or distribution. The Trustee shall incur no liability for a disbursement or
       distribution made in good faith and without actual notice or knowledge of a changed
       condition or status affecting any person's interest in the trust or any other matter.

               (v)    Commingling. To commingle and invest as one fund, or make joint
       investments with, the principal of two or more separate trusts established hereunder, with
       each trust having an undivided interest therein.

               (w)     Division and Distribution. To make all allocations, distributions, or
       divisions contemplated by this Trust Agreement; to allocate, distribute and divide
       different kinds or disproportionate shares of property or undivided interests in property
       among the beneficiaries or trusts, in cash or in kind, or both, without regard to the income
       tax basis of specific property allocated to any beneficiary or trust, even though shares
       may as a result be composed differently, and to determine the value of any property so
       allocated, divided or distributed.

               (x)     Withholding of Distribution. To withhold from distribution all or any part
       of the trust property as long as the Trustee, in its discretion, determines that such property
       may be subject to conflicting claims, to tax deficiencies, or to liabilities, contingent or
       otherwise, properly incurred in the administration of the trust.

                (y)    Mineral Powers. To retain or acquire interests in oil, gas, or other mineral
       resources; to execute as to those interests any agreements, assignments, contracts, deeds,
       grants or leases for any term (even though the term may extend beyond the termination of
       the trust); to manage, control, operate, explore, mine, develop, or take any action for the
       production, recovery, sale, treatment, storage, or transportation of any such interest; to
       drill, rework, or recomplete wells of any type; to conduct or participate in secondary
       recovery operations; to enter into agreements for pooling or unitization; and to install,
       operate, or participate in the operation of any plant, mine, or other facility.

                (z)      Environmental Hazards. To use and expend the trust income and principal
       to (i) take all appropriate action to prevent, identify, or respond to actual or threatened
       violations of any environmental law or regulation for which the Trustee may have
       responsibility, including the authority to conduct environmental assessments, audits, and
       site monitoring to determine compliance with any environmental law or regulation;
       (ii) take all appropriate remedial action to contain, cleanup, or remove any environmental
       hazard including a spill, release, discharge, or contamination, either on its own accord or
       in response to an actual or threatened violation of any environmental law or regulation;
       (iii) institute legal proceedings concerning environmental hazards or contest or settle
       legal proceedings brought by · any local, state, or federal agency concerned with
       environmental compliance, or by a private litigant; and (iv) comply with any local, state,
       or federal agency order or court order directing an assessment, abatement, or cleanup of
       any environmental hazards.



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               (aa)    Miscellaneous Powers. Generally to do and perform any and all acts,
       things, or deeds which, in the discretion of the Trustee, may be necessary or proper for
       the protection, preservation, and promotion of the trust properties and estate.

         6.2    Division of Powers. The powers and duties granted under this Trust Agreement
 shall be divided among the Trustees as follows:

               (a)     Administrative Trustee. The Administrative Trustee shall have the
       following   exclusive duties, which shall all be carried out in the State of Delaware or such
       other jurisdiction as the Trustee shall, from time to time, select as the situs of the trust:

                     (i)    To maintain bank accounts, brokerage accounts and other custody
              accounts which receive trust income and contributions and from which trust
              expenditures and distributions are disbursed.

                     (ii)     To maintain storage of tangible personalty and evidence of
              intangible trust property.

                      (iii)   To maintain trust records.

                     (iv)     To maintain an office for Trustee meetings and other trust
              business.

                      (v)     To originate, facilitate and review trust accountings, reports and
              other communications with the Settlor, any co-Trustees, beneficiaries and
              unrelated third parties.

                     (vi)    To respond to inquiries concerning the trust from the Settlor, any
              co-Trustees, beneficiaries and unrelated third parties.

                      (vii)   To execute documents with respect to trust account transactions.

                     (viii) To retain accountants, attorneys, investment counsel, agents and
              other advisers in connection with the performance of its duties under this Section
              6.2.

             (b)   Independent Trustee. The Independent Trustee shall have all of the
       powers and duties specifically assigned to the Independent Trustee under this Trust
       Agreement. These powers may only be exercised by the Independent Trustee.

              (c)     Family Trustee. The Family Trustee shall possess and exercise all of the
       powers and duties of the Trustee not specifically granted to the Administrative Trustee or
       the Independent Trustee under this Trust Agreement, including those specifically
       assigned to the Family Trustee. Without limiting the generality of the foregoing, the
       Family Trustee shall exercise all Trustee authority and have all Trustee responsibility
       with respect to the investment of the trust estate. If there is no Family Trustee serving,



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        however, all of the powers and duties of the Trustee, including those assigned to the
        Family Trustee, shall be exercised and discharged by the Independent Trustee.

         6.3    Merger of Trusts. If at any time a Trustee of any trust created pursuant to this
Trust Agreement shall also be acting as Trustee of any other trust created by trust instrument or
by will for the benefit of the same beneficiary or beneficiaries and upon substantially the same
terms and conditions, the Trustee is authorized and empowered, if in the Trustee's discretion
such action is in the best interest of the beneficiary or beneficiaries of the trust created hereunder,
to transfer and merge all of the assets then held under such trust created pursuant to this Trust
Agreement to and with such other trust and thereupon and thereby to terminate the trust created
pursuant to this Trust Agreement. The Trustee is further authorized to accept the assets of the
other trust which may be transferred to the Trustee of the trust created hereunder and to
administer and distribute such assets and properties so transferred in accordance with the
provisions of this Trust Agreement. If the component trusts differ as to contingent beneficiaries
and the contingency occurs, the funds may be distributed in such shares as the Trustee, in the
Trustee's sole discretion, shall deem necessary to create a fair ratio between the various sets of
remaindermen. If any trust created in this Trust Agreement is merged with any trust created
under any other instrument, such merged trust shall not continue beyond the date on which the
earliest maximum term of the trusts so merged would, without regard to such merger, have been
required to expire. Settler further directs that, as to any property at any time a part of any trust
estate (including ·a ·merged trust) as to which under the laws of any state applicable to said
property that trust is required to be terminated at any time prior to its normal termination date,
the trust as to that particular property shall terminate at the time required by the laws of said
state.

        6.4    Certain Powers and Rights Limited. Settler intends that the trust created under
Section 3 .1 hereof shall not be included in Jim's gross estate for estate tax purposes unless the
Independent Trustee grants Jim a general power of appointment pursuant to paragraph 3.l(d).
All issues applicable to the trust shall be resolved accordingly.

        6.5     GST Inclusion Ratio. If property not having an inclusion ratio for purposes of the
generation-skipping transfer tax equal to zero is directed to be added to a trust which has an
inclusion ratio equal to zero, the Trustee may decline to make the addition and may, instead,
administer the property as a separate trust with provisions identical to the trust having an
inclusion ratio equal to zero. If property having an inclusion ratio for purposes of the
generation-skipping transfer tax equal to zero is directed to be added to a trust which has an
inclusion ratio not equal to zero, the Trustee may decline to make the addition and may, instead,
administer the property as a separate trust with provisions identical to the trust having an
inclusion ratio not equal to zero.

        6.6     Out-of-State Properties. If any trust property is situated in a jurisdiction in which
the Trustee is unable or unwilling to act, the Trustee may appoint an ancillary trustee for such
jurisdiction and may confer upon the ancillary trustee such powers and discretions, exercisable
without court order, to act with respect to such property as the Trustee deems proper. The
ancillary trustee shall be responsible to the Trustee for all property it administers. The Trustee



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 may pay the ancillary trustee reasonable compensation for its services and may absolve it from
 any requirement to furnish bond or other security.

         6. 7    Management of Real Property. The Family Trustee (or the Independent Trustee
 pursuant to Section 6.2(c) hereof), acting alone, shall make any and all decisions regarding: (i)
 the acquisition, retention and disposal of real estate; (ii) the operation, maintenance, repair,
 rehabilitation, alteration, construction, erection, improvement, or removal of any improvements
 on real estate; (iii) the subdivision of real estate; (iv) the granting of easements, giving of
 consents, and entering into contracts relating to real estate or its use; (v) the release or dedication
 of any interest in real estate; and (vi) the payment of taxes, utilities, and maintenance expenses
 attributable to real estate owned by any trust created hereunder. The Family Trustee (or the
 Independent Trustee pursuant to Section 6.2(c) hereof) may, in its discretion, either exercise such
 powers or appoint an ancillary trustee to exercise such powers. The Trustee may pay the
 ancillary trustee reasonable compensation for its services and may absolve it from any
 requirement to furnish bond or other security.

         6.8     No Court Supervision. The Trustee shall not be required to qualify before or be
 appointed by any court; nor shall the Trustee be required to obtain the order or approval of any
 court in the exercise of any power or discretion.

         6.9    Division of Trusts. The Trustee may divide any trust established by this Trust
 Agreement into two or more separate trusts as provided in this section. Settler exonerates the
 Trustee from any liability arising from the exercise or failure to exercise any powers granted
 herein, provided the Trustee acts in good faith.

                (a)     Division and Funding of Separate Trusts. The• Trustee may divide any
        trust established by this Trust Agreement, at any time, into two or more separate trusts so
        that the generation-skipping transfer tax inclusion ratio as defined in Section 2642(a) of
        the Code for each trust shall be either zero or one. Any such division shall be
        accomplished in accordance with applicable regulations under Chapter 13 of the Code.

                 (b)      Administration of Separate Trusts. Such separate trusts shall have the
         identical provisions as the original trust. However, with respect to each separate trust, the
         Trustee may: (1) make different tax elections, (2) expend principal and exercise any
         other discretionary powers with respect to such separate trusts differently, (3) invest such
         separate trusts differently, and (4) take all other actions consistent with such trusts being
         separate trusts.

                (c)     Powers of Appointment. The donee of any power of appointment with
        respect to a trust so divided may exercise such power of appointment differently with
        respect to the separate trusts created by the division.

         6.10 Limitation of Powers. The following limitations, affecting the administration of
 the trusts created hereunder, apply notwithstanding any other provision of this Trust Agreement.
 For purposes of this Section 6.10, the term "Settler" shall include any individual who contributes
 property to the Trustee to be added to the trust estate.


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                (a)      Support Duty. Distributions from the trust estate shall not be made which
        discharge, in whole or in part, the personal legal obligations of a Settlor or a Trustee from
        time to time existing, to support or educate any of the trust beneficiaries. When
        determining these legal obligations, the existence of this trust and funds made available
        by it shall not be taken into consideration.

               (b)     Adequacy of Consideration. No party may, through purchase, exchange,
        or otherwise, deal with or dispose of the corpus or the income of the trust estate for less
        than adequate consideration in money or money's worth.

              (c)    Insurance. The Trustee shall not apply trust property to the payment of
        premiums on an insurance policy on the life of a Settlor, the Trustee or a spouse of either
        ofthem.

              (d)      Borrow. The Trustee shall not allow a Settlor to borrow trust principal or
        income, directly or indirectly, without adequate interest or security.

               (e)    Substitute Property. The Trustee shall not allow a Settlor to reacquire or
        exchange any property of the trust estate by substituting other property with an equivalent
        value.

                (f)     Vote. A Settlor, acting as a Trustee, shall not be entitled to vote, directly
        or indirectly, shares of stock of a controlled corporation, as defined under Section 2036 of
        the Code, which is held as part of the trust estate.

         6.11 Dealing with Fiduciaries. The Trustee may enter into any transaction with the
 Trustee or beneficiaries of the trusts created hereunder, acting in their individual or in another
 fiduciary capacity, or with any person or entity related to the Trustee or a beneficiary in any
 manner, if such transaction is otherwise authorized under this Trust Agreement. Without
 limiting the generality of the foregoing authorization, the Trustee may enter into any transaction
 otherwise authorized hereunder on behalf of any trust created hereunder even though the other
 party to the transaction is: a trust of which a beneficiary or Trustee under this Trust Agreement
 is a beneficiary or trustee, including, but not limited to, any trust established by this Trust
 Agreement; an estate of which a beneficiary or Trustee under this Trust Agreement is a
 representative or beneficiary; or a business or charitable corporation of which a beneficiary or
 Trustee under this Trust Agreement is a director, officer, employee, or owner.

                                           ARTICLE VII

                                       IRREVOCABILITY

        This Trust Agreement and each of its provisions may not be revoked, amended, or
 modified.




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                                           ARTICLE VIII

                                MISCELLANEOUS PROVISIONS

        8.1     Applicable Law. The trust created under this Trust Agreement shall be deemed a
Delaware trust and all matters pertaining to the validity, construction, and application of this
Trust Agreement or to the administration of the trust created hereunder shall, in all respects, be
governed by the laws of the State of Delaware. However, if the Trustee, in its sole discretion,
determines that a change of situs would be beneficial to the purposes of the trust established by
this Trust Agreement, the Trustee shall have the discretion and authority to change the situs of
any such trust to another state. No change of situs shall be authorized herein, however, which
would result in a termination of the trust for federal tax purposes. Furthermore, the Trustee shall
not be entitled to change the situs of the trust to a jurisdiction that has a rule against perpetuities
or similar rule which limits the period during which property can be held in trust. Any
proceeding involving the Trust must be brought in the State of Delaware for so long as the situs
of the Trust shall be the State of Delaware.

         8.2    Perpetuities Provision. The trust created hereunder shall be perpetual to the
fullest extent permitted by Delaware law. If the trust created hereunder is deemed to be subject
to the law of a jurisdiction that has a rule against perpetuities or similar rule which limits the
period during which property can be held in trust, then such trust shall terminate in all events
upon the expiration of the longest period the property may be held in trust under this Agreement
under the law of such jurisdiction (including any application periods in gross, such as 110 years,
360 years, or 1,000 years); provided, however, that if the jurisdiction has a rule against
perpetuities or similar rule which applies only to certain types of property, such as real property,
the provisions of this Section shall apply only to such property. If under the law of such
jurisdiction the longest period that property may be held in trust is determined with reference to
the death of the last survivor of a group of individuals in being upon the date of this Trust
Agreement, those individuals shall consist of Jim and Jim's Descendants who are in being on the
date of this Trust Agreement. Upon termination of a trust pursuant to the provisions of this
Section 8.2, the Trustee shall distribute such trust to its income beneficiaries determined at the
time of distribution. If at that time rights to income are not fixed by the terms of the trust,
distribution shall be made to the persons to whom the Trustee may then distribute income, in
proportions determined in the Trustee's discretion, exercised consistently with the trust's
purposes.

        In the event any trust created hereunder owns real property, and if such real property is
subject to a rule against perpetuities or similar rule which limits the period during which property
can be held in trust, then the Trustee shall take such action as is necessary to avoid termination of
the trust with respect to that real property interest including, without limitation, selling the real
property or contributing the real property to a business entity in exchange for ownership interests
in such entity to be owned by the trust.

        8.3   Gestation. A child in gestation who is born alive shall be considered a child in
being throughout the period of gestation.



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        8.4  Survivorship. Any person must survive by thirty (30) days for a gift made in this
Trust Agreement which directly or indirectly requires such person's survival of another to be
effective.

         8.5     Release of Powers and Interests. Any person, including a beneficiary and a
Trustee, shall have the power to disclaim, release, or restrict, irrevocably, in whole or in part, any
interest, right, power, or discretion granted to such person with respect to any trust by signed
instrument delivered to the Trustee, or in any other manner permitted by law. Any person
designated or appointed as a Trustee may, prior to accepting the trust, by written instrument
decline to accept any right, power, or discretion with respect to the trust and may accept the trust
without such right, power, or discretion.

       8.6     Powers of Appointment.

              (a)      Capacity in Which Exercisable. Every power of appointment granted to a
       beneficiary under this Trust Agreement is exercisable by that beneficiary in the
       beneficiary's individual capacity, notwithstanding the fact that the beneficiary may also
       be serving as a Trustee of the trust.

                (b)     Manner of Appointment. Every power of appointment granted herein:
       (i) shall be personal to the donee of such power and may not be exercised on behalf of the
       donee by any other person, including an attorney-in-fact, a guardian, or any other court
       appointed representative, and (ii) may be exercised in whole or in part and in favor of one
       or more potential beneficiaries to the exclusion of others. Appointment may be outright
       or in further trust, with all provisions determined by the donee of the power, and may
       confer a power of appointment upon the beneficiary or others, if within the constraints
       imposed by any applicable rule against perpetuities and any other law which is applicable
       to the appointment.

              (c)      Exercise of Inter Vivos Power. An inter vivos power of appointment
       granted in this Trust Agreement may be exercised only by a written instrument, executed
       and acknowledged by the donee and delivered to the Trustee during the donee's lifetime,
       which specifically refers to the power of appointment and expresses the intention to
       exercise it. If no such instrument is delivered to the Trustee during the donee's lifetime,
       upon the donee's death the Trustee may distribute the property subject to the power in the
       manner provided in this Trust Agreement for distribution in default of exercise.

               (d)     Determination of the Exercise of a Testamentary Power. The Trustee may
       rely upon any instrument admitted to probate as a will or codicil in determining whether a
       testamentary power of appointment granted herein has been exercised. If no will or
       codicil is brought to the Trustee's attention within ninety (90) days of a death to indicate
       the exercise of a testamentary power, the Trustee may distribute the property subject to
       the power according to the terms herein provided for distribution in default of exercise.
       The Trustee will be protected from liability for its actions as authorized in this
       subsection (d), but this subsection does not affect a beneficiary's rights in the property
       subject to the power of appointment.


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               (e)     Tax Consequences. The exercise of a power of appointment may have
        important tax consequences. The donee of any power of appointment should consult with
        counsel before exercising such power of appointment.

         8.7    Liability of Third Party. No person paying money or delivering property to the
 Trustee  need see to the application of such money or property. No person dealing with the
 Trustee need inquire into the propriety of any transaction or the Trustee's authority to enter into
 and consummate the same.

        8.8    Use of Words. As used in this Trust Agreement, the masculine, feminine, and
neuter gender, and the singular or plural of any word each includes the others unless the context
indicates otherwise.

       8.9    Unenforceable Provision.      If any prov1s10n of this Trust Agreement is
unenforceable, the remaining provisions shall be given effect, unless to do so would produce an
unreasonable result.

        8.10 Titles, Headings, and Captions. All titles, headings, and captions used in this
 Trust Agreement have been included for administrative convenience only and should not be
 construed in interpreting this Trust Agreement.

        8.11 Counterpart Signatures. This document may be executed in counterparts, and all
counterparts so executed shall constitute a single document, notwithstanding that the interested
parties are not or may not be signatories to the original or to the same counterpart.

         8.12 Trust Name. The trusts established under Article II of this Trust Agreement,
 collectively, shall be known as the 11 The Dugaboy Investment Trust".

         IN WITNESS WHEREOF, the Settler, the Family Trustee and the Administrative
 Trustee have hereunto set their hands on the day and year first above written in multiple
 originals. The Trustees agree to administer the trust estate in accordance with the terms of this
 Trust Agreement. The Independent Trustee shall begin serving as such upon delivery of a
 written acknowledged instrument to the Family Trustee in accordance with Section 5.2 hereof.




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                                           flfJ~~
                                           ANA
                                                  ,&1,
                                                   SCOTTBREA LT,Settlor


STATE OF TEXAS             §
                           §
COUNTY OF DALLAS           §

       BEFORE ME, the undersigned authority, on this day personally appeared DANA
SCOTT BREAULT, as Settler, known to me to be the person whose name is subscribed to the
foregoing Trust Agreement and acknowledged to me that she executed the same for the purposes
and consideration therein expressed.




                                                   I       ,,,,..,,,,,,             RAVI IYER
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                                                            ~¥~?.%         Notary Public, State of :rexas
                                                       ~   (           .: § My Commission Expires
                                                       -::.:,;,,;•• .,-;;.~.f
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                                                                                   June 12, 2013




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                                                                                      stee


 STATE OF TEXAS             §
                            §
 COUNTY OF DALLAS           §

        BEFORE ME, the undersigned authority, on this day personally appeared JAMES D.
 DONDERO, as Family Trustee, known to me to be the person whose name is subscribed to the
 foregoing Trust Agreement and acknowledged to me that he executed the same for the purposes
 and consideration therein expressed.

        GIVEN UNDER MY HAND AND SE




                                          Notary Public



                                                          MELINDA SLOANE
                                                      Notary Public, State of Texas
                                                        My Commission Expires
                                                          October 19, 2011




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                                              COMlv10NWEALTH TRUST COMPANY,
                                              Administrative Trustee




                                              By:    ff1Na
                                                    N~:
                                                               /i) ~ :4'.ioya_.J
                                                             Cynth~. M. Brown
                                                    Title:   President



 STATE OF DELAWARE                     §
                                       §
 COUNTY OF NEW CASTLE                  §

         BEFORE        :ME, the undersigned authority on this  day personally appeared
 Cynthia D. M. Brown              President      known to me to be the person arid officer
 whose name is subscribed to the foregoing instrument and acknowledged to me that he/she
 executed the same for the purposes and consideration therein expressed as the act of
 COMMONWEALTH TRUST COMPANY and in the capacity therein expressed.                  I) A 1'
                                                                                     November [f}i'LV
          GIVEN UNDER MY HAND AND SEAL OF OFFICE this                    15th   day of @o~ 2010.




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                   EXHIBIT 5
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JAMES DONDERO'S RELATED INTERESTS
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                                        Entity                           Relationship to Related Interest
1905 Wylie LLC                                              Indirect   Control
2006 Milam East Partners GP, LLC                            Indirect   Control
2006 Milam East Partners, L.P.                              Indirect   Control
201 Tarrant Partners, LLC                                   Indirect   Control
2014 Corpus Weber Road LLC                                  Indirect   Control
2014 Galveston Jones Drive, LLC                             Indirect   Control
2325 Stemmons Holdco, LLC                                   Indirect   Control
2325 Stemmons Hotel Partners, LLC                           Indirect   Control
2325 Stemmons TRS, Inc.                                     Indirect   Control
3801 Shenandoah, L.P.                                       Indirect   Control
3820 Goar Park LLC                                          Indirect   Control
401 Ame, L.P.                                               Indirect   Control
4201 Locust, L.P.                                           Indirect   Control
5833 Woodland, L.P.                                         Indirect   Control
Aberdeen Loan Funding, Ltd.                                 Indirect   Control
Acis Capital Management GP, LLC                             Indirect   Control
Acis Capital Management, L.P.                               Indirect   Control
Acis CLO 2013-1 Chemical Holdings, LLC                      Indirect   Control
Acis CLO 2013-1 Ltd.                                        Indirect   Control
Acis CLO 2013-2 Ltd.                                        Indirect   Control
Acis CLO 2014-3 Chemical Holdings, LLC                      Indirect   Control
Acis CLO 2014-3 Ltd                                         Indirect   Control
Acis CLO 2014-4 Chemical Holdings, LLC                      Indirect   Control
Acis CLO 2014-4 Ltd                                         Indirect   Control
Acis CLO 2014-5 Chemical Holdings, LLC                      Indirect   Control
Acis CLO 2014-5 Ltd                                         Indirect   Control
Acis CLO 2015-6 Chemical Holdings, LLC                      Indirect   Control
Acis CLO 2015-6 Ltd                                         Indirect   Control
Acis CLO 2015-7 Ltd                                         Indirect   Control
Acis CLO Management GP, LLC                                 Indirect   Control
Acis CLO Management Holdings, L.P.                          Indirect   Control
Acis CLO Management Intermediate Holdings I, LLC            Indirect   Control
Acis CLO Management Intermediate Holdings II, LLC           Indirect   Control
Acis CLO Management, LLC                                    Indirect   Control
Acis CLO Value Fund II (Cayman), L.P.                       Indirect   Control
Acis CLO Value Fund II Charitable DAF Ltd.                  Indirect   Control
Acis CLO Value Fund II GP, LLC                              Indirect   Control
Acis CLO Value Fund II Incentive Holdings, LLC              Indirect   Control
Acis CLO Value Fund II, L.P.                                Indirect   Control
Acis CLO Value Master Fund II, L.P.                         Indirect   Control
Acis Funding GP, Ltd.                                       Indirect   Control
Acis Funding, L.P.                                          Indirect   Control
Acis Loan Funding, Ltd.                                     Indirect   Control
AHC Riverside Villas, LLC                                   Indirect   Control
Allenby, LLC                                                Indirect   Control
Ashford at Feather Sound, LLC                               Indirect   Control
Ashmore Property Holdings, LLC                              Indirect   Control
Bandera Strategic Credit Partners I GP, LLC                 Indirect   Control
Bandera Strategic Credit Partners I SLP GP, LLC             Indirect   Control
Bandera Strategic Credit Partners I SLP, L.P.               Indirect   Control
Bandera Strategic Credit Partners I, L.P.                   Indirect   Control
BayVK R2 Lux S.A., SICAV-FIS - Highland                     Indirect   Control
BB Votorantim Highland Infrastructure, LLC                  Indirect   Control
BH Willowdale Manager, LLC                                  Indirect   Control
Brentwood CLO, Ltd.                                         Indirect   Control
Brentwood Investors Corp.                                   Indirect   Control
Brentwood Panda Holdings, Ltd.                              Indirect   Control
Bristol Bay Funding, LTD.                                   Indirect   Control
BVP Property LLC                                            Indirect   Control
Cabi Holdco GP, LLC                                         Indirect   Control
Cabi Holdco I, Ltd.                                         Indirect   Control

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                                                                                      Interest
Cabi Holdco, L.P.                                           Indirect   Control
Camelback Residential Partners, LLC                         Indirect   Control
Charitable DAF Fund, L.P.                                   Indirect   Control
Charitable DAF GP, LLC                                      Indirect   Control
Charitable DAF Holdco, Ltd                                  Indirect   Control
Claymore Holdings, LLC                                      Indirect   Control
CLO Holdco, Ltd.                                            Indirect   Control
Corbusier, Ltd.                                             Indirect   Control
Dallas Lease and Finance, L.P.                              Indirect   Control
De Kooning, Ltd.                                            Indirect   Control
DFA/BH Autumn Ridge, LLC                                    Indirect   Control
DFA/BH Midtown, LLC                                         Indirect   Control
Dolomiti, LLC                                               Indirect   Control
DrugCrafters, L.P.                                          Indirect   Control
Dugaboy Management, LLC                                     Indirect   Control
Dugaboy Project Management GP, LLC                          Indirect   Control
Eames, Ltd.                                                 Indirect   Control
Eastland CLO, Ltd.                                          Indirect   Control
Eastland Investors Corp.                                    Indirect   Control
Emory Property Holdings, LLC                                Indirect   Control
Empower Dallas Foundation, Inc.                             Indirect   Control
Entegra Strat Superholdco, LLC                              Indirect   Control
Entegra-DCF Superholdco, LLC                                Indirect   Control
Entegra-FRO Holdco, LLC                                     Indirect   Control
Entegra-FRO Superholdco, LLC                                Indirect   Control
Entegra-Granite Bay Holdco, LLC                             Indirect   Control
Entegra-HOCF Holdco, LLC                                    Indirect   Control
Entegra-NHF Holdco, LLC                                     Indirect   Control
Entegra-NHF Superholdco, LLC                                Indirect   Control
Entegra-RCP Holdco, LLC                                     Indirect   Control
Estates on Maryland Holdco, LLC                             Indirect   Control
Estates on Maryland Owners SM, Inc.                         Indirect   Control
Estates on Maryland Owners, LLC                             Indirect   Control
Estates on Maryland, LLC                                    Indirect   Control
Falcon E&P Five, LLC                                        Indirect   Control
Falcon E&P Four Holdings, LLC                               Indirect   Control
Falcon   E&P One, LLC                                       Indirect   Control
Falcon   E&P Opportunities Fund, L.P.                       Indirect   Control
Falcon   E&P Opportunities GP, LLC                          Indirect   Control
Falcon   E&P Six, LLC                                       Indirect   Control
Falcon   E&P Three, LLC                                     Indirect   Control
Falcon   E&P Two, LLC                                       Indirect   Control
Falcon   Four Midstream, LLC                                Indirect   Control
Falcon   Four Upstream, LLC                                 Indirect   Control
Falcon   Incentive Partners GP, LLC                         Indirect   Control
Falcon   Incentive Partners, LP                             Indirect   Control
Falcon Six Midstream, LLC                                   Indirect   Control
Flamingo Vegas Holdco, LLC                                  Indirect   Control
FRBH Abbington, LLC                                         Indirect   Control
FRBH Arbors, LLC                                            Indirect   Control
FRBH Beechwood, LLC                                         Indirect   Control
FRBH Cl Residential, LLC                                    Indirect   Control
FRBH Courtney Cove, LLC                                     Indirect   Control
FRBH CP, LLC                                                Indirect   Control
FRBH   Duck Creek, LLC                                      Indirect   Control
FRBH   Eaglecrest, LLC                                      Indirect   Control
FRBH   Edgewater JV, LLC                                    Indirect   Control
FRBH   Edgewater Owner, LLC                                 Indirect   Control
FRBH   Frederick, LLC                                       Indirect   Control
FRBH   JAX-TPA, LLC                                         Indirect   Control
FRBH   Nashville Residential, LLC                           Indirect   Control
FRBH   Regatta Bay, LLC                                     Indirect   Control
FRBH   Sabal Park, LLC                                      Indirect   Control
FRBH   Silverbrook, LLC                                     Indirect   Control
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                                                                                      Interest
FRBH Timberglen, LLC                                        Indirect   Control
FRBH Toscana, LLC                                           Indirect   Control
FRBH Willow Grove, LLC                                      Indirect   Control
FRBH Woodbridge, LLC                                        Indirect   Control
Freedom Cl Residential, LLC                                 Indirect   Control
Freedom Duck Creek, LLC                                     Indirect   Control
Freedom Edgewater, LLC                                      Indirect   Control
Freedom JAX-TPA Residential, LLC                            Indirect   Control
Freedom La Mirage, LLC                                      Indirect   Control
Freedom LHV LLC                                             Indirect   Control
Freedom Lubbock LLC                                         Indirect   Control
Freedom Miramar Apartments, LLC                             Indirect   Control
Freedom Miramar SM, Inc.                                    Indirect   Control
Freedom Overlook Manor, LLC                                 Indirect   Control
Freedom Regatta Bay, LLC                                    Indirect   Control
Freedom Sandstone, LLC                                      Indirect   Control
Freedom Willowdale, LLC                                     Indirect   Control
G-LA Resorts Holdings LLC                                   Indirect   Control
Gardens of Denton II, L.P.                                  Indirect   Control
Gardens of Denton Ill, L.P.                                 Indirect   Control
Gleneagles CLO, Ltd.                                        Indirect   Control
Governance Re, Ltd.                                         Indirect   Control
Governance, Ltd.                                            Indirect   Control
Granite Bay Advisors GP, LLC                                Indirect   Control
Granite Bay Advisors, L.P.                                  Indirect   Control
Granite Bay Long/Short Credit Fund, L.P.                    Indirect   Control
Granite Bay Long/Short Credit Fund, Ltd.                    Indirect   Control
Granite Bay Long/Short Credit GP, LLC                       Indirect   Control
Granite Bay Long/Short Credit Master Fund, L.P.             Indirect   Control
Grayson CLO, Ltd.                                           Indirect   Control
Grayson Investors Corp.                                     Indirect   Control
Greenbriar CLO, Ltd.                                        Indirect   Control
Gunwale LLC                                                 Indirect   Control
Hammark Holdings LLC                                        Indirect   Control
Harko, LLC                                                  Indirect   Control
Haygood, LLC                                                Indirect   Control
HCBH 11611 Ferguson, LLC                                    Indirect   Control
HCBH Buffalo Pointe II, LLC                                 Indirect   Control
HCBH Buffalo Pointe, LLC                                    Indirect   Control
HCBH Hampton Woods SM, Inc.                                 Indirect   Control
HCBH Hampton Woods, LLC                                     Indirect   Control
HCBH Overlook SM, Inc.                                      Indirect   Control
HCBH Overlook, LLC                                          Indirect   Control
HCBH Rent Investors, LLC                                    Indirect   Control
HCM Holdco, LLC                                             Indirect   Control
HCM Park West Guarantor, LLC                                Indirect   Control
HCM Park West Office, LLC                                   Indirect   Control
HCMS Falcon GP, LLC                                         Indirect   Control
HCMS Falcon, LP.                                            Indirect   Control
HCO Holdings, LLC                                           Indirect   Control
HCOF Preferred Holdings, LP                                 Indirect   Control
HCOF Preferred Holdings, Ltd.                               Indirect   Control
HCRE Addison, LLC                                           Indirect   Control
HCRE Hotel Partner, LLC                                     Indirect   Control
HCRE Las Colinas, LLC                                       Indirect   Control
HCRE Partners, LLC                                          Indirect   Control
HCRE Plano, LLC                                             Indirect   Control
HCREF-1 Holding Corp.                                       Indirect   Control
HCREF-11 Holding Corp.                                      Indirect   Control
HCREF-111 Holding Corp.                                     Indirect   Control
HCREF-IV Holding Corp.                                      Indirect   Control
HCREF-IX Holding Corp.                                      Indirect   Control
HCREF-V Holding Corp.                                       Indirect   Control
HCREF-VI Holding Corp.                                      Indirect   Control
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                                                                                                       Interest
HCREF-VII Holding Corp.                                                      Indirect   Control
HCREF-VIII Holding Corp.                                                     Indirect   Control
HCREF-XI Holding Corp.                                                       Indirect   Control
HCREF-XII Holding Corp.                                                      Indirect   Control
HCREP WP, LLC                                                                Indirect   Control
HCSLR Camelback Investors (Cayman), Ltd.                                     Indirect   Control
HCSLR Camelback Investors, LLC                                               Indirect   Control
HCSLR Camelback, LLC                                                         Indirect   Control
HCT Holdco 2, Ltd.                                                           Indirect   Control
HE Capital 232 Phase I Property, LLC                                         Indirect   Control
HE Capital 232 Phase I, LLC                                                  Indirect   Control
HE Capital Asante, LLC                                                       Indirect   Control
HE Capital Fox Trails, LLC                                                   Indirect   Control
HE Capital KR, LLC                                                           Indirect   Control
HE Capital, LLC                                                              Indirect   Control
HE CLO Holdco, LLC                                                           Indirect   Control
HE Mezz Fox Trails, LLC                                                      Indirect   Control
HE Mezz KR, LLC                                                              Indirect   Control
HE Peoria Place Property, LLC                                                Indirect   Control
HE Peoria Place, LLC                                                         Indirect   Control
Heron Pointe Investors, LLC                                                  Indirect   Control
Hewett's Island CLO I-R, Ltd.                                                Indirect   Control
HFP Asset Funding II, Ltd.                                                   Indirect   Control
HFP Asset Funding Ill, Ltd.                                                  Indirect   Control
HFP COO Construction Corp.                                                   Indirect   Control
HFP GP, LLC                                                                  Indirect   Control
Hibiscus HoldCo, LLC                                                         Indirect   Control
Highland - First Foundation Income Fund                                      Indirect   Control
Highland 401(k) Plan                                                         Indirect   Control
Highland Acquisition Corporation                                             Indirect   Control
Highland Argentina Regional Opportunity Fund, Ltd. (fka MBA Latin America    Indirect   Control
Opportunity Fund, Ltd.)
Highland Brasil, LLC                                                         Indirect   Control
Highland Capital Brasil Gestora de Recursos                                  Indirect   Control
Highland Capital Funds Distributor, Inc.                                     Indirect   Control
Highland Capital Healthcare Advisors GP, LLC                                 Indirect   Control
Highland Capital Healthcare Advisors, LP.                                    Indirect   Control
Highland Capital Loan Fund, LP.                                              Indirect   Control
Highland Capital Loan GP, LLC                                                Indirect   Control
Highland Capital Management (Singapore) Pte Ltd                              Indirect   Control
Highland Capital Management AG                                               Indirect   Control
Highland Capital Management Fund Advisors, LP.                               Indirect   Control
Highland Capital Management Korea Limited                                    Indirect   Control
Highland Capital Management Latin America, LP.                               Indirect   Control
Highland Capital Management Multi-Strategy Insurance Dedicated Fund, LP.     Indirect   Control
Highland Capital Management Partners Charitable Trust #1                     Indirect   Control
Highland Capital Management Services, Inc.                                   Indirect   Control
Highland Capital Management, LP.                                             Indirect   Control
Highland Capital Management, LP. Charitable Fund                             Indirect   Control
Highland Capital Management, LP. Retirement Plan and Trust                   Indirect   Control
Highland Capital Multi-Strategy Fund, LP                                     Indirect   Control
Highland Capital of New York, Inc.                                           Indirect   Control
Highland Capital Real Estate Fund GP, LLC                                    Indirect   Control
Highland Capital Real Estate Fund, LP.                                       Indirect   Control
Highland Capital Special Allocation, LLC                                     Indirect   Control
Highland COO Holding Company                                                 Indirect   Control
Highland COO Opportunity Fund GP, LP.                                        Indirect   Control
Highland COO Opportunity Fund, LP.                                           Indirect   Control
Highland COO Opportunity Fund, Ltd.                                          Indirect   Control
Highland COO Opportunity GP, LLC                                             Indirect   Control
Highland COO Opportunity Master Fund, LP.                                    Indirect   Control
Highland CLO Gaming Holdings, LLC                                            Indirect   Control
Highland Commingled Holding Company                                          Indirect   Control
Highland Credit Opportunities COO Asset Holdings GP, Ltd.                    Indirect   Control
                                                                                                        APP 066
                                                                                                              DOC 01698978
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                                                                                              Interest
Highland Credit Opportunities CDO Asset Holdings, L.P.              Indirect   Control
Highland Credit Opportunities CDO Financing, LLC                    Indirect   Control
Highland Credit Opportunities CDO, Ltd.                             Indirect   Control
Highland Credit Opportunities Holding Corporation                   Indirect   Control
Highland Credit Opportunities Japanese Feeder Sub-Trust             Indirect   Control
Highland Credit Strategies Fund, L.P.                               Indirect   Control
Highland Credit Strategies Fund, Ltd.                               Indirect   Control
Highland Credit Strategies Holding Corporation                      Indirect   Control
Highland Credit Strategies Master Fund, L.P.                        Indirect   Control
Highland Dallas Foundation, Inc.                                    Indirect   Control
Highland Diversified Credit Fund GP, L.P.                           Indirect   Control
Highland Diversified Credit Fund, L.P.                              Indirect   Control
Highland Diversified Credit GP, LLC                                 Indirect   Control
Highland Employee Retention Assets LLC                              Indirect   Control
Highland Energy Holdings, LLC                                       Indirect   Control
Highland Energy MLP Fund                                            Indirect   Control
Highland ERA Management, LLC                                        Indirect   Control
Highland Financial Corp.                                            Indirect   Control
Highland Financial Partners, L.P.                                   Indirect   Control
Highland Fixed Income Fund                                          Indirect   Control
Highland Floating Rate Opportunities Fund                           Indirect   Control
Highland Fund Holdings, LLC                                         Indirect   Control
Highland Funds I                                                    Indirect   Control
Highland Funds II                                                   Indirect   Control
Highland GAF Chemical Holdings, LLC                                 Indirect   Control
Highland Gemini Program (Castor), L.P.                              Indirect   Control
Highland Gemini Program (Pollux), L.P.                              Indirect   Control
Highland Gemini Program , L.P.                                      Indirect   Control
Highland Gemini Program GP, LLC                                     Indirect   Control
Highland General Partner, LP                                        Indirect   Control
Highland Global Allocation Fund                                     Indirect   Control
Highland GP Holdings, LLC                                           Indirect   Control
Highland iBoxx Senior Loan ETF                                      Indirect   Control
Highland Kansas City Foundation, Inc.                               Indirect   Control
Highland Latin America Consulting, Ltd.                             Indirect   Control
Highland Latin America GP, Ltd.                                     Indirect   Control
Highland Latin America LP, Ltd.                                     Indirect   Control
Highland Legacy Limited                                             Indirect   Control
Highland LF Chemical Holdings, LLC                                  Indirect   Control
Highland Life Settlement Program, LP                                Indirect   Control
Highland Loan Fund, Ltd.                                            Indirect   Control
Highland Loan Funding V, Ltd.                                       Indirect   Control
Highland Loan Master Fund, L.P.                                     Indirect   Control
Highland Long/Short Equity Fund                                     Indirect   Control
Highland Long/Short Healthcare Fund                                 Indirect   Control
Highland LS GP, LLC                                                 Indirect   Control
Highland Marcal Holding, Inc.                                       Indirect   Control
Highland Merger Arbitrage Fund                                      Indirect   Control
Highland Multi Strategy Credit Fund GP, L.P.                        Indirect   Control
Highland Multi Strategy Credit Fund, L.P.                           Indirect   Control
Highland Multi Strategy Credit Fund, Ltd.                           Indirect   Control
Highland Multi Strategy Credit GP, LLC                              Indirect   Control
Highland Multi-Strategy Fund GP, LLC                                Indirect   Control
Highland Multi-Strategy Fund GP, LP                                 Indirect   Control
Highland Multi-Strategy IDF GP, LLC                                 Indirect   Control
Highland Multi-Strategy Master Fund, LP                             Indirect   Control
Highland Multi-Strategy Onshore Master SubFund II, LLC              Indirect   Control
Highland Multi-Strategy Onshore Master Subfund, LLC                 Indirect   Control
Highland Offshore Partners, L.P.                                    Indirect   Control
Highland Opportunistic Credit Fund                                  Indirect   Control
Highland Park CDO 1, Ltd.                                           Indirect   Control
Highland Premier Growth Equity Fund                                 Indirect   Control
Highland Prometheus Feeder Fund I, L.P.                             Indirect   Control
Highland Prometheus Feeder Fund II, L.P.                            Indirect   Control
                                                                                               APP 067
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                                                                                          Interest
Highland Prometheus Master Fund, LP.                            Indirect   Control
Highland Receivables Finance I, LLC                             Indirect   Control
Highland Restoration Capital Partners GP, LLC                   Indirect   Control
Highland Restoration Capital Partners Master, LP.               Indirect   Control
Highland Restoration Capital Partners Offshore, LP.             Indirect   Control
Highland Restoration Capital Partners, LP.                      Indirect   Control
Highland Santa Barbara Foundation, Inc.                         Indirect   Control
Highland Select Equity Fund GP, L.P.                            Indirect   Control
Highland Select Equity Fund, LP.                                Indirect   Control
Highland Select Equity GP, LLC                                  Indirect   Control
Highland Select Equity Master Fund, LP.                         Indirect   Control
Highland Small-Cap Equity Fund                                  Indirect   Control
Highland Special Opportunities Holding Company                  Indirect   Control
Highland SunBridge GP, LLC                                      Indirect   Control
Highland Tax-Exempt Fund                                        Indirect   Control
Highland TCI Holding Company, LLC                               Indirect   Control
Highland Total Return Fund                                      Indirect   Control
Highland's Roads Land Holding Company, LLC                      Indirect   Control
Hirst, Ltd.                                                     Indirect   Control
HMCF IB Investors, LLC                                          Indirect   Control
HMCF PB Investors, LLC                                          Indirect   Control
HMCF RV Investors, LLC                                          Indirect   Control
Hockney, Ltd.                                                   Indirect   Control
HRT North Atlanta, LLC                                          Indirect   Control
HRT Timber Creek, LLC                                           Indirect   Control
HRTBH Arbors, LLC                                               Indirect   Control
HRTBH Knolls, LLC                                               Indirect   Control
HRTBH North Atlanta, LLC                                        Indirect   Control
HRTBH Timber Creek, LLC                                         Indirect   Control
HRTBH Wood Bridge, LLC                                          Indirect   Control
HRTBH Wood Station, LLC                                         Indirect   Control
HWS Investors Holdco, LLC                                       Indirect   Control
Jewelry Ventures I, LLC                                         Indirect   Control
JMIJM, LLC                                                      Indirect   Control
Keelhaul LLC                                                    Indirect   Control
Kuilima Montalban Holdings, LLC                                 Indirect   Control
Kuilima Resort Holdco, LLC                                      Indirect   Control
Las Vegas Land Holdings, LLC                                    Indirect   Control
Lautner, Ltd.                                                   Indirect   Control
Liberty Cayman Holdings, Ltd.                                   Indirect   Control
Liberty CLO Holdco, Ltd.                                        Indirect   Control
Liberty CLO, Ltd.                                               Indirect   Control
Life Settlements Prospects GP, LLC                              Indirect   Control
Life Settlements Prospects, LP.                                 Indirect   Control
LM Houston Apartments, LLC                                      Indirect   Control
Longhorn Credit Funding, LLC                                    Indirect   Control
Maple Avenue Holdings, LLC                                      Indirect   Control
Markham Fine Jewelers, LP.                                      Indirect   Control
Meritage Residential Partners, LLC                              Indirect   Control
MGM Studios Holdco, Ltd.                                        Indirect   Control
ML CLO XIX Sterling (Cayman), Ltd.                              Indirect   Control
NCI Apache Trail LLC                                            Indirect   Control
NCI Assets Holding Company LLC                                  Indirect   Control
NCI Country Club LLC                                            Indirect   Control
NCI Fort Worth Land LLC                                         Indirect   Control
NCI Front Beach Road LLC                                        Indirect   Control
NCI Minerals LLC                                                Indirect   Control
NCI Royce City Land LLC                                         Indirect   Control
NCI Stewart Creek LLC                                           Indirect   Control
NCI Storage, LLC                                                Indirect   Control
Neutra, Ltd.                                                    Indirect   Control
Nevada Land Group, LLC                                          Indirect   Control
New Jersey Tissue Company Holdco, LLC                           Indirect   Control
NexBank Capital Trust I                                         Indirect   Control
                                                                                           APP 068
                                                                                                 DOC 01698978
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                                                                                               Interest
NexBank Capital, Inc.                                                Indirect   Control
NexBank Land Advisors, Inc.                                          Indirect   Control
NexBank Securities, Inc.                                             Indirect   Control
NexBank SSB                                                          Indirect   Control
NexBank Title, Inc. (dba NexVantage Title Services)                  Indirect   Control
NexPoint Advisors GP, LLC                                            Indirect   Control
NexPoint Advisors, LP.                                               Indirect   Control
NexPoint Capital, Inc.                                               Indirect   Control
NexPoint Credit Strategies Fund                                      Indirect   Control
NexPoint Discount Yield Fund                                         Indirect   Control
NexPoint Energy and Materials Opportunities Fund                     Indirect   Control
NexPoint Healthcare Opportunities Fund                               Indirect   Control
NexPoint Hospitality Trust, Inc.                                     Indirect   Control
NexPoint Hospitality, LP.                                            Indirect   Control
NexPoint Latin American Opportunities Fund                           Indirect   Control
NexPoint Merger Arbitrage Fund                                       Indirect   Control
NexPoint Multifamily Capital Trust, Inc.                             Indirect   Control
NexPoint Multifamily Operating Partnership, LP.                      Indirect   Control
NexPoint Opportunistic Credit Fund                                   Indirect   Control
NexPoint Real Estate Advisors GP, LLC                                Indirect   Control
NexPoint Real Estate Advisors II, LP.                                Indirect   Control
NexPoint Real Estate Advisors Ill, LP.                               Indirect   Control
NexPoint Real Estate Advisors, LP.                                   Indirect   Control
NexPoint Real Estate Capital, LLC                                    Indirect   Control
NexPoint Real Estate Opportunities LLC                               Indirect   Control
NexPoint Real Estate Strategies Fund                                 Indirect   Control
NexPoint Residential Trust Inc.                                      Indirect   Control
NexPoint Residential Trust Operating Partnership GP, LLC             Indirect   Control
NexPoint Residential Trust Operating Partnership, LP.                Indirect   Control
NexWash on 380 LLC                                                   Indirect   Control
NHF CCD, Inc.                                                        Indirect   Control
NLA Assets LLC                                                       Indirect   Control
NMRT TRS, Inc.                                                       Indirect   Control
Northland Floresta, LLC                                              Indirect   Control
NREA Casa Investors, LLC                                             Indirect   Control
NREA Gardens DST Manager, LLC                                        Indirect   Control
NREA Gardens Investment Co, LLC                                      Indirect   Control
NREA Gardens Leaseco Manager, LLC                                    Indirect   Control
NREA Gardens Leaseco, LLC                                            Indirect   Control
NREA Gardens Springing LLC                                           Indirect   Control
NREA Gardens Springing Manager, LLC                                  Indirect   Control
NREA Gardens, DST                                                    Indirect   Control
NREA Keystone Investors, LLC                                         Indirect   Control
NREA SOV Investors, LLC                                              Indirect   Control
NREC AR Investors, LLC                                               Indirect   Control
NREC BM Investors, LLC                                               Indirect   Control
NREC BP Investors, LLC                                               Indirect   Control
NREC EAH Investors, LLC                                              Indirect   Control
NREC HG Investors, LLC                                               Indirect   Control
NREC Latitude Investors, LLC                                         Indirect   Control
NREC Latitude Investors, LLC                                         Indirect   Control
NREC MOM, LLC                                                        Indirect   Control
NREC Nashville Investors, LLC                                        Indirect   Control
NREC NF Investors, LLC                                               Indirect   Control
NREC Richmond Investors, LLC                                         Indirect   Control
NREC VAH Investors, LLC                                              Indirect   Control
NREC WO Investors, LLC                                               Indirect   Control
NREC WW Investors, LLC                                               Indirect   Control
NREC YC Investors, LLC                                               Indirect   Control
NRESF REIT Sub, LLC                                                  Indirect   Control
NXRT AZ2, LLC                                                        Indirect   Control
NXRT Barrington Mill, LLC                                            Indirect   Control
NXRT Bayberry, LLC                                                   Indirect   Control
NXRT Cornerstone, LLC                                                Indirect   Control
                                                                                                APP 069
                                                                                                      DOC 01698978
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                                                                                     Interest
NXRT H2 TRS, LLC                                           Indirect   Control
NXRT Hollister TRS LLC                                     Indirect   Control
NXRT Hollister, LLC                                        Indirect   Control
NXRT McMillan, LLC                                         Indirect   Control
NXRT Nashville Residential, LLC                            Indirect   Control
NXRT North Dallas 3, LLC                                   Indirect   Control
NXRT Old Farm, LLC                                         Indirect   Control
NXRT Radbourne Lake, LLC                                   Indirect   Control
NXRT Rockledge, LLC                                        Indirect   Control
NXRT Rockledge, LLC                                        Indirect   Control
NXRT Sabal Palms, LLC                                      Indirect   Control
NXRT Steeplechase, LLC                                     Indirect   Control
NXRT Stone Creek, LLC                                      Indirect   Control
NXRT Vanderbilt, LLC                                       Indirect   Control
NXRTBH AZ2, LLC                                            Indirect   Control
NXRTBH Barrington Mill Owner, LLC                          Indirect   Control
NXRTBH Barrington Mill SM, Inc.                            Indirect   Control
NXRTBH Barrington Mill, LLC                                Indirect   Control
NXRTBH Bayberry, LLC                                       Indirect   Control
NXRTBH Cityview, LLC                                       Indirect   Control
NXRTBH Colonnade, LLC                                      Indirect   Control
NXRTBH Cornerstone Owner, LLC                              Indirect   Control
NXRTBH Cornerstone, LLC                                    Indirect   Control
NXRTBH Dana Point SM, Inc.                                 Indirect   Control
NXRTBH Dana Point, LLC                                     Indirect   Control
NXRTBH Foothill SM, Inc.                                   Indirect   Control
NXRTBH Foothill, LLC                                       Indirect   Control
NXRTBH Heatherstone SM, Inc.                               Indirect   Control
NXRTBH Heatherstone, LLC                                   Indirect   Control
NXRTBH Hollister Tenant, LLC                               Indirect   Control
NXRTBH Hollister, LLC                                      Indirect   Control
NXRTBH Madera SM, Inc.                                     Indirect   Control
NXRTBH Madera, LLC                                         Indirect   Control
NXRTBH McMillan, LLC                                       Indirect   Control
NXRTBH North Dallas 3, LLC                                 Indirect   Control
NXRTBH Old Farm II, LLC                                    Indirect   Control
NXRTBH Old Farm Tenant, LLC                                Indirect   Control
NXRTBH Old Farm, LLC                                       Indirect   Control
NXRTBH Radbourne Lake, LLC                                 Indirect   Control
NXRTBH Rockledge, LLC                                      Indirect   Control
NXRTBH Rockledge, LLC                                      Indirect   Control
NXRTBH Sabal Palms, LLC                                    Indirect   Control
NXRTBH Steeplechase, LLC                                   Indirect   Control
NXRTBH Stone Creek, LLC                                    Indirect   Control
NXRTBH Vanderbilt, LLC                                     Indirect   Control
NXRTBH Versailles SM, Inc.                                 Indirect   Control
NXRTBH Versailles, LLC                                     Indirect   Control
Off-the-Strip Land Holding Company, LLC                    Indirect   Control
Oldenburg, Ltd.                                            Indirect   Control
Pam Capital Funding GP Co. Ltd.                            Indirect   Control
Pam Capital Funding, LP.                                   Indirect   Control
Park Central Residential, LLC                              Indirect   Control
Park West 1700 Valley View Holdco, LLC                     Indirect   Control
Park West 2021 Valley View Holdco, LLC                     Indirect   Control
Park West Holdco, LLC                                      Indirect   Control
Park West Portfolio Holdco, LLC                            Indirect   Control
PCMG Trading Partners XXIII, LP.                           Indirect   Control
Penant Management GP, LLC                                  Indirect   Control
Penant Management LP                                       Indirect   Control
PensionDanmark Pensionsforsikringsaktieselskab             Indirect   Control
Pharmacy Ventures I, LLC                                   Indirect   Control
Pharmacy Ventures II, LLC                                  Indirect   Control
Pollack, Ltd.                                              Indirect   Control
PWMl Holdings, LLC                                         Indirect   Control
                                                                                      APP 070
                                                                                            DOC 01698978
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                                                                                          Interest
PWMl, LLC                                                       Indirect   Control
Radco NREC Bay Park Holdings, LLC                               Indirect   Control
Ramarim, LLC                                                    Indirect   Control
Red River CLO, Ltd.                                             Indirect   Control
Red River Investors Corp.                                       Indirect   Control
Restoration Funding CLO, Ltd.                                   Indirect   Control
Richmond Cummins, LP                                            Indirect   Control
Rockwall CDO II Ltd.                                            Indirect   Control
Rockwall CDO II Panda Holdings, Ltd.                            Indirect   Control
Rockwall CDO, Ltd.                                              Indirect   Control
Rockwall Investors Corp.                                        Indirect   Control
Rothko, Ltd.                                                    Indirect   Control
RTT Hollister, LLC                                              Indirect   Control
RTT Rockledge, LLC                                              Indirect   Control
Rundberg Residential Partners, LLC                              Indirect   Control
Sevilla Residential Partners, LLC                               Indirect   Control
Southfork Cayman Holdings, Ltd.                                 Indirect   Control
Southfork CLO, Ltd.                                             Indirect   Control
Specialty Financial Products Limited                            Indirect   Control
Spiritus Life, Inc.                                             Indirect   Control
Starck, Ltd.                                                    Indirect   Control
Sterling Capital Long/Short Equity Fund                         Indirect   Control
Stonebridge-Highland Healthcare Private Equity Fund             Indirect   Control
Strand Advisors Ill, Inc.                                       Indirect   Control
Strand Advisors IV, LLC                                         Indirect   Control
Strand Advisors IX, LLC                                         Indirect   Control
Strand Advisors V, LLC                                          Indirect   Control
Strand Advisors XIII, LLC                                       Indirect   Control
Strand Advisors XVI, Inc.                                       Indirect   Control
Strand Advisors, Inc.                                           Indirect   Control
Stratford CLO, Ltd.                                             Indirect   Control
SV TIC Residential Partners, LLC                                Indirect   Control
The Dondero Insurance Rabbi Trust                               Indirect   Control
The Dugaboy Investment Trust                                    Indirect   Control
The Get Good Non-Exempt Trust No. 1                             Indirect   Control
The Get Good Non-Exempt Trust No. 2                             Indirect   Control
The Get Good Trust                                              Indirect   Control
The SLHC Trust                                                  Indirect   Control
Thread 55, LLC                                                  Indirect   Control
Tihany, Ltd.                                                    Indirect   Control
Triple R Eastwood Holdings, LLC                                 Indirect   Control
Valhalla CLO, Ltd.                                              Indirect   Control
VB Holding, LLC                                                 Indirect   Control
Venue at Home Town, LTD.                                        Indirect   Control
Wake LV Holdings II, Ltd.                                       Indirect   Control
Wake LV Holdings, Ltd.                                          Indirect   Control
Walter Holdco GP, LLC                                           Indirect   Control
Walter Holdco I, Ltd.                                           Indirect   Control
Walter Holdco, LP.                                              Indirect   Control
Warhol, Ltd.                                                    Indirect   Control
Westchester CLO, Ltd.                                           Indirect   Control
Wright, Ltd.                                                    Indirect   Control
Yellow Metal Merchants, Inc.                                    Indirect   Control




                                                                                           APP 071
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                                                                                    Interest
Portfolio Companies
American BanknoteCorporation                              Board M ember
CCS Medical, Inc.                                         Board Member with >10% voting    securities
Cornerstone Healthcare Group Holding, Inc.                Board Member with >10% voting    securities
Metro-Goldwyn-Mayer, Inc.                                 Board Member with >10% voting    securities
NexBank Capital, Inc.                                     Board Member w ith >10% voting   securities
NexBank, SSB                                              Board Member with >10% voting    securities
Big Springs Partners, LLC                                 >25% voting securities
Carey Holdings, Inc.                                      >25% voting secu rities
Genesys Limited                                           >25% voting securities
JHT Holdings, Inc.                                        >25% voting securities
Romacorp                                                  >25% voting securities
Trussway Industries, Inc.                                 >25% voting securities
Turtle Bay Holdings, LLC                                  >25% voting securities




                                                                                           APP 072
                                                                                                   DOC 01698978
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                    EXHIBIT 6
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                           2016 Highland Dallas Foundation Unanimous Consent 12.28.16.pdf



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       . Inc. (1/Foµrtdatiqh/;), a D~laware . nonprofit nonsfockcorporatiott; do•hereby cons·ertt. fo •· ..·
      . the adoption of~ .and. do hereby<adopt, :the.following r~solutionspiirsuantto Se<:Uorr
        •141(£) ofEhe GeneralCorporationl.aw9ftheSta~·ofDelaware,a11d hereby~itetrthaf··
         ··this Writte.11.•··.consent ~e . lUed•··with:the· minUteii·.·.of the proceedh1gs•of···the··Boiltd . of
          l)ltectors ofthe Foundatiom · . .                 . ..    .           .       . .                 ..

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      ..·.··<GoottNortexernptTrustcreated ·bJTrustAgreeinerttdatedJune 29, 2001 (the ' 1'rust") .                      1

        .·. c~1,sfath1g ofthe assets listed on ~hi.bit A.atta~hed hereto (colledively, ·the ·~Guteil .                     1

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          ·whkh shares:.represe.nt one. tlu:rd·oftl1e econ.omicvalue ofDAF HoldCo;.·~nd · ·
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           autho:dzes ·•the FoundaHcin t.6 contribute the Glfted Assets •to OAF Hold.Co1                               effective
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           tO ·execute .and deliver such doc1.nnertts, .•· and to >take .such.· other adions:. as· are·. •
           appropriate to implement the purposes of the foregoing resolution, 1Nith such
           addition~1 terms and conditions, consistent therewith, as 11,ay be approved by such
            officers; and

                    FURTHER RESOLVED, that this Wr.itten Conser'lt may be validly executed by
             electronic means to the fullest extent permitted by Delaware law,




                                                                                                                               APP 073
CONFIDENTIAL-PEO                                                                                                   Highland/PE 0-032603
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                  2016 Highland Dallas Foundation Unanimous Consent 12.28.16.pdf




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CONFIDENTIAL-PEO                                                                              Highland/PE 0-032604
      Case 20-03195-sgj Doc 7-1 Filed 12/30/20 Entered 12/30/20 13:39:10 Page 85 of 111
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        HIGHLAND OAU,AS FOUNDATION, INC. - UNANIMOUS WRITTEN CONSENT OF DIRECTORS IN LIBU
                                            OF MEETING




                                                                                     APP 075
CONFIDENTIAL-PEO                                                                 Highland/PEO-032605
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                                                                         Exhibit A
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    7J    $2,032,183.24 (based on 11/30/16 NAY) Series A Interests: of Highland Capital Loan Fund., L.P. (as defined in fe Limited
    m     Partnership Agreement of Highland Capital Loai'1. Fund, LP~ dated March 28, 2013, as amended from time ti) time). i                                                 I\.)
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          The: following call optior>.s of American Airlines Group~ Inc., a Delaware corporation:                                                    I!                       :r:
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           Am.,ril:ru; Airlines (:,di Options                                                          # Coo'J"~     rnnw;: f,1\l     Assigned       I    Assigned            ::::,
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          A participatio? interest and a tracking ~'1terest in ce~in participating shares of Highland Crusader Fund, LP. and Highlapd Crusader                                Q)
          · Fund II, Ltd., in each case, as more paruculatly descnbed on Schajule l attached hereto.    ·                          j                                          (/}

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    7J                                                          The Participation Interest and the Tra,ckmg Interest
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                   The following sets forth the terms and conditions ·with respect to (i) a participation interest (the "Participati                                       n Interesf")             (J)
           granted by Highla."'ld Capital Management, LP. "'HCMLP") in certain participating shares of Highland Cn1sader Fu                                                d. L.P. {the             :r:
           ''Onshore Crusader Fund"") and Highland Crusader Fund U, Ltd. (the "Offshore Crusader Fund", and such partici                                                    ting shares           {Q
                                                                                                                                                                                                    ::::,
           collectively, the •~Participating Shares"), and (ii) a tracking interest (the "'Tm.eking Interest") in certain participating                                     ares of the             Q)
           Onshore Crusader Fund (the <!·Tracking Shares"').                                                                                                                                        ::::,
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           Participation and Tracking Interest                                                                                                                                                      Q)

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            Eames, Ltii              tatt'..e!', Ltd,                            Cr'JS~ Ftm4 LP                         6,5S1,fiH.01           lQ(t.00':/2                  6,5 Sl c4-'i, m        :::J

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           HC.Ml..P(l)                                                                                                                                                                             (/}
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          - Participation interest arid the Trackingintetest                                                                 -     --           --           -
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                 Payments bv and to HCMLP v.1ith respect to the Participation Interest and the Tracking Interest Subject to any a piicab1e tax
  rI     v.-itbboiding. HCMLP shall promptly pay to the hoider of the Participation Interest an runoum equal to such holder's s ar~ of each
  -0     amount received and applied by HC.MLP (or Eames, Ltd., a "'nolly"."o;,vned subsidiary of HCMLP~ if applicable) in payment of
  m      distributions, Plan Claims (as defined in the Joint Plan of Distribution of the Crusader funds adopted by High2and Crusa er Offshore
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         Partners, L.P., the Onshore Crusader rund, High.land Crusader Fund, Ltd. and the Offshore Crusader Fllf!d, .and: th~Scheme of                                                             0)

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                                  .. ·~ Offsho~e.Cn.isader·F. un? and its Scheme_ Creditors. . al:plicable} and·p.roceeds of any sale~ . igrun
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         other d1spos1t1on of any interest,, m each case, Wlth :respect to or m the Part1c1patmg Shares (such holder's share of S'! h amounts;                                                    co
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         collectiveiy, the "Pa::7:icipation Proceeds"} Fending such payment of Participation Proceeds by HCivlLP to thei               hlder of the                                                ru
         Participation Interest, HCMLP wm hold the Participation Proceeds in trust for the benefit of such holder and will not co         bgle such                                                :J
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         amou~ts.· with. oth.•.er·p.roperty.·. o.f HC. ~1LP- . Subje.ct to anJ.'. applicable. ~ withh.olding.,_ HC._ MLP. shal1 p.to~pt~. p~.y to·. the.. o.!d~r of tbe                            0
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         Tracking Interest an amount equal to each amount rece1ved and applied by HCMLP m pa;yment of distributions.. Plan Claims and
         proceeds of any sale, assignment ot otller disposition of any intere.st;, in each case, with respect to or in the Underl ring Shares.                                                     O}
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         Notwithstanding anything herein to the contrary, except for the right to receive an1ounts specified in th1Sparagraph" no 1 older shall                                                    ""Tl
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         have, by reason of the Participation Interest or the Tracking Interest~ any rights ,.vith respect to the Participating Shares or e Tracking                                               C
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         Shares.                                                                                                                                                                                   0..
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                  Non.recourse Pa..'iicipatic11 Interest and Tracking Jnterest. The Interest and the Tracking Interest are held by the h Ider thereof                                              :J
         vlit11out recourse to HCMLP (except jn respect of the HCIVILP's express obligations as set forth herein) and for such holder:~s vm ac.oount                                               C
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         and risk. HCMLP makes no representation. or warranty as to, and shall have no responsibility for the valu~ legality, genuine ss, validity~                                                ru
         sufficiency or enforceability of the Participating lnteres~ the Tracking 1."'lterest or any of the rights attaching tQ them; any repr · ration or                                         :J

         warranty made by, or the accuracy, completeness, correctness or sufficiency of any in.formation {or the validity, c-0:mpletenes or adequate                                               3
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         disclosure of assumptions u.."'lderlying any estimates, forecasts or projections contained in such information) providoo.(directly or indirectty                                          C
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         through ~CMLP).'~y any perso.n; the pert.:Ormance or ob.servan    .. ·~ by. any pers
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         the financial condition of the Onshore Crusader Fund or tlle Offshore CITLo:ader fund; or ( except as othefwi.se expressly pmipded heremJ                                                 0
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         any other matter relating to any person, the Participating Interest or the Tracking Interest                                                    /                                         (j)
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                 Standard of Care. Notwithsta.ndirig anything conrai."led herein to the contrary,, HCMLP shall administer the Partfoip~on Interest                                                -"



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         acrout1t with no obliganon to nsake or teedve payments 1rt respect ofthe Partie1pmon Interest or tbc Tracking Interest                                                f· ·
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                    EXHIBIT 7
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                 Assignment and Assumption Agreement (Fully Executed).pdf



                                  OMNIBUS ASSIGNMENT AGREEMENT

               OMNIBUS ASSIGNMENT AGREEMENT (this "Agreement"), dated as of December 28,
       2016 (the "Effective Date"), by and among Charitable DAF Holdco, Ltd, an exempted company
       incorporated in the Cayman Islands ("Charitable DAF HoldCo"), Charitable DAF Fund, LP, an
       exempted limited partnership in the Cayman Islands ("Charitable DAF Fund"), and CLO HoldCo,
       Ltd., an exempted company in the Cayman Islands ("CLO HoldCo"). Each of Charitable DAF
       HoldCo, Charitable DAF Fund and CLO HoldCo are sometimes referred to herein individually as
       a "Party", and together as the "Parties".

                                                  RECITALS

              WHEREAS, (i) Charitable DAF HoldCo is the sole limited partner of Charitable DAF
       Fund, and (ii) Charitable DAF Fund is the sole shareholder of CLO Hold Co; and

              WHEREAS, the Parties desire to enter into a series of transfers and assignments of the
       Assets (as defined herein) as of the Effective Date, on the terms set forth in this Agreement.

                                                AGREEMENT

             NOW THEREFORE, in consideration of the premises and the mutual covenants and the
       agreements herein set forth, the Parties hereby agree as follows:

              Section l. Transfers and Assignments. On the Effective Date:

              (a)    Charitable DAF HoldCo hereby irrevocably transfers and assigns to Charitable
       DAF Fund all of Charitable DAF HoldCo's right, title and interest in and to the assets listed on
       Exhibit A (the "Assets"), and Charitable DAF Fund hereby accepts the Assets (the "Charitable
       DAF HoldCo Transfer").

                (b)     Immediately following the Charitable DAF HoldCo Transfer, Charitable DAF
       Fund hereby irrevocably transfers and assigns to CLO HoldCo all of Charitable DAF Fund's right,
       title and interest in and to the Assets, and CLO HoldCo hereby accepts the Assets (the "Charitable
       DAF Fund Transfer").

               (c)     As consideration for the transfers and assignments contemplated by this Section 1,
       each ofthe Foundation, Charitable DAF HoldCo, Charitable DAF Fund and CLO HoldCo hereby
       agree to be fully bound by, and subject to, all of the covenants, terms and conditions of the Multi
       Strat Governing Documents for all purposes hereof.

              Section 2. Miscellaneous.

              (a)    Fees and Expenses. All costs and expenses incLmed in connection with this
       Agreement and the consummation of the transactions contemplated herein will be paid by the Party
       incmring such expense.




                                                                                               APP 079
CONFIDENTIAL-PEO                                                                           Highland/PEO-032686
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               (b)    Entire Agreement, Counterparts; Amendments. This Agreement constitutes the
       entire agreement of the Parties and supersedes all prior written or oral and all contemporaneous
       oral agreements, understandings and negotiations with respect to the subject matter hereof. This
       Agreement may be executed in one or more counterparts, each of which will be deemed an original,
       but all of which taken together will constitute one and the same instrnment. Transmission by
       facsimile or other form of electronic transmission of an executed counterpart of this Agreement
       will be deemed to constitute due and sufficient delivery of such counterpart. This Agreement may
       not be amended or modified except in writing by all of the Parties hereto and no condition herein
       (express or implied) may be waived except in writing by the Paity whom the condition was meant
       to benefit.

               (c)     Survival; Successors ai1d Assigns. All representations, warranties, covenai1ts ai1d
       other provisions made hy the Parties will survive the execution, delivery, and pert'ormance of this
       Agreement. T11is Agreement will inure to the benefit of and be binding upon the Parties ai1d their
       respective successors ai1d no other person will have any right or obligation hereunder. Each Party
       is expressly permitted to assign or transfer any or all of its rights or obligations hereunder without
       the consent of the other Party.

              (d)    Severability. The invalidity or unenforceability of m1y term or provision of this
       Agreement will not affect the validity or enforceability of any other term or provision hereof. If
       any term or provision of this Agreement is for a11y reason determined to be invalid or
       unenforceable, there will be deemed to be made such changes (and only such changes) as are
       necessary to make it valid mid enforceable.

               (e)     Governing Law. This Agreement will be governed by, and constmed in accordance
       with, the laws of the State of Texas (without reference to any conflicts of law provision) applicable
       to agreements made in and to be pert'orn1ed entirely within such state.

               (f)     Arbitration. In the event there is a11 unresolved legal dispute between the parties
       and/or any of their respective officers, directors, partners, employees, agents, affiliates or other
       representatives that involves legal rights or remedies arising from this Agreement, the parties agree
       to submit their dispute to binding arbitration under the authority of the Federal Arbitration Act;
       provided, however, that either party or such applicable affiliate thereof may pursue a temporary
       restraining order and/or preliminary injunctive relief in connection with any confidentiality
       covenants or agreements binding on the other party, with related expedited discovery for the
       parties, in a court of law, a11d, thereafter, require arbitration of all issues of final relief. The
       arbitration will be conducted by the Americai1 Arbitration Association, or another, mutually
       agreeable arbitration service. A panel of three arbitrators will preside over the arbitration and will
       together deliberate, decided ai1d issue the final award. The arbitrators shall be duly licensed to
       practice law in the State of Texas. T11e arbitrators shall be required to state in a written opinion all
       facts and conclusions of law relied upon to support any decision rendered. The arbitrators will not
       have the authority to render a decision that contains an outcome determinative error of state or
       federal law, or to fashion a cause of action or remedy not otherwise provided for under applicable
       state or federal law. Any dispute over whether the arbitrators have failed to comply with the
       foregoing will be resolved by summary judgment in a court of law. In all other respects, the
       arbitration process will be conducted in accordance with the American Arbitration Association's

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                                                                                                   APP 080
CONFIDENTIAL-PEO                                                                               Highland/PEO-032687
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       dispute resolution rules or other mutually agreeable, arbitration service rules. Tiie party initiating
       arbitration shall pay all arbitration costs and arbitrator's fees, subject to a final arbitration award
       on who should bear costs and fees. All proceedings shall be conducted in Dalla5, Texas, or another
       mutually agreeable site. Each party shall bear its own attorneys' fees, costs and expenses,
       including any costs of experts, witnesses and/or travel, subject to a final arbitration award on who
       should bear costs and fees. T11e duty to arbitrate described above shall survive the termination of
       this Agreement. Except as otherwise provided above, the parties hereby waive trial in a court of
       law or by jury. All other rights, remedies, statutes of limitation and defenses applicable to claims
       asse1ted in a court of law will apply in the arbitration.

              (g)     Further Assurances. Each Party agrees to (i) execute and deliver, or to cause to be
       executed and delivered, all such agreements, documents and instruments and (ii) take or cause to
       be taken all such actions as the other Party may reasonably request to effectuate the intent and
       purposes, and to cany out the tem1s, of this Agreement.

                (h)     Equitable Remedy. Each Party acknowledges that a breach or threatened breach
       by such Party of any of its obligations under this Agreement would give rise to irreparable ham1
       to the other Party for which monetary damages may not he an adequate remedy and hereby agrees
       that in the event of a breach or a threatened breach by such Party of any such obligations, the other
       Party shall, in addition to m1y and all other rights and remedies that may he available to it in respect
       of such breach, be entitled to equitable relief, including a temporary restraining order, an
       injunction, specific performance and any other relief that may be available from a court of
       competent jurisdiction (without any requirement to post bond).



                                                [Signatures on next page]




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                                                                                                   APP 081
CONFIDENTIAL-PEO                                                                               Highland/PEO-032688
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              IN WITNESS WHEREOF, the Parties have executed and delivered this Agreement as of
      the date first written above.




                                                       By: Charitable DAF ~~LC, its General
                                                       Partner          ~-   / ·/
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                                                       Name: GJ:' t Scott
                                                       Title: ~aging Member




                            SlGNi\TURE PAGB TO OMNIBUS AS:SlONMENT AGREEMENT




                                                                                                            APP 082
CONFIDENTIAL-PEO                                                                                      Highland/PE 0-032689
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r       $2,032,183.24 (based on 11/30/16 NAV) Series A Interests of Highland Capital Loan Fund, L.P. (as defined in the Limited Partnership
 '
-u
m       Agreement of Highland Capital Loan Fund, L.P, dated March 28, 2013, as amended from time to time).
0
        The following call options of American Airlines Group, Inc., a Delaware corporation:

                                                                                                                                 Amount      Total Est. rvrv
        Am~rican Airlines Call Options                                                           # Cootracts    12127/161\N      Assigned.     Assigned
        CALL AAL JAN" 40 1/20/17                                                                       10,000     8,710,000.00   100.0000% $     8,710,000.00
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        A participation interest and a tracking interest in certain participating shares of Highland Crusader Fund, L.P. and Highland Crusader                  o..
        Fund II, Ltd., in each case, as more particularly described on Schedule I attached hereto.                                                              ~
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m                                                                The Participation Interest mid the Tracking Interest
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                 The follmving sets forth the tenns and conditions \Vith respect to (i) a pmticipation interest (the ''Participation Interest") granted                                                               ~-
          by Highland Capital :tvlanagement, LP. "HCMLP") in certain participating shares of Highland Crusader Ftmd, L.P. {the "'Onshore                                                                             co
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          Crusader Fund") and Highlm1d Crusader Fund II, Ltd. (the "Offshor.:; Crusader Fund", and such pmiicipating shares collectively, the                                                                         3
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          "Pmiicipating Shares''), and (ii) a tracking interest (the "Tracking Interest") in certain participating shares of the Onshore Crusader Fund
          (the "Tracking Shares").                                                                                                                                                                                    --
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          P~uticipation and Tracking Interest                                                                                                                                                                         )>
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m                 Evidence of Paiticipations and the Tracking Interest. HCMLP shall maintain records of all payments received from or owed by

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c..       the holder of the Participation Interest and the Tracking Interest and all payments made or owed by HCMLP to the holder of the
""'D      Participation Interest and the Tracking Interest.
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)>              Payments by and to HCMLP with respect to the Participation Interest and the Tracking Interest. Subject to any applicable tax
r       withholding, HCMLP shall promptly pay to the holder of the Participation Interest an amount equal to such holder's share of each
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m       amount received and applied by HCMLP (or Eames, Ltd., a wholly-owned subsidiary of HCMLP, if applicable) in payment of
0       distributions, Plan Claims ( as defined in the Joint Plan of Distribution of tl1e Crusader Ftmds adopted by Highland Crusader Offshore
        Partners, L.P., the Onshore Crusader Fund, Highland Crusader Fund, Ltd. and the Offshore Crusader Ftmd, and ilie Scheme of
        Arrangement between the Offshore Crnsader Fund and its Scheme Creditors, as applicable) and proceeds of any sale, assignment or
        oilier disposition of any interest, in each case, with respect to or in the Participating Shares (such holder's share of such amounts,
        collectively, the "Participation Proceeds"). Pending such payment of Participation Proceeds by HCMLP to the holder of the Participation
        Interest, HCMLP will hold the Participation Proceeds in bust for the benefit of such holder and will not commingle such amounts with                Ql
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        other property of HCMLP. Subject to any applicable tax withholding, HCMLP shall promptly pay to tl1e holder of tl1e Tracking Interest               0..
        an amount equal to each amount received and applied by HCMLP in payment of distJ·ibutions, Plan Claims and proceeds of any sale,                    i);'
        assignment or other disposition of any interest, in each case, with respect to or in the Underlying Shares. Notwithstanding anything                (f)
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        herein to the conti-ary, except for the right to receive amounts specified in this paragraph, no holder shall have, by reason of the                3
        Participation Interest or the Tracking Interest, any riglits with respect to the Participating Shares or the Tracking Shares.                       'O
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                Nonrecourse Participation Interest and Tracking Interest. The Interest and the Tracking Interest are held by the holder thereof             )>
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        without recourse to HCMLP (except in respect ofilie HCMLP's express obligations as set forth herein) and for such holder's own account              -,
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        and risk. HCMLP makes no representation or warranty a~ to, and shall have no responsibility for the value, legality, genuineness, validity,         (D

        sufficiency or enforceability of the Participating Interest, the Tracking Interest or any of the riglits attaching to them; any representation or   3
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        wammty made by, or ilie accuracy, completeness, correctness or sufficiency of any infonnation ( or the validity, completeness or adequate           ::::,
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        disclosure of assumptions underlying any estimates, forecm,-ts or projections contained in such information) provided (directly or indirectly       ~

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        througli HCMLP) by any person; tlie pertorrnance or observance by any person (at any time, whether prior to or after tlie date hereof) of the       C

        financial condition of the Onshore Crusader Fund or the Offshore Crusader Fund; or (except as otl1erwise expressly provided herein) any             '<
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        other matter relating to any person, the Participating Interest or the Tracking Interest.                                                           X
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                Standard of Care. Notwithstanding an11hing contained herein to the contrary, HCJ\1LP shall administer the Paiiicipation Interest            (D
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        and the Tracking Interest and enforce its rigl1ts, with respect to the Participating Shares and the Tracking Shares in the same manner as if it     ~




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        had not granted tlie Participation Interest or tl1e Tracking Interest but owned the Participating Shares the Tracking Shares solely for its own
        account witl1 no obligation to make or receive payments in respect ofthe Participation Interest or the Tracking Interest.                           -
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::::,            Assignment. Each holder of the Participation Interest or ilie Tracking Interest is expressly permitted to assign or transfer ai1y or
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        all of its riglits with respect thereto without the consent of HCMLP.

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                   EXHIBIT 8
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                              Donative Assignment of Interests (Fully Executedl).pdf


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                                           DONATIVE ASSIGNMENT OFINTERESTS

                                                        ···R:Ec1TALS
                    WHEREAS, The Get Good Nonexempt Trust (the "Trust'') is a Texas trust created
       . undet a Trust Agreement dated June 29, 2001 (the "Partnership Agreement"); and

                        WHEREAS~ the Trust owns all of the assets listed on Exhibit A attached hereto; and ·
                  . WHEREAS, Grant James Scott, in the exercise of his discretion as Trustee of the
           Trust. has approved the distribution of the assets listed on E_xhibit A as .a charitable contribution
        to Highland Dallas Foundation, Inc., a permissible beneficiary of the Trust which is a tax exempt
        public charity that is a supporting organization described in Section 509(a)(3) of the Internal
      · · Revenue Code of 1986, as amended (the ~·code"); and
                                                                                                      .·                                     .                                  .       .   .


       .          .· . . WHEREAS, the Trustee        of the Trust wishes to give and assign. the assets listed on . ·
           Exhi.bit A to Highland Dallas Foundation, Inc. effective December id'; 2016;

                                                 TRANSFERAND ASSIGNMENT                                                                                            .        .           .




                    ·Now, ~EREFORE, the Trustee of the Trust hereby gives, '10tiates and assigns the
      · assets listed on Exhibit A to Highland Dallas Foundation, Inc;
                                                                                                            .                            .



                        This donative assignment isfo be effective as 5:00 p.m. CST. December ';lci'.2016. ··

                                                                      . THE GET goo~,r~NEXEMJ?t TRUST
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                           Donative Assignment of Interests (Fully Executedl).pdf



        .                                                               of
                The undersigned hereby acknowledges that h (1) is aware this donative ass1gn111erit of
       ·interests from The Get Good Nonexempt Trust to Highland Dallas Foundation, Inc., and (ii)
        agrees to be bound by this donative assignment.


                                                   HIGHLAND CAPITAL MANAGEMENT,L.P.




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CONFIDENTIAL-PEO                                                                       Highland/PE 0-032699
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)>                                                                       Exhibit A
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m        S2,032,183.24 (based on 11 '30/16 NAV) Series A Intere:c.1s of Highland Capital Loan Fund. LP. (as defined in the Limited Pminership
0        Agreement of Highland Capital Loan Fund, LP. dated March 2:t 2013. as amended from time to time).

         111.: following call options of American Airlines Group, Inc., a Delaware corporation:

                                                                                                                                     Amrnmt           Total fat. l\fV
         American Airline, Call Options                                                           # Contracts     12/2"'1161\fV      Assigned            A~signed
         CALL AAL JAN 40 J,]0/17                                                                        l•J.00)     s,~10.oco ()()   lOC,.OrnJO%- $       8. 710,(HJO 00


         A participation interest and a tracking interest in certain participating shares of Highland Crusader Fund, L.P. and Highland Crusader Fund
         II, Ltd., in each case, as more particularly described on Schedule I attached hereto.

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rI                                                    The Participation Interest and the Tracking Interest
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0                 TI1e follo"'ring sets forth the tenns and conditions with respect to (i) a paiticipation interest (the ·'Participation Interest") granted by
          Highland Capital Ivianagement, LP. '·HC_!,,ILP'') in certain participating shares of Highland Crusader Fund. LP. (the "Onshore Crusader
          Fund") and Highland Crusader Fund IL Ltd. (the "'Oftshore Crusader Fund". and such participating shares collectively, the "Participating
          Shares''), and (ii) a tracking interest (the "Tracking Interest") in certain participating shares of the Onshore Crusader Fund (the "Tracking
          Shares'').

          Participation and Tracking Interest




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(C                Evidence of Participations and the Tracking Interest. HCMLP shall maintain records of all payments received from or owed by the
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m         holder of the Participation Interest and the Tracking Interest and all payments made or owed by HCMLP to the holder of the Participation

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c..       Interest and the Tracking Interest.
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z               Payments by and to HCMLP with respect to the Participation Interest and the Tracking Interest. Subject to any applicable tax
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)>      withholding, HCMLP shall promptly pay to the holder of the Patiicipation Interest an amount equal to such holder's share of each amount
r       received and applied by HCMLP (or Eames, Ltd., a wholly-owned subsidiary ofHCl\1LP, if applicable) in payment of distributions, Plan
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m       Claims (as defined in the Joint Plan of Distribution of the Crusader Funds adopted by Highland Crusader Offshore Partners, L.P., the
0       Onshore Crusader Fund, Highland Crusader Fund, Ltd. and the Offshore Crusader Fund, and the Scheme of Arrangement between the
        Offshore Crusader Fund and its Scheme Creditors, as applicable) and proceeds of any sale, assignment or other disposition of any interest,
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        in each case, with respect to or in the Pa1ticipating Shares (such holder's share of such amounts, collectively, the "Participation Proceeds").         0
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        Pending such payment of Patiicipation Proceeds by HCMLP to the holder of the Participation Interest, HCMLP will hold the Patiicipation
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        Proceeds in trust for the benefit of such holder and will not commingle such amounts with other property of HCMLP. Subject to any                       <"
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        applicable tax withholding, HCMLP shall promptly pay to the holder of the Tracking Interest an amount equal to each amount received
        and applied by HCMLP in payment of distributions, Plat1 Claims and proceeds of any sale, assignment or other disposition of any interest,               ~
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        in each case, with respect to or in the Underlying Shares. Notwithstanding anything herein to the contrary, except for the rigl1t to receive           cc·
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        amounts specified in this paragraph, no holder shall have, by reason of the Participation Interest or the Tracking Interest, a11y rights with           3
        respect to the Participating Shares or the Tracking Shares.                                                                                             CD
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                Nonrecourse Participation Interest at1d Tracking Interest. The Interest at1d the Tracking Interest are held by the holder thereof without
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        recourse to HCMLP (except in respect of the HCMLP's express obligatiorn as set fotih herein) and for such holder's own account at1d risk.               r+
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        HCMLP makes no representation or warra11ty as to, and shall have no responsibility for the value, legality, genuineness, validity, sufficiency or       --,
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        enforceability of the Participating Interest, the Tracking Interest or any of the rights attaching to them; any representation or warranty made by,
        or the accuracy, completeness, correctness or sufficiency of any information (or the validity, completeness or adequate disclosure of                  ~
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        assumptions underlying any estimates, forecasts or projections contained in such infotmation) provided (directly or indirectly through                  C
        HCMLP) by any person; the performance or observance by a11y person (at any time, whether prior to or after the date hereof) of the finai1cial          '<
        condition of the Ornhore Cmsader Fund or the Offshore Crusader Fund; or (except as otherwise expressly provided herein) any other matter                m
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        relating to a11y person, the Patiicipating Interest or the Tracking Interest.                                                                           CD
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                Stat1dard of Care. Notwithstanding anything contained herein to the contrai-y, HCMLP shall administer the Participation Interest at1d           0..
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        the Tracking Interest and enforce its rights, with respect to the Patticipating Shares and the Tracking Shai·es in the saine manner as if it had not


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        grai1ted the Participation Interest or the Tracking Interest but owned the Patiicipating Shares the Tracking Shares solely for its own account
        with no obligation to make or receive payments in respect of the Participation Interest or the Tracking Interest.                                       -
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:::r            Assignment. Each holder of the Participation Interest or the Tracking Interest is expressly petmitted to assign or transfer any or all
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::::,   ofits rights with respect thereto without the consent ofHCMLP.
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                     EXHIBIT 9
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          Exercise of Discretion by Trustee - The Get Good Trust (Fully Executed).pdf



                       EXERCISE OF DISCRETION BY TRUSTEE WITH RESPECT TO
                            DISTRIBUTION TO CHARITABLE BENEFICIARY

                                             THE GET GOOD NONEXEMPT TRUST


                 The Get Good Nonexempt Tmst (the "Tmst") was created by Tmst Agreement dated

       June 29, 2001 (the "Tmst Agreement"). Grant James Scott is the currently acting Trustee of the

       Trust. Pursuant to Section V.B. of the Trust Agreement, the permissible class of beneficiaries

       has previously been expanded by adding Highland Dallas Foundation, Inc., a tax exempt public

       charity that is a supporting organization described in Section 509(a)(3) of the Internal Revenue

       Code of 1986, as amended (the "Code"), as a permissible beneficiary of The Get Good

       Nonexempt Tmst created under the Tmst Agreement.

                 Grant James Scott, in his capacity as Trustee of The Get Good Nonexempt Tmst, has

       detennined in tbe exercise of his sole discretion that it is appropriate to distribute, and hereby

       approves the distribution of, all of that trust's interests in the assets listed on Exhibit A attached

       hereto to Highland Dallas Foundation, Inc. effective as of December 28, 2016.




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                                                                                                   APP 091
CONFIDENTIAL-PEO                                                                               Highland/PEO-032707
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           Exercise of Discretion by Trustee - The Get Good Trust (Fully Executed).pdf




                                                                 ott, Trustee of The Get Good
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                     EXERCISE (.)f' DISCRETION BY l'RUSTEE WITH RESPECT TO DlSTRIBtirroN
                       TO CHARITABLE BENEHCIARY - THE GET GOOD NONEXEMPT TRUST
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 m      $2,032,183.24 (based on 11/30/16 NAV) Series A Interests of Highland Capital Loan Fund, L.P. (as defined in the Limited Partnership
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        Agreement of Highland Capital Loan Fund, L.P, dated March 28, 2013, as amended from time to time).

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        The following call options of American Airlines Group, Inc., a Delaware corporation:

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        A participation interest and a tracking interest in certain participating shares of Highland Crusader Fund, L.P. and Highland Crusader
        Fund II, Ltd., in each case, as more particularly described on Schedule I attached hereto,


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0               111e following sets frxth the terms and conditions with respect to (i) a participation interest (the '"Participation Interest") granted
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        by Highland Capital I1vianagernent, L.P. "HCivfLP") in certain participating shares of Highland Crusader Fund, L.P. (the '"(_)nshore
        Crusader Fund") and Highland Crusader Fund II, Ltd. (the "Offshore Crnsader Fund", and such participating shares collectively, the
        ""Participating Shares''), and (ii) a tracking interest (the "Tracking Interest") in ce1iain participating shares of the Onshore Crnsader Fund
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        (the "Tracking Shares"').                                                                                                                         ro
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        Participation and Tracking Interest                                                                                                               CT"
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                Evidence of Patticipations and the Tracking Interest. HCMLP shall maintain records of all payments received from or owed by               CL
m       the holder of the Participation Interest and the Tracking Interest and all payments made or owed by HCMLP to the holder of the

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        Participation Interest and the Tracking Interest.
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z               Payments bv and to HCMLP with respect to the Participation Interest and the Tracking Interest. Subject to any applicable tax
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)>      withholding, HCMLP shall promptly pay to the holder of the Participation Interest an amount equal to such holder's share of each                     m
r       amount received and applied by HCMLP (or Ean1es, Ltd., a wholly-owned subsidiary of HCMLP, if applicable) in payment of                              X
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m       distributions, Plan Claims ( as defined in the Joint Plan of Distribution of the Crusader Ftmds adopted by Highland Crusader Offshore
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        Partners, LP., the Onshore Crusader Fund, Highland Crusader Fund, Ltd. and the Offshore Cnt5ader Fund, and the Scheme of

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        Arrangement between the Offshore Crusader Fund and its Scheme Creditors, as applicable) and proceeds of any sale, assignment or                      0

        other disposition of any interest, in each case, with respect to or in the Participating Shares (such holder's share of such amounts,
        collectively, the "Participation Proceeds"). Pending such payment of Participation Proceeds by HCMLP to the holder of the Participation
        Interest, HCMLP will hold the Paiiicipation Proceeds in trust for the benefit of such holder and will not commingle such ammmts with
        other property of HCMLP. Subject to ai1y applicable tax withholding, HCMLP shall promptly pay to the holder of the Tracking Interest
        an amount equal to each atnount received and applied by HCMLP in payment of distributions, Plan Claims and proceeds of any sale,
        assignment or other disposition of any interest, in each case, with respect to or in the Underlying Shares. Notwithstanding ai1ything
        herein to the contrary, except for the right to receive amounts specified in this paragraph, no holder shall have, by reason of the
        Participation Interest or the Tracking Interest, any rigilts with respect to the Participating Shares or the Tracking Shares.

                 Nonrecourse Participation Interest and Tracking Interest. The Interest a11d the Tracking Interest ai·e held by the holder thereof
                                                                                                                                                             --l
        without recourse to HCMLP (except in respect of the HCMLP's express obligation5 as set forth herein) and for such holder's own account               :::r
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        a11d ri5k. HCMLP makes no representation or warra11ty as to, and shall have no responsibility for the value, legality, genuineness, validity,        G)
        sufficiency or enforceability of the Participating Interest, the Tracking Interest or a11y of the rigilts attaching to them; any representation or   (D
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        wan-ai1ty made by, or the accuracy, completeness, correctness or sufficiency of a11y infonnation ( or the validity, completeness or adequate         G)
        disclosure of assumptions underlying any estimates, forecasts or projections contained in such information) provided (directly or indirectly         0
                                                                                                                                                             0
        througil HCMLP) by a11y person; the perforrnai1ce or observance by any person (at a11y time, whether prior to or after the date hereof) of the       0..
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        fina11cial condition of the On5hore Crusader Fund or the Offshore Crusader Fund; or (except as otherwise expressly provided herein) any              -,
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        otl1er matter relating to any person, the Participating Interest or the Tracking Interest.                                                           ~
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                Standard of Care. Notwithstanding a11y1hing contained herein to the contrary, HC!\1LP shall administer the Paiiicipation Interest            C

        and the Tracking Interest and enforce its rigilts, with respect to the Paiiicipating Shares and the Tracking Shares in the sa111e manner as if it    '<
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        had not granted the Participation Interest or the Tracking Interest but mmed the Participating Shares the Tracking Shares solely for it5 own         X
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        account with no obligation to make or receive payments in respect ofthe Participation Interest or the Tracking Interest.                             0
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cc·                                                                                                                                                          (D
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:::r    Assignment. Each holder of the Participation Interest or the Tracking Interest is expressly permitted to a5sign or trai1sfer any or all of           ~




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::::,   its rights with respect thereto without the consent of HCMLP.
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                   EXHIBIT 10
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 Counsel for the Official Committee of Unsecured Creditors

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

     In re:
                                                            Chapter 11
     HIGHLAND CAPITAL MANAGEMENT,
     L.P., 1                                                Case No. 19-34054-sgj11
                      Debtor.

     OFFICIAL COMMITTEE OF UNSECURED
     CREDITORS,

                                Plaintiff,                  Adversary Case No. 20-03195

               v.

     CLO HOLDCO, LTD.

                                Defendant.

                                DECLARATION IN SUPPORT OF
                            MOTION FOR PRELIMINARY INJUNCTION



 1
       The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
       address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
 DECLARATION IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION                                               Page 1
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          I, Mustafa Abdul-Jabbar, pursuant to 28 U.S.C. § 1746, hereby declare:

               1. I am an attorney at Sidley Austin LLP (“Sidley”), located at 2021 McKinney

 Avenue, Suite 2000, Dallas, TX 75201. I am over twenty-one (21) years of age, am of

 sound mind, have personal knowledge of the facts stated herein, and these facts are true

 and correct. Sidley serves as Counsel for The Official Committee of Unsecured Creditors

 (the “Committee”) of Highland Capital Management, L.P. (the “Debtor”), in the above-

 captioned matter (the “Bankruptcy Case”). As a result of my employment at Sidley, I am

 familiar with the documents produced in discovery by Debtor to date.

               2. I submit this Declaration in support of the Motion for Preliminary

 Injunction (the “Motion”) filed contemporaneously herewith by the Committee.

               3. Each of the documents cited in the Motion and specifically contained in the

 separately filed Appendix in Support of Motion for Preliminary Injunction were received

 by the Committee or its representatives, from the Debtor in the Bankruptcy Case pursuant

 to requests for production or, alternatively, pursuant to order of the Court.



          I declare under penalty of perjury under the laws of the United States that the

 foregoing statements are true and correct.



                                                       /s/ Mustafa Abdul-Jabbar
                                                       Mustafa Abdul-Jabbar




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